Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Northwest Territorial Mint LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  320 S 320th St                                                  P.O. Box 2148
                                  Federal Way, WA 98003                                           Auburn, WA 98071-2148
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
               Case 16-11767-CMA                   Doc 1        Filed 04/01/16           Ent. 04/01/16 00:07:39                Pg. 1 of 326
Debtor    Northwest Territorial Mint LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3329

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 16-11767-CMA                      Doc 1      Filed 04/01/16             Ent. 04/01/16 00:07:39                    Pg. 2 of 326
Debtor   Northwest Territorial Mint LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 16-11767-CMA                    Doc 1       Filed 04/01/16            Ent. 04/01/16 00:07:39                  Pg. 3 of 326
Debtor    Northwest Territorial Mint LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 31, 2016
                                                  MM / DD / YYYY


                             X   /s/ Ross B. Hansen                                                       Ross B. Hansen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ J. Todd Tracy WSBA                                                    Date March 31, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 J. Todd Tracy WSBA
                                 Printed name

                                 The Tracy Law Group PLLC
                                 Firm name

                                 720 Olive Way #1000
                                 Seattle, WA 98101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-624-9894                  Email address


                                 #17342
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 Case 16-11767-CMA                Doc 1         Filed 04/01/16             Ent. 04/01/16 00:07:39                 Pg. 4 of 326
 Fill in this information to identify the case:
 Debtor name Northwest Territorial Mint LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bradley Steven                                                  Judgment               Disputed                                                                      $7,000,000.00
 Cohan
 c/o Anthony Michael
 Glassman
 360 N Bedford Dr
 Beverly Hills, CA
 90210
 Bud Jameson                                                                                                                                                            $575,077.88
 12 POST OAK LOOP
 SHERWOOD, AR
 72120-3700
 Cohen Asset                                                                                                                                                          $5,500,000.00
 Management, Inc.
 c/o Anthony Michael
 Glassman
 360 N Bedford Dr
 Beverly Hills, CA
 90210
 David James                                                                                                                                                          $1,244,991.00
 16855 James Lane
 Bend, OR 97703
 Don Wright                                                      Leased Metal                                                                                           $517,359.75
 13820 NE 65th #546
 Redmond, WA
 98052
 Dr. Bob Austin                                                  Leased metals                                                                                          $901,795.27
 c/o Ross Jones
 106 Del Ray Rd
 Mossyrock, WA
 98564
 Eva Rosman                                                                                                                                                             $429,370.88
 2916 Glen Ave
 Baltimore, MD 21215
 John Anderson                                                                                                                                                          $287,147.30
 8 East Oakwood
 Hills Drive
 Chandler, AZ 85248


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 16-11767-CMA                         Doc 1       Filed 04/01/16             Ent. 04/01/16 00:07:39                         Pg. 5 of 326
 Debtor    Northwest Territorial Mint LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 LARRY                                                                                                                                                                  $325,400.00
 CHIAPPELLONE
 18457 BARRETT
 AVE
 SONOMA, CA 95476
 Liedtke Associates                                              Metal Lease                                                                                            $291,189.20
 LP
 Norman Liedtke
 671 Lakeside Circle
 Apt 902
 Pompano Beach, FL
 33060
 Maria Kroupa                                                    Leased metal                                                                                           $971,861.01
 30982 Sanjay Ct
 Temecula, CA 92591
 Michael & Mary                                                                                                                                                         $343,290.00
 Bernard
 14035 NE 5th Street
 Bellevue, WA 98007
 Mike Ray Howard                                                 Leased metal                                                                                           $318,974.19
 1415 293rd Ave NE
 Carnation, WA
 98014
 RICHARD PEHL                                                                                                                                                           $605,623.91
 813 Barnhart St
 RAYMOND, WA
 98577-4501
 Rodger Overson                                                                                                                                                         $427,707.00
 2750 S.W. 312th Pl.
 Federal Way, WA
 98023
 SIMON GINSBERG                                                  Leased Metal                                                                                           $257,706.15
 TTE
 225 W 106th St.
 #16B
 NEW YORK, NY
 10025
 Steven Fox                                                                                                                                                           $1,769,010.04
 25 Cushing Dr
 Mill Valley, CA
 94941
 William L Hanson                                                Leased Metals                                                                                          $436,227.35
 POB 64655
 Tacoma, WA
 98464-0655




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 16-11767-CMA                         Doc 1       Filed 04/01/16             Ent. 04/01/16 00:07:39                         Pg. 6 of 326
 Debtor    Northwest Territorial Mint LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 YONG TUO                                                                                                                                                               $292,327.40
 EMBLEM CO. LTD.
 No. 16 ShengYu
 Road, ShengFeng
 District
 Xiao Lan Town,
 Zhong Shan City
 GUANG DONG
 528414
 CHINA
 Young deNormandie                                                                                                                                                      $800,370.14
 PC
 SECOND & SENECA
 BUILDING
 1191 SECOND AVE.,
 SUITE 1901
 SEATTLE, WA
 98101-2993




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 16-11767-CMA                         Doc 1       Filed 04/01/16             Ent. 04/01/16 00:07:39                         Pg. 7 of 326
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Northwest Territorial Mint LLC                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Ross Hansen                                                         LLC                                                         Sole Member
 aka Bernard R. Hansen                                               Membership
 POB 2148
 Auburn, WA 98071


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 31, 2016                                                          Signature /s/ Ross B. Hansen
                                                                                            Ross B. Hansen

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy




              Case 16-11767-CMA                          Doc 1         Filed 04/01/16           Ent. 04/01/16 00:07:39                    Pg. 8 of 326
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Northwest Territorial Mint LLC                                                                   Case No.
                                                                                    Debtor(s)                Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       March 31, 2016                                              /s/ Ross B. Hansen
                                                                         Ross B. Hansen/Member
                                                                         Signer/Title




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy



              Case 16-11767-CMA                          Doc 1         Filed 04/01/16           Ent. 04/01/16 00:07:39        Pg. 9 of 326
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        AARON BENFIELD
                        5422 MERRYWING CIR
                        AUSTIN, TX 78730-1437


                        AARON DAVIS
                        20900 COREY DR
                        MACOMB, MI 48044


                        AARON KIRKINGBURG
                        6051 JACKSONTOWN RD
                        NEWARK, OH 43056-9296


                        AARON MADDEN
                        PO BOX 505
                        INMAN, KS 67546


                        ABDEL ABUKHALIL
                        18548 RUSTIC HOLLOW
                        STRONGSVILLE, OH 44136


                        ADAM CRAWLEY
                        APT 1311
                        100 VAN NESS AVE
                        SAN FRANCISCO, CA 94102-5221


                        ADAM HART
                        7632 CORTONA DRIVE
                        GRANGER, IN 46530


                        ADAM ROEDIGER
                        321 CUMBERLAND GAP RD
                        NEWPORT, VA 24128-4340


                        ADRIAN CAMPOS
                        2277 BOUNDARY ST
                        SAN DIEGO, CA 92104-5307


                        ADRIAN MARSDEN JR
                        6 POINT ROAD
                        BAYPORT, MN 55003


                        AGE INDUSTRIES, LTD
                        PO BOX 205322
                        DALLAS, TX 75320-5322




    Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 10 of 326
                    AIRGAS SPECIALTY PRODUCTS
                    PO BOX 934434
                    ATLANTA, GA 31193-4434


                    AIRGAS USA, LLC
                    13636 HEMPSTEAD RD.
                    HOUSTON, TX 77040-5894


                    AIRGAS USA, LLC
                    P.O. BOX 7423
                    PASADENA, CA 89706-0651


                    AL DANIELL
                    15201 EAST FWY STE 201
                    CHANNELVIEW, TX 77530-4153


                    AL DILLARD
                    CALL WHEN READY TO PICK UP
                    253-230-2172
                    FEDERAL WAY, WA 98003


                    AL FASSEZKE
                    3415 HILLTOP DR
                    BAY CITY, MI 48706-3437


                    AL KISLER
                    42 OAK TREE DR
                    NEW SMYRNA, FL 32169-4311


                    AL STREU
                    5721 4 MILE ROAD
                    BAY CITY, MI 48706


                    ALAN CATTERSON
                    2530 SEVEN PINES CT
                    RENO, NV 89521-6273


                    ALAN COURTEMANCHE
                    212 E COLONIAL HWY
                    HAMILTON, VA 20158-9014


                    ALAN CRANDELL
                    4211 PINE ST
                    GLENNIE, MI 48737




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 11 of 326
                    ALAN EVANS
                    UNIT B
                    1730 PATTERSON AVE
                    DELAND, FL 32724-1950


                    ALAN KAY
                    4100 LAKE CIRCLE NORTH
                    MOBILE, AL 36693


                    ALAN MCCLINTOCK
                    907 CANTERBURY DRIVE
                    WAPAKONETA, OH 45895


                    ALAN REED
                    1202 RUNNYMEAD AVE SW
                    DECATUR, AL 35601


                    ALAN RETH
                    63 PROSPECT BAY DR W
                    GRASONVILLE, MD 21638-1184


                    ALAN SIMONELLI
                    16010 OAK PLAZA
                    OMAHA, NE 68130-2045


                    ALAN THOMAS
                    PUGET SOUND ORTHOPEDICS
                    7308 BRIDGEPORT WAY W
                    STE 201
                    LAKEWOOD, WA 98499-8000


                    ALAN TRIPP
                    20785 N HACKAMORE LN
                    PAULDEN, AZ 86334-5000


                    ALBERT BROWN
                    56 YORK STREET
                    BUFFALO, NY 14213


                    ALBERT CHRZANOWSKI
                    7523 KINVARA CT
                    CHARLOTTE, NC 28270




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 12 of 326
                    ALBERT COMBS
                    9030 ETHEL RD
                    N CHARLESTON, SC 29406-9042


                    ALBERT LUSCHER
                    90 WESTWIND DR
                    NEWNAN, GA 30263-7448


                    ALDRICH LAW FIRM
                    1601 S RAINBOW BLVD, SUITE 160
                    LAS VEGAS, NV 89146


                    ALEKSANDAR IVANCHEV
                    18526 WOOD RD
                    LEXINGTON PK, MD 20653-3539


                    ALEKSANDAR KRSTIC
                    5519 W VENICE DR
                    HIGHLAND, UT 84003


                    ALEKSANDR VARVARYUK
                    CALL WHEN READY FOR PICKUP


                    ALEX MCQUIN
                    32316 SHOOP LN
                    HERMISTON, OR 97838-9307


                    ALEX PRINS
                    PO BOX 1129
                    LIVE OAK, FL 32064


                    ALEX RIOS
                    9452 FIR ST
                    SAN DIEGO, CA 92102


                    ALEX ULREICH III
                    3115 BABASHAW COURT
                    FAIRFAX, VA 22031


                    ALEX VANK
                    1432 218TH AVE NE
                    SAMMAMISH, WA 98074




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 13 of 326
                    ALEXANDER KOEHLER
                    P.O. BOX 1914
                    FALLON, NV 89407


                    ALEXANDER NAVARRO
                    4500 STONE HEDGE DR
                    ORLANDO, FL 32817-8378


                    ALFRED LINDSEY
                    10410 NEW HARMONY ROAD
                    EVANSVILLE, IN 47720


                    ALFRED SLOVER
                    508 13TH ST
                    WHEATLAND, WY 82201


                    ALHAMBRA/SPARKLETTS/SIERRA SPR
                    PO BOX 660579
                    DALLAS, TX 75266-0579


                    ALIHANDRO VELEZ
                    6731 HASKELL DR
                    FAIRVIEW, PA 16415-2050


                    ALISA HAGAR
                    6958 WRIGHT RD
                    SOOKE, BC V9Z 1M5


                    ALLAN BROBERG
                    3117 37TH AVE S
                    FARGO, ND 58104-7050


                    ALLEN ANDERSON
                    7134 N FLEMING ST
                    SPOKANE, WA 99208-4826


                    ALLEN GRIMMETT
                    30421 GRIMMETT LN
                    PARON, AR 72122-9417


                    ALLEN KYLE LEE
                    4854 S ELDON AVE
                    SPRINGFIELD, MO 65810-3710




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 14 of 326
                    ALLEN LARSON
                    114 ELM ST
                    GRANDVIEW, WA 98930-1336


                    ALLEN PRINE
                    5657 LABRADOR TRL E
                    THEODORE, AL 36582-9685


                    ALLEN RILEY
                    9536 N 3500W RD
                    MANTENO, IL 60950-3214


                    ALPHONSE NICKS
                    PO BOX 10378
                    MORENO VALLEY, CA 92552-0378


                    ALSCO
                    2535 E 5TH ST.
                    RENO, NV 89512


                    ALTAF MOMIN
                    1794 KANAWHA TRAIL
                    STONE MOUNTAIN, GA 30087


                    ALVARS GRINS
                    8065 STADLER ST
                    LA MESA, CA 91942-2615


                    ALYSSA BAILEY
                    6441 WILLOW CREEK RD
                    MTN GREEN, UT 84050-6746


                    AMAN CHOLAS
                    1731 GEORGIA STREET
                    NAPA, CA 94559


                    AMANDA HULL
                    PO BOX 127
                    EMMIGRANT, MT 59027


                    AMBER HARGOVE
                    54 ZUELKE SAC RD
                    THREE FORKS, MT 59752




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 15 of 326
                    AMERICAN EXPRESS
                    P.O. BOX 360001
                    FORT LAUDERDALE, FL 33336-0001


                    AMERICAN RIBBON MFRS, INC.
                    925 ANN STREET
                    STROUDSBURG, PA 18360


                    AMIT AGGARWAL
                    303 BAY CIR
                    BEDFORD, MA 01730-2097


                    AMY EISMONT
                    6568 N DOUBLE EAGLE LN
                    MERIDIAN, ID 83646-5103


                    AMY HUNT
                    1501 ROSSMAN AVE SE
                    GRAND RAPIDS, MI 49507


                    AMY PATTERSON
                    736 SHARPE SCHOOL RD
                    CALVERT CITY, KY 42029


                    AMY SMITH
                    124 NOLL AVE
                    PITTSBURGH, PA 15205


                    ANDRE JACOBS
                    #3A TURLEY RD
                    LONE HILL
                    JOHANNESBURG, SOUTH AFRICA 02191-0000


                    ANDRE STEPELTON
                    ***CALL FOR PICKUP***


                    ANDREAS WETZEL
                    17485 HWY 22
                    DALLAS, OR 97338


                    ANDREI KREPTUL
                    335 NE 55TH ST
                    SEATTLE, WA 98105




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 16 of 326
                    ANDRES JACOB
                    3840 N DAMEN AVE
                    CHICAGO, IL 60618-3904


                    ANDREW ANDERSON
                    1014 MESA DRIVE
                    DOUGLAS, WY 82633


                    ANDREW BATTLES
                    31 RAVEN WOOD WAY
                    POOLER, GA 31322-4005


                    ANDREW BEESLEY
                    PO BOX 333
                    PROVO, UT 84603


                    ANDREW BLUMBERG
                    BLDG 1100 SUITE B
                    8215 ROSWELL RD
                    ATLANTA, GA 30350-6446


                    ANDREW FREY
                    257 HIGH ST
                    ABBOTTSTOWN, PA 17301-9767


                    ANDREW GAMRAT
                    5786 MILLER RD
                    ALGER, MI 48610


                    ANDREW GLEN
                    PO BOX 4084
                    EDMOND, OK 73083


                    ANDREW HALL
                    10045 SECRETARIAT LANE NE
                    BAINBRIDGE ISLAND, WA 98110


                    ANDREW MARK FOSTER
                    89 NORTH BYPASS RD
                    HINEVILLE, GA 31313


                    ANDREW MCEWING
                    6875 BOSTON POST RD
                    ENOSBURG FALLS, VT 05450




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 17 of 326
                    ANDREW MCLEAN
                    3110 S EDRA COURT
                    VERADALE, WA 99037


                    ANDREW PETUKOV
                    3213 KAYSON ST
                    SILVER SPRING, MD 20906


                    ANDREW SAVO
                    44 ROBERT DR
                    EAST HAVEN, CT 06512-3344


                    ANDY CHRISTINE
                    3355 HWY W
                    SHELBYVILLE, MO 63469


                    ANGEL UBERTO
                    2510 HIGHWAY 33 S
                    NEW TAZEWELL, TN 37825-4540


                    ANGELA PECORI
                    776 OLD LINCOLN HWY
                    LIGONIER, PA 15658


                    ANGELO HICKMAN
                    244 SLATE ROAD
                    CANDOR, NY 13743


                    ANGELO MECCA
                    7 OAK CRESCENT
                    POUGHKEEPSIE, NY 12601


                    ANIKO HAMMOND
                    41 JAY ROBINSON RD
                    SEQUIM, WA 98382-7291


                    ANIL CHANDNANI
                    718 EDGELEY LANE
                    LAWRENCEVILLE, GA 30044


                    ANN MARIE ASHTON
                    245 COUNTY ROAD 92
                    MAPLE PLAIN, MN 55359-9307




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 18 of 326
                    ANNA BROWN
                    806 WESTRIDGE ROAD
                    GREENSBORO, NC 27410


                    ANNA BUTLER
                    812 10TH ST NE, APT 6
                    AUBURN, WA 98002


                    ANNE DINKINS
                    JIM DINKINS
                    107 STRATSHIRE LANE
                    PELHAM, AL 35124-2711


                    ANNEGRET BUERGER
                    12040 25A
                    EDMONTON
                    AB, T6J 4L3 CANADA


                    ANTANAS SMAILYS
                    72 THURMAN LAKE RD
                    STEELVILLE, MO 65565-4576


                    ANTHEM BLUE CROSS
                    P.O. BOX 541029
                    LOS ANGELES, CA 90054-1029


                    ANTHONY BENSON
                    2510 SOUTH 354TH ST.
                    FEDERAL WAY, WA 98003


                    ANTHONY BREWER
                    1802 N ALAFAYA TRAIL
                    ORLANDO, FL 32826


                    ANTHONY CHRISTOFOLO
                    1685 EAST TREMAINE AVE
                    GILBERT, AZ 85234


                    ANTHONY D'ANDREA
                    343 COOK WAY
                    FERNLEY, NV 89408


                    ANTHONY DECARLO
                    523 HILLCREST AVE
                    PACIFIC GROVE, CA 93950-4909



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 19 of 326
                    ANTHONY DEL REAL
                    OR KAROL DEL REAL
                    5006 INVERNESS AVE
                    FORT WORTH, TX 76132


                    ANTHONY EALLONARDO
                    137 CHURCH ST
                    CHILLICOTHE, OH 45601-2406


                    ANTHONY FALLARME
                    6805 28TH AVE NE
                    SEATTLE, WA 98115


                    ANTHONY GALANTE
                    1309 ADAMS ST
                    SAINT CLAIR, MI 48079-4875


                    ANTHONY GUGLIERI
                    231 BENNINGTON ROAD
                    FREEHOLD, NEW JERSEY 07728-0000


                    ANTHONY JOHNSON
                    18801 ROBERTS RD #178
                    DESERT HOT SPRINGS, CA 92241


                    ANTHONY KEISER
                    602 MUNCY EXCHANGE RD
                    MUNCY, PA 17756-8236


                    ANTHONY MACIAS
                    10332 BOSQUE DRIVE
                    LAKESIDE, CA 92040


                    ANTHONY MASTANDREA
                    CALL FOR PICKUP


                    ANTHONY VACCA
                    973 BUCHANAN RD
                    IUKA, IL 62849-3343


                    ANTHONY WILSON
                    1214 CANNONS COURT
                    WOODBRIDGE, VA 22191




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 20 of 326
                    ANTON SCHOEMAN
                    10545 52ND AVE N
                    ST PETERSBURG, FL 33708-3311


                    ANTONY BRAUN
                    4015 114TH AVE E
                    EDGEWOOD, WA 98372


                    ANTONY FRANK
                    1480 HOWLAND BLVD
                    DELTONA, FL 32738-5412


                    ANUPAM GUPTA
                    480 BRIDAL CT
                    SAN RAMON, CA 94582


                    ARLENE WALTON
                    13521 16TH AVE COURT S
                    TACOMA, WA 98444


                    ARLIND HACKETT
                    4040 PIEDMONT DRIVE
                    SPACE 251
                    HIGHLAND, CA 92346


                    ARLO FOBAIRE
                    8701 295TH STREET EAST
                    CANNON FALLS, MN 55009


                    ARLYN HARE
                    1715 CR 6200
                    ELK CITY, KS 67344-6205


                    ARMANDO MENDEZ
                    9006 WEST 96TH AVE
                    SAINT JOHN, IN 46373


                    ARNAUD LAPIERRE
                    6 WOODCREST DR
                    NORTH OXFORD, MA 01537


                    ARNE ACHTNER
                    ***CALL FOR PICKUP***




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 21 of 326
                    ARNE ANDERSON
                    20402 HERITAGE FARM TERRACE
                    MONTGOMERY VILLAGE, MD 20886


                    ARNIE PARCHERT
                    39506 N DAISY MOUNTAIN DR STE 122172
                    ANTHEM, AZ 85086-6068


                    ARNOLD JOHNSON
                    3558 MILLEDGEVILLE RD
                    AUGUSTA, GA 30909-4465


                    ARROW BOX COMPANY
                    80 HARTFORD AVENUE
                    MOUNT VERNON, NY 10553


                    ART MARTELLO
                    20 BENEVOLO DRIVE
                    HENDERSON, NV 89011


                    ARTEFACT INNOVATIONS, LTD
                    C/O CASSUBHAI LAW PLLC
                    701 FIFTH AVE STE 4200
                    SEATTLE, WA 98104-5119


                    ARTHUR BELLE-ISLE
                    564 HARBOR OAKS DR
                    BEAUMONT, TX 77706-5354


                    ARTHUR INCALCATERRA
                    5308 BRIGHT SUN CT
                    LAS VEGAS, NV 89130


                    ARTHUR KAVAN
                    3010 SHIRLEY CT
                    LINCOLN, NE 68507-2658


                    ARTHUR O'DEA
                    1072 HILLVIEW LANE
                    HERSHEY, PA 17033


                    ARTHUR REID
                    11969 S MACKINAC TRAIL
                    DAFTER, MI 49724




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 22 of 326
                    ARTHUR STUMPF
                    2803 PLUM RD
                    STARKVILLE, MS 39759


                    ARTHUR TREVALLEE
                    414 FORT SUTTER BLVD
                    FERNLEY, NV 89408-7110


                    ARTURO AGUILLON
                    69 HALL ROAD
                    STURBRIDGE, MA 01566


                    ARVIN L. THORNTON
                    988 SASSAFRAS RD
                    BIG SANDY, TX 75755-3878


                    ASHVIN BHATT
                    719 LAKESHORE DRIVE
                    PARSIPPANY, NJ 07054


                    ASSURANT EMPLOYEE BENEFITS
                    ASSURANT EMPLOYEE BENEFITS
                    2323 GRAND BOULEVARD
                    KANSAS CITY, MO 64108-2670


                    AT&T MOBILITY
                    PO BOX 6463
                    CAROL STREAM, IL 60197-6463


                    ATKINS INTELLECTUAL PROPERTY
                    113 CHERRY STREET #18483
                    SEATTLE, WA 98104-2818


                    AURA HUMANITATIS
                    2764 N GREEN VALLEY PKWY, #255
                    HENDERSON, NV 89014


                    AUSTIN BROEKER
                    6101 N HIGHWAY 94
                    PRTG DE SIOUX, MO 63373-1605


                    AUSTIN GROUPP
                    511 LINNHURST DRIVE
                    BOSSIER CITY, LA 71111




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 23 of 326
                    AUSTIN JOLIET
                    108 MORNINGTON CIRCLE
                    WOODSTOCK, GA 30188


                    BADEN SPRINKLE
                    20910 7TH PL.S
                    DES MOIENS, WA 98198


                    BALLY RIBBON MILLS
                    23 N. 7TH STREET
                    BALLY, PA 19503-1004


                    BANNER BANK
                    PO BOX 2181
                    WALLA WALLA, WA 99362-0181


                    BARBARA ADDINGTON
                    2116 TIBURON RD
                    CARROLLTON, TX 75006


                    BARBARA BARKER
                    2711 CHERRY LANE
                    PASADENA, TX 77502


                    BARBARA LUSADER
                    4169 BOLD MDWS
                    OAKLAND TWP, MI 48306-4701


                    BARBARA SINNING
                    32W841 ALBERT DRIVE
                    EAST DUNDEE, IL 60118


                    BARNEY LOUCKS IRREVOC TRUST
                    BARNEY LOUCKS TRUSTEE
                    320 SOUTH 30 STREET
                    MT VERNON, WA 98274


                    BARRY HIGGINS
                    PO BOX 148
                    LIBERTY, MS 39645-0148


                    BARRY OSKEY
                    33255 WOOD ST
                    LAKE ELSINORE, CA 92530-6187




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 24 of 326
                    BARRY SKLAR
                    5805 WEST HARMON AVE
                    SPACE 119
                    LAS VEGAS, NV 89103


                    BARRY WALUDA
                    6760 GREY WOLF COURT
                    COLORADO SPRINGS, CO 80919


                    BARRY WEAVER
                    10021 WORMAN DR
                    KING GEORGE, VA 22485-7552


                    BART DALMASSO
                    PO BOX 1762
                    SULTAN, WA 98294


                    BARTO MICHELL
                    4123 BROADMOOR DR
                    MONT BELVIEU, TX 77523


                    BELLA MILLER
                    10820 E US HWY 67
                    MERTZON, TEXAS 76941-0000


                    BEN DALKE
                    380 E. NORTH STREET
                    PO BOX 531
                    POWELL, WY 82435-0531


                    BEN DOOLIN
                    15302 197TH ST E
                    ORTING, WA 98360


                    BEN DRAGOS
                    1725 SANDPIPER DRIVE
                    YUBA CITY, CA 95993


                    BEN LOMBARDI
                    1935 FOUR MILE DR
                    KALISPELL, MT 59901-7113


                    BEN MORRIS
                    3411 FOLZ LANE
                    EVANSVILLE, IN 47720



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 25 of 326
                    BEN RUHRER
                    113 HAWTHORNE CT
                    ROCKAWAY, NJ 07866-2251


                    BEN WARD
                    10711 PIONEER DR
                    ANDERSON IS, WA 98303-8651


                    BENJAMIN COX
                    14509 KENT DRIVE
                    UPPER MARLBORO, MD 20772


                    BENJAMIN FOLEY
                    414 N 5TH ST
                    WILLIAMS, AZ 86046


                    BENJAMIN HARRIS
                    12008 PARKLAND CT
                    LOUISVILLE, KY 40243-2099


                    BENJAMIN LECHTANSKI
                    104 WHIPPORWILL AVE
                    TRAIL CREEK, IN 46360


                    BENJAMIN WILLIAMSON
                    405 S GEORGE ST
                    DECATUR, MI 49045-1216


                    BENJAMIN WORDEN
                    347 E 1325 N
                    CHESTERTON, IN 46304-9540


                    BENJAMIN ZIMMER
                    4329 133RD AVE NE.
                    SPICER, MN 56288


                    BENJAMIN ZINKE
                    25943 GLEN SUMMER DR
                    LOMA LINDA, CA 92354


                    BENNETT GAY
                    625 W HUMBOLDT ST SPC 71
                    BATTLE MTN, NV 89820-2621




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 26 of 326
                    BENNETT SCARBOROUGH
                    5688 EAST 52ND STREET
                    NEWAYGO, MI 49337


                    BERISLAV KOS
                    1517 BLAIR ST
                    HOUSTON, TX 77008


                    BERNADETTE SHONKA
                    3240 EAST 800 SOUTH
                    KNOX, IN 46534


                    BERNARD LOCATELLI
                    327 IROQUOIS STREET
                    LAURIUM, MI 49913


                    BERNARD PETTIE
                    8391 240TH ST
                    O BRIEN, FL 32071-3839


                    BETH MORELLI
                    AIR CONNECTION
                    1375 CENTRAL AVE
                    SANTA ROSA, CA 95401


                    BETTY KLINO
                    427 EL CAMINITO
                    LIVERMORE, CA 94550


                    BILL CORREIRA
                    PO BOX 176
                    TALKEETNA, AK 99676


                    BILL GALSTER
                    168 G BURDICK
                    GLOVERSVILLE, NY 12078


                    BILL KITELYNN
                    3625 PINEVIEW RD
                    MARYVILLE, TN 37803


                    BILL LEE
                    1471 EVANS AVE
                    SOUTH ST PAUL, MN 55075-1021




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 27 of 326
                    BILL RAMEY
                    109 POINT ROYAL DR
                    ROCKWALL, TX 75087-8714


                    BILL SHUSTER
                    2090 RIO VISTA DRIVE
                    FALLBROOK, CA 92028


                    BILL TANNER
                    1230 OAK GROVE RD
                    ALBERTVILLE, AL 35951-6128


                    BILL WEBB
                    176 W CHLOE RIDGE DR
                    PIKEVILLE, KY 41501-2167


                    BILL WHEELER
                    600 COBB ROAD
                    ATHOL, MA 01331


                    BILLY STRICKLAND
                    3479 LITTLE HORSETHIEF CYN RD
                    HESPERIA, CA 92345


                    BLAIN WALKER
                    614 SEA HEADRIG DR
                    CIBOLO, TX 78108-3565


                    BLAKE ENYART
                    452 LAUREL ROAD
                    GREENUP, KY 41144


                    BLAKE KINGSTON
                    1251 MCKINLEY AVE
                    POCATELLO, ID 83201-4309


                    BLAKE MCKINNON
                    CALL WHEN READY FOR PICKUP


                    BOB BENNER
                    C/O SHARON GRINDEL
                    6423 N ROBERSTON RD
                    MIDDLEVILLE, MI 49333




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 28 of 326
                    BOB BLACKWELL
                    16 A ST. AGNES RD.
                    GLEN BURNIE, MD 21060


                    BOB ECKHARDT
                    2948 SW STAFFORDSHIRE RD
                    TOPEKA, KS 66614-4381


                    BOB GAFFNEY
                    123 E GASKILL ST
                    ALLIANCE, OH 44601-1346


                    BOB HAYES
                    905 LIBERTY DRIVE
                    FAIRFIELD, IA 52556


                    BOB OAKES
                    38 BRINCKERHOFF AVE
                    FREEHOLD, NJ 07728-2015


                    BOB PEARCY
                    1423 MADISON AVE
                    NAMPA, ID 83687


                    BOB SCHREIBER
                    595 2ND STREET
                    CLAFLIN, KS 67525


                    BOB SIEMANN
                    3527 TIMBER CREEK LN
                    NAPERVILLE, IL 60565-3572


                    BOB WILMETH
                    45270 VISTA SANTA ROSA
                    INDIAN WELLS, CA 92210


                    BOBBY HALL
                    1297 WILDWOOD RD
                    N VERNON, IN 47265


                    BOBBY SHEPPERD
                    546 SONOMA CIR
                    FAYETTEVILLE, AR 72703-9797




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 29 of 326
                    BODEN BRIDGE
                    OR JOHNNY MCDANIEL
                    ***CALL FOR PICKUP***


                    BOGDAN SVINTOZELSKY
                    31830 195TH AVE SE
                    KENT, WA 98042-9702


                    BOHLER-UDDEHOLM CORP
                    75 REMITTANCE DRIVE, SUITE 6904
                    CHICAGO, IL 94545


                    BOJANA FOSTER
                    ***CALL FOR PICKUP***
                    302 BINGHAMPTON ST W
                    RANIER, WA 98576


                    BONJET INTERNATIONAL LIMITED
                    RM 1201A, 12/F, TOWER B
                    14 SCIENCE MUSEUM ROAD
                    TST EAST, KIN
                    HONG KONG


                    BONJET INTERNATIONAL LTD
                    RM 1201A, 12/F, TOWER B
                    14 SCIENCE MUSIUM ROAD
                    TST EAST, KIN
                    HONG KONG


                    BONNIE GUERIN
                    4 CHIPPEWA COURT
                    HOLMDEL, NJ 07733


                    BOREK MINARIK
                    2537 NE 56TH AVE APT 1
                    PORTLAND, OR 97213


                    BORISHKA CROTEAU
                    20 MELROSE AVE APT 1
                    OTTOWA, ONTARIO K1Y1T9


                    BRAD CLARK
                    16739 BIRCH STREET
                    STILWELL, KS 66085




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 30 of 326
                    BRAD EWING
                    21907 SE 289TH ST
                    BLACK DIAMOND, WA 98010-1258


                    BRAD GOODWIN
                    718 GRIFFIN AVE
                    #906
                    ENUMCLAW, WA


                    BRAD HOLYBEE
                    10106 62ND TER
                    SEMINOLE, FL 33772-6934


                    BRAD JOSLIN



                    BRAD SNODGRASS
                    870 N ASPEN CT
                    CANBY, OR 97013


                    BRADFORD REYNOLDS
                    6 MORIN DR
                    EASTHAMPTON, MA 01027-2622


                    BRADLEY GUNDERSON
                    14512 271ST CT NE
                    DUVALL, WA 98019


                    BRADLEY KIENLEN
                    6688 ENGLISH TURN
                    ZACHARY, LA 70791-7626


                    BRADLEY OETMAN
                    7109 DAVID LANE
                    COLLEYVILLE, TX 76034


                    BRADLEY PARIS
                    10120 GOLFSIDE DR
                    GRAND BLANC, MI 48439


                    BRADLEY PEABODY
                    PO BOX 76
                    BARRINGTON, NH 03825-0076




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 31 of 326
                    BRADLEY PLOWMAN
                    717 MALLARD DRIVE
                    APOLLO, PA 15613


                    BRADLEY STEVEN COHAN
                    C/O ANTHONY MICHAEL GLASSMAN
                    360 N BEDFORD DR
                    BEVERLY HILLS, CA 90210


                    BRAIN RICKERBY
                    662 W 78TH ST
                    TULSA, OK 74132-2620


                    BRANDAN MATHUS
                    211 WEST GARFIELD
                    BARTONVILLE, IL 61607


                    BRANDAN SMITH
                    13 MUNGER STREET
                    BERGEN, NY 14416


                    BRANDON JONES
                    3055 HEATHERWOOD ROAD
                    TWIN FALLS, ID 83301


                    BRANDON MCGAFFEY
                    31 PONTE LOREN
                    LAKE ELSINORE, CA 92532-0235


                    BRANDON MUEHLEIS
                    N 19768 ABEL LANE
                    ETTRICK, WI 54627


                    BRANDON SENE
                    OR JESSICA SENE
                    ***CALL FOR PICKUP***


                    BRENDA FOSTER
                    1108 EAST SIMPSON
                    MCPHERSON, KS 67460


                    BRENDA OVERMAN
                    1505 S 4465 ROAD
                    WELCH, OK 74369




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 32 of 326
                    BRENT BAKER
                    1066 SE ROUNDELAY STREET
                    HILLSBORO, OR 97123


                    BRENT BENISH
                    9556 CAPRICORN WAY
                    SAN DIEGO, CA 92126-5539


                    BRENT EGAN
                    104 LEGENDS WAY
                    SIMPSONVILLE, SC 29681-4010


                    BRENT HADFIELD
                    2100 W PINE GLEN CT
                    ATHOL, ID 83801-9364


                    BRENT RABER
                    44 PUTNAM AVE
                    WEST JEFFERSON, OH 43162


                    BRENT WILKINSON
                    12284 W MISSISSIPPI AVE
                    LAKEWOOD, CO 80228-3639


                    BRET PARKER
                    N74W24595 STONEWOOD CT
                    SUSSEX, WI 53089-9503


                    BRETT GILLIS
                    14407 4TH AVE W
                    LYNNWOOD, WA 98087


                    BRETT MORRISON
                    1524 45TH ST E, SUITE 102
                    SUMNER, WA 98390


                    BRIAN BEDORE
                    616 SADDLE RIDGE TRL
                    WEATHERFORD, TX 76087-2140


                    BRIAN BENEDICT
                    PO BOX 474
                    OLD FORT, NC 28762




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 33 of 326
                    BRIAN BERGLOF
                    9643 HARROW AVE SOUTH
                    COTTAGE GROVE, MN 55016


                    BRIAN COOK
                    2573 CRESCENT RD
                    NAVARRE, FL 32566-8705


                    BRIAN DRUST
                    280 LAKEVIEW DR
                    MOUNTAIN TOP, PA 18707-9213


                    BRIAN DUIMOVICH
                    4813 CORBINA WAY
                    OXNARD, CA 93035-2810


                    BRIAN ENGELLAND
                    594 REGENT PL NE
                    WASHINGTON, DC 20017-2600


                    BRIAN HIGGINS
                    W 13862 BOGH DRIVE
                    WISCONSIN DELLS, WI 53965


                    BRIAN HOFFMAN
                    115 FOREST HOLLOW DRIVE
                    ARGYLE, TX 76226


                    BRIAN HUCKABY
                    9747 EAGLE RD
                    DAVISBURG, MI 48350


                    BRIAN HULL
                    17827 ORIOLE COURT
                    PENN VALLEY, CA 95946


                    BRIAN JONES
                    63348 W FISH LAKE RD
                    STURGIS, MI 49091-9642


                    BRIAN MCCORMICK
                    3131 THORNWOOD AVE
                    GLENVIEW, IL 60026




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 34 of 326
                    BRIAN MEHLBRECH
                    10669 MOHAVE CT
                    MORENO VALLEY, CA 92557-3813


                    BRIAN MINNICH
                    20006 AUDREY LN
                    PRUNEDALE, CA 93907-8405


                    BRIAN MORRISON
                    PO BOX 1492
                    HUNTINGTON BEACH, CA 92647


                    BRIAN PALMER
                    920 E HAZELDELL AVE
                    NEW CASTLE, DE 19720-6126


                    BRIAN PORTER
                    604 N DU PAGE AVE
                    ADDISON, IL 60101-1920


                    BRIAN REHO
                    9069 SW 35TH AVE
                    PORTLAND, OR 97219-5301


                    BRIAN REUTNER
                    5127 STONERIDGE WAY
                    CASPER, WY 82601-6924


                    BRIAN ROBERTS
                    7260 EAST RACERS WAY
                    PRESCOTT VALLEY, AZ 86315


                    BRIAN SCHLUND
                    604 SUNTIDE DR
                    SAINT LOUIS, MO 63125-4058


                    BRIAN SCOTT
                    19448 E COLORADO DR
                    AURORA, CO 80017-5518


                    BRIAN SPENCER
                    3123 115TH AVE NW
                    GIG HARBOR, WA 98335




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 35 of 326
                    BRIAN SUNDMAN
                    703 SPRINGDALE RD
                    STATESVILLE, NC 28677


                    BRIAN THILL
                    275 NW OUTLOOK VISTA DR
                    BEND, OR 97703-5473


                    BRIAN TYRRELL
                    48578 251ST STREET
                    GARRETSON, SD 57030


                    BRIAN WHEATER
                    PO BOX 161
                    CEDAREDGE, CO 81413


                    BRICEN LAWSON
                    OR ADRIAN ALLEN
                    6801 PRITCHARD PL
                    NEW ORLEANS, LA 70125


                    BRITTON CARTER
                    13820 RAVENSWOOD DRIVE
                    CHOCTAW, OK 73020


                    BRONISLAW BEDNARZ
                    832 ROYAL YORK RD
                    ETOBICOKE, ON M8Y 2T9


                    BROOKE ASHJIAN
                    4237 W. SWIFT
                    FRESNO, CA 93722


                    BROOKE DUNN
                    1360 ENCHANTED RIVER DR
                    HENDERSON, NV 89012


                    BROOKS WILLIAMS
                    914 MANITOU BLVD
                    COLORADO SPRINGS, CO 80904


                    BRUCE BERRY
                    OR RON BERRY
                    CALL FOR PICKUP




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 36 of 326
                    BRUCE COLOSIMO
                    2901 E CASA HERMOSA
                    KINGMAN, AZ 86409-1557


                    BRUCE EASTON
                    16617 CLARKES GAP RD
                    PAEONIAN SPRINGS, VA 20129


                    BRUCE ELLIS
                    4110 57TH STREET COUT E
                    TACOMA, WA 98443


                    BRUCE HERMONAT
                    DO NOT USE
                    USE 121035
                    834 31ST ST NW
                    ROANOKE, VA 24017


                    BRUCE JOHNSON
                    537 WILLOW WAY
                    WINTER SPGS, FL 32708-2928


                    BRUCE MCINTOSH
                    274 LISA CIR
                    WHITE LAKE, MI 48386-3449


                    BRUCE MUELLER
                    18305 SE NEWPORT WAY
                    APT P-302
                    ISSAQUAH, WA 98027


                    BRUCE PRINZ
                    4009 64TH AVE E
                    FIFE, WA 98424-2384


                    BRUCE RHODES
                    5516 BROADVIEW AVENUE NE
                    TACOMA, WA 98422


                    BRUCE RIGAUD
                    454 OTTER WAY
                    SEDALIA, CO 80135-8483




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 37 of 326
                    BRUCE STERN
                    1805 QUAIL RUN
                    EL DORADO, KS 67042-4901


                    BRUCE THOMAS
                    612 GOLD COVE DRIVE
                    DAHLONEGA, GA 30533


                    BRYAN DE VERNEUIL-SMITH
                    C/O CASSUBHAI LAW PLLC
                    701 FIFTH AVE STE 4200
                    SEATTLE, WA 98104-5119


                    BRYAN GOUKER
                    231 CRESS CREEK TRAIL
                    POPLAR GROVE, IL 61065


                    BRYAN SCHAUF
                    7219 188TH AVE E
                    BONNEY LAKE, WA 98391-8525


                    BRYAN SHEPPARD
                    312 BECKET AVE
                    FAIRDALE, KY 40118


                    BRYAN SMATHERS
                    332 REIDER AVE
                    LONGWOOD, FL 32750


                    BRYAN STEADMAN
                    2454 WEST TAYLOR ROAD
                    FAR WEST, UT 84404


                    BRYAN VARNON
                    P.O.BOX 242
                    COLUMBUS, TX 78934


                    BRYANT DOCKENS
                    STE 5 - 224
                    4001 SUMMITVIEW AVE
                    YAKIMA, WA 98908-2945


                    BRYON SMITH
                    PO BOX 3252
                    SALEM, OR 97302



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 38 of 326
                    BUD JAMESON
                    12 POST OAK LOOP
                    SHERWOOD, AR 72120-3700


                    BUDDY WILSON
                    700 HINER ROAD
                    WEATHERFORD, TX 76087


                    BURD MCCOY
                    2000 EAST 54TH STREET NORTH
                    SOUIX FALLS, SD 57104


                    BURL MANSBERGER
                    343 WOODBRIDGE LANE
                    JERICHO, NY 11753


                    BURNISE PERRY JR.
                    1646 ROAD G
                    EMPORIA, KS 66801-7702


                    BYRON ASHBY
                    414 COTTONWOOD CIRCLE
                    MONROE, NC 28110


                    C FRAIOLI
                    1595 COOLIDGE AVE
                    PASADENA, CA 91104-2010


                    C WA
                    PO BOX 2007
                    ROCKVILLE, MD 20847-2007


                    CALEB SIMMONS
                    PO BOX 520462
                    BIG LAKE, AK 99652


                    CALEB STONE
                    2817 GARDEN HIGHWAY
                    SACRAMENTO, CA 95833


                    CALVIN YEARIAN
                    280 SANDERSON ROAD
                    CHEHALIS, WA 98532




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 39 of 326
                    CAMERON COOKSEY
                    38861 ROGERS LN PO BOX 403
                    DEXTER, OR 97431


                    CAMILLA NEFF
                    16245 SE 7TH ST
                    BELLEVUE, WA 98008


                    CANDACE HARDY
                    PO BOX 985
                    BOWMAN, ND 58623


                    CANDACE ROUSH
                    8201 DOE RUN LN
                    SHOALS, IN 47581-7288


                    CANDY BARR
                    30 RD 4277
                    PO BOX 6550
                    NAVAJO DAM, NM 87419-0550


                    CAPITAL ONE - 4014
                    PO BOX 60599
                    CITY OF INDUSTRY, CA 91716-0599


                    CAPITAL ONE - 0040
                    PO BOX 60599
                    CITY OF INDUSTRY, CA 91716-0599


                    CAPITAL ONE - 8649
                    PO BOX 60599
                    CITY OF INDUSTRY, CA 91716-0599


                    CAPT JOHN GEORGE
                    4879 N HIGHLAND PARK DR
                    HERNANDO, FL 34442-2693


                    CARL BANASZEWSKI
                    905 SHELLEY RD
                    TOWSON, MD 21286-2931


                    CARL COLLETT
                    ASHLEY TRADING POST
                    236 E MAIN ST
                    VERNAL, UT 84078-2606



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 40 of 326
                    CARL DALSKY
                    OR LAURA DALSKY
                    7172 SHEFFIELD CT NE
                    BREMERTON, WA 98311


                    CARL FOISY
                    1321 MAEBLE LAKE RD
                    LUMBY, BC V0E-2G5


                    CARL MATTS
                    3602 E. INDIANAPOLIS AVE.
                    FRESNO, CA 93726


                    CARL PETERSON
                    8047 55TH ST SE
                    MONTPELIER, ND 58472


                    CARLA BALL
                    5387 SERENA CIRCLE
                    WEST VALLEY CITY, UT 84120


                    CARLAN MCDANIEL
                    1740 W BROADWAY ST
                    IDAHO FALLS, ID 83402-3046


                    CARLO FIORENTINI
                    123 WASHINGTON RD
                    PRINCETON, NJ 08540-6405


                    CARLOS MONZON
                    4900 N. LAWNDALE AVE
                    #1
                    CHICAGO, IL 60625


                    CAROL BERNARD
                    RR 2 BOX 71A
                    DAHLGREN, IL 62828


                    CAROL CHAFFER
                    2324 SW TAYLER
                    MCMINNVILLE, OR 97128


                    CAROL WELLS
                    14609 PEONY LN
                    PAONIA, CO 81428-4113



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 41 of 326
                    CAROLYN MARQUAND
                    PO BOX 13064
                    MESA, AZ 85216


                    CARROLL PACE
                    526 IRON MOUNTAIN ROAD
                    MOUNTAIN VIEW, AR 72560-8067


                    CARSTENS & CAHOON, LLP
                    PO BOX 802334
                    DALLAS, TX 75380


                    CARTER QUILLEN
                    2741 HWY 91
                    ELIZABETHTON, TN 37643


                    CASEY ASCHIM
                    7007 NE MINERAL SPRINGS RD
                    CARLTON, OR 97111-9529


                    CASEY MACHULA
                    1960 N METEOR DR
                    FLAGSTAFF, AZ 86001-1172


                    CATHERINE FAW
                    PO BOX 1101
                    LAMPASAS, TX 76550


                    CATHRYN MALLORY
                    1111 EAST JOHN STREET
                    #4
                    SEATTLE, WA 98102


                    CECIL KEITH
                    3000 S. PALM
                    SLIDELL, LA 70458


                    CECILE BLAKE
                    5117 CARNOUSTIE TRAIL
                    ARLINGTON, TX 76001


                    CELESTE MOZENA
                    24021 MADACA LANE #103
                    PORT CHARLOTTE, FL 33954




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 42 of 326
                    CENTRAL LYON CO FIRE DISTRICT
                    231 CORRAL DIRVE
                    DAYTON, NV 89403


                    CESAR RANGEL
                    340 SE 2ND AVE
                    APT D4
                    DEERFIELD BEACH, FL 33441


                    CHAD COMER
                    819 ROAD 3000
                    AZTEC, NM 87410-9512


                    CHAD LUNDBERG
                    401 E CHIPPEWA ST
                    DWIGHT, IL 60420-1411


                    CHAD OR MARISSA LINTON
                    PO BOX 352
                    PRATHER, CA 93651-0352


                    CHAD ROBERG
                    538 MARINA DR
                    SUPERIOR, WI 54880-3200


                    CHAD WOOD
                    1249 NW 38TH PL
                    CAPE CORAL, FL 33993


                    CHADE SPACKMAN
                    1146 ARTIC WILLOW DRIVE
                    REXBURG, ID 83440


                    CHAIR 10 MARKETING, INC.
                    2303 W. COMMODORE WAY #305
                    SEATTLE, WA 98199


                    CHANTANA LIM
                    4821 71ST AVE COURT WEST
                    UNIVERSITY PLACE, WA 98467


                    CHARLES ALBANY
                    2726 MOWER STREET
                    PHILADELPHIA, PA 19152




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 43 of 326
                    CHARLES AMBOY
                    4689 WOODCRAFT ROAD
                    OKEMOS, MI 48864


                    CHARLES BILER
                    486 RICH HILL ROAD
                    CONNELLSVILLE, PA 15425


                    CHARLES CHADDERTON
                    120 CUNNINGHAM RD.
                    KELSO, WA 98626


                    CHARLES CHASE
                    360 CHESTNUT STREET
                    WARRIOR RUN, PA 18706


                    CHARLES COOMBES
                    801 PEBBLE BEACH DRIVE
                    BOULDER CITY, NV 89005


                    CHARLES DANIELS
                    9626 17TH BAY STREET
                    NORFOLK, VA 23518


                    CHARLES DANNER
                    1344 BENDERS FERRY RD
                    MT JULIET, TN 37122


                    CHARLES DAVIDSON
                    413 OLD UNION RD
                    CHURCHILL, TN 37642


                    CHARLES DELOZIER
                    1115 HIGHLAND AVENUE
                    FORT THOMAS, KY 41075


                    CHARLES DICKENS
                    1373 RIDGE COMMONS BLVD
                    HANOVER, MD 21076-1140


                    CHARLES GARTMAN
                    P.O. BOX 68
                    1505 MORGANTOWN ROAD
                    FOXWORTH, MS 39483




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 44 of 326
                    CHARLES GENTRY
                    1300 REEDSVILLE RD NW
                    FLOYD, VA 24091-3078


                    CHARLES LEIMBACH
                    58863 YEATTER RD
                    COLON, MI 49040-9739


                    CHARLES LONG
                    948 DESCENDANT DR
                    FOUNTAIN, CO 80817-4696


                    CHARLES MANFREDI
                    199 HIGHWOOD RD
                    OAKHURST, NJ 07755-1415


                    CHARLES MARSHALL
                    4915 NW 58TH AVE
                    CORAL SPRINGS, FL 33067


                    CHARLES MARTZ
                    1332 PINE RIDGE ROAD
                    MONTGOMERY, AL 36109


                    CHARLES OLSON
                    STE 11
                    1 WORMANS MILL CT
                    FREDERICK, MD 21701-3022


                    CHARLES PETTY
                    120 RIDGE WAY RD
                    GILLETTE, WY 82716-9217


                    CHARLES REDFIELD
                    OR STEVE REDFIELD
                    CALL FOR PICKUP


                    CHARLES SHATZER
                    8621 SE173RD WISTERIA ST
                    THE VILLAGES, FL 32162


                    CHARLES STODDEN
                    1378 CR 700E
                    TRILLA, IL 62469




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 45 of 326
                    CHARLES STOKES
                    580 OLD SUDLOW LAKE RD
                    NORTH AUGUSTA, SC 29841-8792


                    CHARLES ULRICH
                    2400 W PROSPECT AVE
                    APPLETON, WI 54914


                    CHARLES WANGENSTEEN
                    C/O FIRST NATIONAL BANK
                    PO BOX 102
                    CHISHOLM, MN 55719


                    CHARLES WUMMEL
                    1480 ODELL SCHOOL RD
                    CONCORD, NC 28027-9799


                    CHASE GUFFEY
                    2650 NEENA DRIVE
                    SOUTHSIDE, AL 35907


                    CHAU CHAN
                    6737 185TH ST
                    FRESH MEADOWS, NY 11365-3511


                    CHEMITE, INC
                    07 COUNTY RD 60
                    WAVERLY, NY 14892


                    CHENGYA LIU
                    11721 BEVERLY DR
                    WHITTIER, CA 90601-2605


                    CHERYL & RUSSELL BOND
                    PO BOX 679
                    LEAKEY, TX 78873


                    CHERYL COSTELLA
                    PO BOX 865
                    THAYNE, WY 83127


                    CHRIS BATCHMAN
                    122 N MAIN ST
                    ELLINWOOD, KS 67526-1640




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 46 of 326
                    CHRIS BOBELL
                    221 CHURCH CAMP RD
                    MAKANDA, IL 62958-2037


                    CHRIS BUCKNER
                    WA



                    CHRIS CARTER
                    986 DEEP WATER DR
                    SPRING BRANCH, TX 78070


                    CHRIS CATES
                    146 OAK LANDING CT
                    DOUGLASVILLE, GA 30134


                    CHRIS CLOUTIER
                    12304 26TH ST. N.E.
                    LAKE STEVENS, WA 98258


                    CHRIS CORDES
                    PO BOX 236
                    ORTING, WA 98360


                    CHRIS CZEINER
                    505 W MORLATTON RD
                    DOUGLASSVILLE, PA 19518-8773


                    CHRIS DILLON
                    218 ALNUS WAY
                    BREMERTON, WA 98310-2284


                    CHRIS LANTER
                    P.O. BOX 1115
                    FOREST GROVE, OR 97116


                    CHRIS M. SMITH
                    6346 EIGHT MILE ROAD
                    FREELAND, MI 48623


                    CHRIS MARTINDALE
                    2614 TAMIAMI TRAIL NORTH
                    PMB 713
                    NAPLES, FL 34103




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 47 of 326
                    CHRIS PATTON
                    3167 EASTON PL
                    COLUMBUS, OH 43221-2311


                    CHRIS RICH
                    2870 GALE RD
                    WAYZATA, MN 55391


                    CHRIS SACHS
                    5023 CTY RD 31
                    MORRISBURG, ON K0C1X0


                    CHRIS STEVENS
                    17150 NW LONEROCK LANE
                    BEAVERTON, OR 97006


                    CHRIS TRIVELAS
                    PO BOX 725
                    NORTH BEND, WA 98045


                    CHRISTEN FASSETT
                    1486 CLOUD DRIVE NE
                    MINNEAPOLIS, MN 55449


                    CHRISTIAN ESKELUND
                    13218 DAMRON PLACE
                    JACKSONVILLE, FL 32225


                    CHRISTIAN RODIG
                    6490 PEMBA DR
                    SAN JOSE, CA 95119-1527


                    CHRISTINE SYLVESTER
                    5603 MALLARD GROVE ROAD
                    CHARLOTTE, NC 28269


                    CHRISTOPHER / EMILY SEYFERT
                    6553 PRAIRIE RD
                    RIDGEWAY, WI 53582


                    CHRISTOPHER ANG
                    680 VAQUEROS AVE
                    SUNNYVALE, CA 94085




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 48 of 326
                    CHRISTOPHER ANTLITZ
                    14 BOURN AVE
                    HAMPTON, NH 03842


                    CHRISTOPHER BISCHOFF
                    22399 ALFALFA MARKET ROAD
                    BEND, OR 97701


                    CHRISTOPHER CASTIGLIA-MARELLI
                    1009C 22ND STREET NE
                    HICKORY, NC 28601


                    CHRISTOPHER DUCIC
                    8821 FORUM WAY
                    FT WORTH, TX 76140


                    CHRISTOPHER HEWITT
                    1124 BRANDY STATION
                    RICHARDSON, TX 75080


                    CHRISTOPHER KALLOP
                    121 WOODYCREST DR.
                    FARMINGVILLE NY, NY 11738


                    CHRISTOPHER MARANO
                    33300 310TH PL
                    AITKIN, MN 56431


                    CHRISTOPHER PRUSINSKI
                    PO BOX 1259
                    SOUTH DENNIS, MA 02660-1259


                    CHRISTOPHER SANTORO
                    11455 EAST 111TH AVE
                    HENDERSON, CO 80640


                    CHRISTOPHER SIMS
                    10524 AMITY ST
                    LORTON, VA 22079-3517


                    CHRISTOPHER TEMPORELLI
                    36700 DINA COURT
                    FARMINGTON HILLS, MI 48335




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 49 of 326
                    CHRISTOPHER WACKROW
                    28 MIDDLE ST
                    WOBURN, MA 01801-2534


                    CHRISTY MARTINEZ
                    2103 PAYTON CIR
                    COLORADO SPGS, CO 80915-1330


                    CHUCK DARSTEIN
                    1907 HANLEY DR
                    LAKE VIEW, NY 14085-9704


                    CHUCK SMEAD
                    9390 PYRITE CIR
                    9390 PYRITE CIR
                    MOSCA, CO 81146-9747


                    CHUCK SOVERNS
                    6609 LADOGA LN
                    NEW MARKET, MD 21774-6801


                    CINDY SORENSON
                    30502 ROAD 20 S
                    KREMLIN, MT 59532-8718


                    CINTAS CORPORATION #623
                    P.O. BOX 650838
                    DALLAS, TX 75265-0838


                    CINTAS CORPORATION LOC.461
                    631 VALLEY AVE NW
                    PUYALLUP, WA 98371


                    CJ TUCKER
                    27090 HWY 12
                    NACHES, WA 98937


                    CLARENCE ELLSWORTH
                    35107 30TH AVES S.
                    FEDERAL WAY, WA 98003


                    CLARK BEAM
                    29 BEECHBOARD LANE
                    CARTHAGE, TN 37030




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 50 of 326
                    CLARK CALLEAR
                    54 BLACK ROCK DR
                    AHSAHKA, ID 83520-5021


                    CLAUDE SNEAD
                    3303 CRANE FERRY ROAD
                    AUGUSTA, GA 30907


                    CLAVEL TRACES
                    10614 57TH DRIVE NE
                    MARYSVILLE, WA 98270


                    CLIFF BRADSHAW
                    2322 WINTERGREEN CT
                    LODI, CA 95242


                    CLIFF SCOTT
                    129 EUROPA STREET
                    ENCINITAS, CA 92024


                    CLIFFORD BURDEAUX
                    670 SHEPPARD WAY
                    THE VILLAGES, FL 32162-8706


                    CLIFFORD ELLIOTT
                    3 PANAMINT DR
                    RENO, NV 89506


                    CLIFFORD FELKINS
                    5 TUSCAN VILLA CIRCLE
                    LUBBOCK, TX 79423


                    CLINT ALBRECHT
                    PO BOX 349
                    PANGUITCH, UT 84759


                    CLINT FERRELL
                    12805 NE 102ND PL
                    KIRKLAND, WA 98033-5248


                    CLINT KINGSTON
                    11755 SOUTH ROBIN RD
                    MCCAMMON, ID 83250




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 51 of 326
                    CLYDE BAYNE
                    P.O. BOX 161
                    NEWCASTLE, WY 82701


                    CLYDE WAGGONER
                    2709 WHITE PINES COURT
                    MONROE, NC 28112


                    CME INVESTMENTS LLC
                    633 PROVO ROAD
                    MORGANTOWN, KY 42261


                    CODY BALLENGER
                    PO BOX 556
                    HENDERSON, TX 75653


                    COHEN ASSET MANAGEMENT, INC.
                    C/O ANTHONY MICHAEL GLASSMAN
                    360 N BEDFORD DR
                    BEVERLY HILLS, CA 90210


                    COIN CREATIONS LLC
                    17818 S MAIN ST.
                    GARDENA, CA 90248


                    COINKIDINC
                    4384 CAMEO LANE
                    CASTLE ROCK, CO 80104


                    COINSAFE
                    729 N. MAIN STREET
                    ORANGE, CA 92868


                    COLBY SCHWINDT
                    1140 NW LESTER AVE
                    CORVALIS, OR 97330


                    COLLEEN GIBSON
                    OR DON GIBSON
                    3900 S 340TH STREET
                    AUBURN, WA 98001


                    COLLEEN RADTKE
                    W13853 COUNTY ROAD CC
                    COLOMA, WI 54930-9017



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 52 of 326
                    COLONIAL LIFE
                    PROCESSING CENTER
                    PO BOX 1365
                    COLUMBIA, SC 29202-1365


                    COLUMBIA BASIN EXTERIORS
                    24255 104TH AVE SE
                    KENT, WA 98030


                    COLUMBIA BUTTON &
                    NAILHEAD CORP.
                    306-316 STAGG STREET
                    BROOKLYN, NY 11206


                    CONNER CHESS
                    4626 85TH PLACE NE
                    MARYSVILLE, WA 98270


                    CONRAD FORNIA
                    7118 NE FAIRWAY AVE
                    VANCOUVER, WA 98662-3645


                    CONRAD FRONTERRE
                    1847 62ND STREET
                    BROOKLYN, NY 11204


                    CONSTANTIN POLYAKOVA
                    CALL FOR PICKUP


                    CONSTANTINE STRATIGAKIS
                    1904 S. COURTLAND
                    PARK RIDGE, IL 60068


                    CONTINENTAL AWARDS & TROPHIES
                    7920 STAGE HILLS BLVD
                    BARTLETT, TN 38133


                    CORDELL HULL
                    1383 S 1600 E
                    PRESTON, ID 83263-5487


                    CORY WEBB
                    6515 BECKWITH RD
                    MODESTO, CA 95358-8924




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 53 of 326
                    CRAFT INC.
                    1929 COUNTRY STREET
                    PO BOX 3049
                    SOUTH ATTLEBORO, MA 02703-0912


                    CRAIG ALDER
                    6210 FIELDALE DR
                    ELK GROVE, CA 95758-6319


                    CRAIG BAKKE
                    10343 ARCHER STREET
                    BUCKLIN, MO 64631


                    CRAIG DAVIS
                    316 S WETHERLY DR
                    BEVERLY HILLS, CA 90211-3518


                    CRAIG HURST
                    CALL FOR PICKUP


                    CRAIG NEFF
                    214 SOUTH WATER STREET
                    DARBY, MT 59829


                    CRAIG OLSON
                    1316 SE 5TH AVE
                    CRYSTAL RIVER, FL 34429-4932


                    CRAIG REISDORF
                    1714 REISELL RD
                    BLUE MOUNDS, WI 53517-9419


                    CRAIG STEINER
                    10458 STATE ROUTE 701
                    KENTON, OHIO 43326-0000


                    CRAIG WALTERS
                    3506 LEXINGTON COMMON
                    MISSOURI CITY, TX 77459


                    CRYSTAL SPRINGS WATER COMPANY
                    PO BOX 660579
                    DALLAS, TX 75266-0579




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 54 of 326
                    CURT FRAZIER
                    35 DAYTONA LN
                    FAIR GROVE, MO 65648-8659


                    CURT REDINGER
                    5824 DIXIE HWY
                    WATERFORD, MI 48329


                    CURTIS ALDERSON
                    RR 2 BOX 203
                    RAMSEY, IL 62080


                    CURTIS FRAME
                    755 PACIFIC ST APT 2
                    MORRO BAY, CA 93442-2379


                    CURTIS GREENE
                    355 ARCHER STREET
                    FREEPORT, NY 11520


                    CURTIS KAUFMANN
                    6844 LAWNWOOD DR
                    FORT WAYNE, IN 46815-5530


                    CURTIS PETRONE
                    2614 AVERY CT
                    SEABROOK, TX 77586


                    CURTIS STREYLE
                    10 SABLE DR
                    LEDYARD, CT 06339-1666


                    CURTIS WRIGGLE
                    3009 OAKDALE DR
                    MONROE, NC 28110


                    CURTIS YAPCHAI
                    2180 LOST OAK COURT
                    GRAND BLANC, MI 48439


                    CYNTHIA FREI
                    875 BRISTOL COURT
                    DIXON, CA 95620




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 55 of 326
                    CYNTHIA MEEKS
                    11 DUN ROAMIN CT.
                    BLYTHEWOOD, SC 29016


                    D BODENE
                    PO BOX 157
                    TESUQUE, NM 87574


                    DAINIS BALTMANIS
                    800 COPPER RD. UNIT 371
                    PO BOX 3220
                    FRISCO, CO 80443-3220


                    DALE DAIGH
                    PO BOX 6901 JBER
                    ANCHORAGE, AK 99506


                    DALE DEMARR
                    5883 CROSSWINDS DRIVE
                    UNIT 12
                    MUSKEGON, MI 49444


                    DALE DEMING
                    3434 DUX AVE
                    ELKO, NV 89801


                    DALE FISHER
                    565 SCHUYLKILL MOUNTAIN RD
                    SCHUYKL HAVN, PA 17972-8939


                    DALE GALAROWICZ
                    PO BOX 1753
                    CANON CITY, CO 81215


                    DALE GALLES
                    220 WEST MAIN
                    CHEROKEE, IA 51012


                    DALE GARRETT
                    508 MONTICELLO CT
                    GARLAND, TX 75043-2327


                    DALE JONES
                    13652 BARNETT WAY
                    GARDEN GROVE, CA 92843



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 56 of 326
                    DALE SAGE
                    206 N WHATLEY RD
                    WHITE OAK, TX 75693-3602


                    DALE SLANE
                    160 E RIDGE CREEK LANE
                    SHELTON, WA 98584


                    DALE WEBSTER
                    10805 N MAIN ST STE B
                    ARCHDALE, NC 27263-2882


                    DALE WHITE
                    7488 RIVER COUNTRY DRIVE
                    WEEKI WACHEE, FL 03460


                    DALLAS CAMPBELL
                    3344 HWY 101 E
                    PORT ANGELES, WA 98362


                    DALLAS FOREMAN
                    6050 S. SIERRA MADRE DR.
                    HEREFORD, AZ 85615


                    DAMIAN SULLIVAN
                    1265 POSEIDON CT
                    ST PETERS, MO 63376


                    DAMIEN SANCHEZ
                    16332 HAMPTON ROAD
                    HAMILTON, VA 20158


                    DAMIEN SAPUTO
                    28 HARBOR ROAD
                    SOUND BEACH, NY 11789


                    DAMON CARDONE
                    630 N 800 W
                    CEDAR CITY, UT 84721-4086


                    DAMON CLINCH
                    2818 SE TALTON AVE
                    VANCOUVER, WA 98683-6630




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 57 of 326
                    DAN COPE
                    3651 CTY ROAD 1900
                    INDEPENDENCE, KS 67301


                    DAN HERRING
                    928 LAGUNA DRIVE
                    MOSES LAKE, WA 98837


                    DAN HOPPIE
                    5108 WINTERWOOD DR
                    LEAGUE CITY, TX 77573-3196


                    DAN JENSEN
                    9586 FOX DEN DRIVE
                    LITTLETON, CO 80125


                    DAN LITTLETON
                    35692 ROAD 180
                    VISALIA, CA 93292


                    DAN MACHUT
                    1872 FIR TREE CT
                    HEMET, CA 92545-8102


                    DAN MCCAMMON
                    116 GOLD DUST RD
                    CASCADE, ID 83611-5215


                    DAN METTNER
                    126 BRUCE LANE
                    WATERLOO, IA 50701


                    DAN MINSTERMAN
                    135 CARRICK AVENUE
                    PITTSBURGH, PA 15210


                    DAN MOREILLON
                    113 MATS VIEW TERRACE
                    PORT LUDLOW, WA 98365


                    DAN OR VICKI KESSLER
                    8201 FAWN BROOK CT
                    LAS VEGAS, NV 89149




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 58 of 326
                    DAN SCRUGGS
                    13912 KOPANY AVE
                    SYLMAR, CA 91342-1749


                    DAN SIMPSON
                    2746 LAYTON STREET RD
                    LYONS, NY 14489-9013


                    DAN STEEN
                    PO BOX 3
                    RAVENNA, TX 75476


                    DAN STRAIT
                    2104 KITCHEN DRIVE
                    ANDERSON, IN 46017


                    DAN WOOD
                    16400 HADSALL ROAD
                    PARKER, KS 66072


                    DANA POWERS
                    7 ANTELOPE RUN
                    SILVER CITY, NM 88061-8687


                    DANIEL ANDREASEN
                    2352 LINCOLN STREET
                    BLAIR, NE 68008


                    DANIEL BAKER
                    10124 42ND AVE. S.
                    BOYNTON BEACH, FL 33436


                    DANIEL BOOS
                    225 EAST PEARL AVE. APT.7
                    PO BOX 2364
                    JACKSON, WY 83001-2364


                    DANIEL BOWER
                    22664 BILL WALKER ROAD
                    ATHENS, AL 35613


                    DANIEL BRUCE
                    7775 AC SMITH RD
                    CUMMING, GA 30028




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 59 of 326
                    DANIEL BUCKINGHAM
                    100 JUBB MEADOWS LN
                    OAKLAND, MD 21550-7514


                    DANIEL C. HENDERSON
                    PO BOX 3218
                    SARATOGA SPRINGS, NY 12866


                    DANIEL CALL
                    SCU - 2810
                    500 EL CAMINO REAL
                    SANTA CLARA, CA 95053-2810


                    DANIEL CROSSMAN
                    2166 PLANK ROAD
                    VERGENNS, VT 05491


                    DANIEL EDDINGS
                    1381 UNION CENTER HWY
                    ENDICOTT, NY 13760


                    DANIEL FIX
                    11801 FIRTH ROAD
                    FIRTH, NE 68358


                    DANIEL FRETTINGER
                    790 SLEEPY HOLLOW LN
                    VALLEY VIEW, TX 76272-7770


                    DANIEL GARCIA
                    56-14 62ND AVE
                    MASPETH, NY 11378


                    DANIEL GILLIGAN
                    173 MAYFIELD DR
                    BOLINGBROOK, IL 60440


                    DANIEL HENNESSEY
                    PO BOX 9220
                    DENVER, CO 80209


                    DANIEL HENRY
                    1734 WEBER AVE
                    CHESAPEAKE, VA 23320-2242




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 60 of 326
                    DANIEL J. MILLER
                    15 W 345 LEXINGTON STREET
                    ELMHURST, IL 60126


                    DANIEL KNAPP
                    111 BELLE ISLE AVE
                    BELLEAIR BCH, FL 33786-3652


                    DANIEL LANN
                    319 SIMS ROAD
                    BLACKSBURG, SC 29702


                    DANIEL MACHADO
                    129 BEEBE ST
                    LACEYS SPRING, AL 35754-3325


                    DANIEL MAYBEN
                    680 STABLEWAY RD
                    PIKE ROAD, AL 36064-2755


                    DANIEL MILLER
                    8153 MORROW CR 46
                    GALION, OH 44833


                    DANIEL OR LINDA DUNBAR
                    26261 DOUGLASS AVE
                    MURRIETTA, CA 92562


                    DANIEL POLICELLI
                    1201 CARA CT
                    BANGOR, PA 18013-6145


                    DANIEL PRESTENG
                    2651 REBEIRO AVE
                    SANTA CLARA, CA 95051-6210


                    DANIEL PRZEWLOCKI
                    9626 S LIBERTY MEADOWS DRIVE
                    SUMMERVILLE, SC 29485


                    DANIEL SAUDER
                    1661 NORTH 7TH STREET
                    LEBANON, PA 17046




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 61 of 326
                    DANIEL SLOANE
                    11690 ROAD 4 NE
                    MOSES LAKE, WA 98837-9443


                    DANIEL SPETLAND
                    108 POOL RD
                    NORTH HAVEN, CT 06473-1815


                    DANIEL SQUIRE
                    10396 YORKSTONE DR
                    BONITA SPGS, FL 34135-5093


                    DANIEL SUTTLE
                    PO BOX 4185
                    CLARKSBURG, WV 26302


                    DANIEL TAGGART
                    5836 ASHCROFT AVE.
                    EDINA, MN 55424


                    DANIEL W SMITH
                    4022 W SEVERN CIR
                    SOUTH JORDAN, UT 84009-9610


                    DANIEL YOCHUM
                    241 SCHULTZ RD
                    PASCO, WA 99301-8742


                    DANIELLE EISENMANN
                    258 N 2ND STREET
                    DECATUR, IN 46733


                    DANNY RESECK
                    36807 198TH AVE SE
                    AUBURN, WA 98092


                    DANNY UTTERBACK
                    2301 BROOKWOOD DR
                    DOTHAN, AL 36301-5912


                    DANTE SALAZAR
                    P.O. BOX 2817
                    DENVER, CO 80201




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 62 of 326
                    DARCY JORDAN
                    ***CALL FOR PICKUP***


                    DARIN BERTOLINI
                    1530 WEST GOLD BAR ROAD
                    WASILLA, AK 99654


                    DARIN CUNHA
                    17896 MOUNTAIN SPRINGS AVENUE
                    NAMPA, ID 83687


                    DARIUS PAZEMIS
                    5224 STRAWBERRY LANE
                    WILLOUGHBY, OH 44094


                    DARLENE DUFFIELD
                    3268 W EASTON ROAD
                    BURBANK, OH 44214


                    DARLENE HAWLEY
                    430 S MCCORMICK ST
                    PRESCOTT, AZ 86303-4128


                    DARLENE PARADISE
                    8430 EAST OAKWOOD LANE
                    MORGANTOWN, IN 46160


                    DARLENE TENTINGER
                    68848 FIRST STREET
                    EDWARDSBURG, MI 49112


                    DARLO BEAZLEY
                    1004 W 2ND STREET
                    GRAND ISLAND, NE 68801


                    DARLY FREED
                    1251 HARRISON ST
                    AUBURN, KS 66402-9330


                    DARREL TRACY II
                    2522 NE LINCOLN RD
                    POULSBO, WA 98370




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 63 of 326
                    DARRELL HARRISON
                    1100 BLACKBURN AVE
                    BAY MINETTE, AL 36507-3918


                    DARRELL PETERSON
                    148 SKYHAWK DRIVE
                    TOLEDO, WA 98591


                    DARRELL SMITH
                    2455 EAST 3750 NORTH
                    LAYTON, UT 84040


                    DARREN BLETSO
                    3259 CORAL RIDGE RD
                    BROOKS, KY 40109


                    DARREN LAWRENCE
                    1736 S FAIRVIEW DR
                    TACOMA, WA 98465-1315


                    DARREN REILLY
                    420 S ELMER AVE
                    SAYRE, PA 18840-2408


                    DARREN SANBORN
                    11 CUSHING ST
                    SALISBURY, MA 01952


                    DARREN YOKERS
                    9626 S 206TH PL
                    KENT, WA 98031


                    DARRON WASHINGTON
                    135 HEUSEL DR
                    BASTROP, LA 71220-3961


                    DARRYL MCKENZIE
                    3646 WHISPERING WOODS TERRACE
                    BALDWINSVILLE, NY 13027


                    DARRYL THOMAS
                    260 WEST MAIN STREET
                    MOORESTOWN, NJ 08057




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 64 of 326
                    DARRYL WORLEY
                    14426 NORTH PRINCEVILLE JUBILEE RD
                    PRINCEVILLE, IL 61559


                    DARWIN RICHARDSON
                    55 PHILLIPS RD
                    SUDBURY, MA 01776-1271


                    DARYL FREED
                    1251 HARRISON ST
                    AUBURN, KS 66402


                    DATHERINE HAKEMAN
                    26416 SOUTH MANDERIN
                    QUEEN CREEK, AZ 85142


                    DAVE BOLLEN
                    15583 AUBURN RD
                    GRASS VALLEY, CA 95949-8701


                    DAVE DUPRE
                    3545 E PALMYRA AVE
                    ORANGE, CA 92869-3830


                    DAVE HURWITZ
                    18449 196TH AVE SE
                    RENTON, WA 98058-0315


                    DAVE MONNOT
                    2341 GRANT RD
                    EAST WENATCHEE, WA 98802


                    DAVE RINEHART
                    CALL FOR PICKUP


                    DAVE STOVER
                    17980 PEERLESS LOOP
                    NEHALIM, OR 97131


                    DAVE WERNEK
                    3 WILD ORCHID WAY
                    PORT DEPOSIT, MD 21904-2301




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 65 of 326
                    DAVID A KELLER
                    397 LAMONT DRIVE
                    COGAN STATION, PA 17728


                    DAVID ACHORD
                    3329 LOWELL ST
                    SAN DIEGO, CA 92106-1712


                    DAVID BEANE
                    50W458 LASHER RD
                    BIG ROCK, IL. 60511-0000


                    DAVID BERGER
                    4440 ERIN DR
                    FLOYDS KNOBS, IN 47119-9341


                    DAVID BILODEAU
                    PO BOX 760
                    BELFAIR, WA 98528


                    DAVID BLACKWELL
                    8802 WOODLAND AVENUE
                    KANSAS CITY, MO 64131


                    DAVID BLACKWOOD
                    BLACKWOOD REAL ESTATE, INC.
                    10950 PIERSON DRIVE, SUITE 600
                    FREDERICKSBURG, VA 22408


                    DAVID BOYD
                    3717 SOUTH TAFT HILL ROAD LOT 169
                    FORT COLLINS, CO 80526


                    DAVID BRANDVOLD
                    7529 RANIER DR
                    EVERETT, WA 98203-6515


                    DAVID BRAUN
                    4112 N VAN MARTER RD
                    SPOKANE, WA 99206-4567


                    DAVID BROWER
                    301 2ND AVE NE STE A
                    PUYALLUP, WA 98372-3011




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 66 of 326
                    DAVID BROWN
                    9476 JUNIPER WAY
                    ARVADA, CO 80007


                    DAVID CARLBERG
                    15 BLACKBERRY LANE
                    LOS LUNAS, NM 87031


                    DAVID CARTER
                    PO BOX 438
                    APPLE SPRINGS, TX 75926


                    DAVID CARVER
                    5787 HIGHLANDS HWY
                    MOUNTAIN REST, SC 29664-9656


                    DAVID CLARK
                    1583 S 1000 E
                    APT 2
                    CLEARFIELD, UT 84015


                    DAVID COLE
                    33090 EAST 211TH STREET SOUTH
                    COWETA, OK 74429


                    DAVID COOK
                    12749 HAGLER COALING RD
                    COTTONDALE, AL 35453


                    DAVID CRAIG
                    185 BRISTLECONE ST
                    BRIGHTON, CO 80601-5400


                    DAVID CRIMMEN
                    220 ATHENS BLVD
                    BUFFALO, NY 14223


                    DAVID CROSARIOL
                    1471 SUTTER CREEK DR # D
                    EL DORADO HLS, CA 95762-4059


                    DAVID CROWLEY
                    4157 AUGUSTA DR NE
                    TACOMA, WA 98422




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 67 of 326
                    DAVID DOUGHERTY
                    3846 OLD MILTON HWY
                    WALLA WALLA, WA 99362-7189


                    DAVID DUROE
                    8112 WALTS POINT DRIVE
                    DEXTER, IA 50070


                    DAVID E PENROD
                    1405 262ND ROAD
                    SOLDIER, KS 66540


                    DAVID EMHOFF
                    911 BEL AIR DR NW
                    NORTH CANTON, OH 44720-2201


                    DAVID FARR
                    PO BOX 2451
                    FLAGSTAFF, AZ 86003-2451


                    DAVID FAUNTROY
                    14540 JACKSON ST
                    MIAMI, FL 33176-7427


                    DAVID FIEDLER
                    3412 125TH PL SE
                    EVERETT, WA 98208


                    DAVID FLINT
                    PSC 78, BOX 3141
                    APO, AP 96326


                    DAVID FORGOSH
                    12258 SCOTTS MILL DRIVE
                    BRISTOW, VA 20136


                    DAVID FRANCIS
                    2022 PHILLIPS MILL RD
                    FOREST HILL, MD 21050-2119


                    DAVID GEORGE
                    P.O. BOX 520
                    SPEARMAN, TX 79081




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 68 of 326
                    DAVID GHOUSSOUB
                    5 E 22ND ST APT 21C
                    NEW YORK, NY 10010-5328


                    DAVID GRAHAM
                    24853 DIADON DRIVE
                    HAYWARD, CA 94544


                    DAVID GROVE
                    1150 SOUTH COLONY WAY
                    SUITE 3
                    PMB 247
                    PALMER, AK 99645


                    DAVID HANKINS
                    18805 WEST 160TH PLACE
                    OLATHE, KS 66062


                    DAVID HANSEN
                    745 W 2530 N
                    LEHI, UT 84043-3446


                    DAVID HATEGAN
                    46 VIA LAVENDERA
                    RCHO STA MARG, CA 92688-1475


                    DAVID HEARD
                    1401 CHURCHILL ROAD
                    EVANSAVILLE, IN 47725


                    DAVID HEMBREE
                    72 SKYLINE DR.
                    RIVERTON, WY 82501


                    DAVID HENDRIX
                    307 ROYAL FERN DRIVE
                    CLEMMONS, NC 27012


                    DAVID HITESMAN
                    19605 RIVER RD UNIT 128
                    GLADSTONE, OR 97027


                    DAVID HOFFMAN
                    625 HOMESTEAD BLVD
                    PRICE, UT 84501



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 69 of 326
                    DAVID HOWELL
                    2816 NORWELL CT.
                    OAK RIDGE, NC 27310


                    DAVID HUCK
                    1518 BRISTOL HAMMOCK CIRCLE
                    KINGSLAND, GA 31548


                    DAVID HUFF
                    912 INDIANA AVE
                    COLLINSVILLE, IL 62234


                    DAVID HURST
                    21635 HURST LANE
                    BEND, OR 97702-8717


                    DAVID IWAO
                    3727 ANDREW JACKSON WAY
                    HERMITAGE, TN 37076


                    DAVID J SCHRADER
                    11428 49TH ST NE
                    LAKE STEVENS, WA 98258


                    DAVID J. LORD JR.
                    1651 BIRD POINT DR
                    COTOPAXI, CO 81223-9302


                    DAVID JAMES
                    16855 JAMES LANE
                    BEND, OR 97703


                    DAVID JOHNSON
                    2821 DAWN DR
                    COLORADO SPGS, CO 80918


                    DAVID JONES
                    123 HAMLET DR
                    KNG OF PRUSSA, PA 19406-1746


                    DAVID KAISER
                    6324 NE QUAIL TRAIL LN
                    POULSBO, WA 98370




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 70 of 326
                    DAVID L SORENSEN
                    10 CLOVER LANE
                    PASCO, WA 99301


                    DAVID LANE
                    11905 MOLLY PITCHER CIRCLE
                    MANASSAS, VA 20109


                    DAVID LEHNARTZ
                    325 SOUTH DODGE ST
                    KELLOGG, MN 55945


                    DAVID LENDT
                    1010 BRIDLE TRL
                    MOON TOWNSHIP, PA 15108-2787


                    DAVID LOCKWOOD
                    2380 PROFESSIONAL DRIVE
                    ROSEVILLE, CA 95661


                    DAVID LOEBSACK
                    548 RD J NW
                    WATERVILLE, WA 98858


                    DAVID LORENTZ
                    47 CATSPAW CPE
                    CORONADO, CA 92118-3221


                    DAVID LOWER
                    12536 YORBA AVE
                    CHINO, CA 91710-3340


                    DAVID MACNEILL
                    PO BOX 2842
                    MOUNT VERNON, WA 98273


                    DAVID MAINS
                    1217 BARCELONA DR
                    THE VILLAGES, FL 32159-9123


                    DAVID MALESA
                    53 E WILDFLOWER
                    NILES, MI 49120-4498




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 71 of 326
                    DAVID MALLAMS
                    3230 SNOWMASS CT
                    RAPID CITY, SD 57702-4834


                    DAVID MARCIANTI
                    PO BOX 12447
                    CASA GRANDE, AZ 85130


                    DAVID MARTZ
                    939 MEADOW LN
                    MILLERSBURG, PA 17061-9743


                    DAVID MCDONALD
                    412 FRANCIS AVE
                    FLORENCE, AL 35630-2311


                    DAVID MCGOVERN
                    SPC 267
                    3340 DEL SOL BLVD
                    SAN DIEGO, CA 92154-5410


                    DAVID MCWILLIAMS
                    10313 GRETCHEN NICOLE COURT
                    WOODSTOCK, MD 21163


                    DAVID MILLER
                    401 63RD AVE NE APT 1
                    FRIDLEY, MN 55432-5189


                    DAVID MURPHY
                    90599 UPPER NORTH FORK ROAD
                    FLORENCE, OR 97439


                    DAVID NARD
                    2600 BOMEK CIRCLE
                    ELDERSBURG, MD 21784


                    DAVID NATAN
                    6720 NW 74TH COURT
                    POMPANO BEACH, FL 33067


                    DAVID PALUMBO
                    1410 KING SAGO CT
                    NAPLES, FL 34119-3344




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 72 of 326
                    DAVID PETERSON
                    795 BRIDGER CIR
                    CRAIG, CO 81625


                    DAVID POE
                    19797 NUGGET AVE
                    BEND, OR 97702-9732


                    DAVID PORTER
                    924 GARDNER RD
                    WESTCHESTER, IL 60154-2838


                    DAVID PURSEL
                    DAVID.PURSEL@GMAIL.COM
                    1 W 5TH ST
                    POTTSTOWN, PA 19464-5223


                    DAVID R GILBERT
                    7933 EL VERANO AVE
                    ELVERTA, CA 95626


                    DAVID RAUSCH
                    101 DEVON LN
                    NAPERVILLE, IL 60540-5839


                    DAVID REGNAULT
                    27 FROHLIN DR
                    BASKING RIDGE, NJ 07920


                    DAVID REHDER
                    22472 QUEEN STREET
                    CASTRO VALLEY, CA 94546


                    DAVID RENG
                    616 DAWSON
                    FARNAM, NE 69029


                    DAVID RICHARDSON
                    5263 W MAPLE GROVE RD
                    ELLETTSVILLE, IN 47429-9602


                    DAVID RIEGEL
                    2177 BOARDWALK CT
                    WAYLAND, MI 49348-8841




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 73 of 326
                    DAVID RILEY
                    UNIT 102
                    6923 HUGUENARD RD
                    FORT WAYNE, IN 46818-9401


                    DAVID ROLF
                    31328 290TH AVE SE
                    MCINTOSH, MN 56556


                    DAVID SIEGFRIED
                    ELIZABETH SIEGFRIED
                    2518 MOUNTAIN ROAD
                    STROUDSBURG, PA 18360


                    DAVID SIMPSON
                    65571 MULBERRY ST
                    MANDEVILLE, LA 70448


                    DAVID SIZEMORE
                    1517 S TACOMA WAY
                    TACOMA, WA 98409


                    DAVID SMAIL
                    209 MILL STREET
                    GOODMAN, WI 54125


                    DAVID SMELCER
                    3042 CAIN RD SE
                    OLYMPIA, WA 98501


                    DAVID SMILOWITZ
                    61 JOHNSON RD
                    SOMERSET, NJ 08873-2956


                    DAVID SMITHBURG
                    16112 133RD PL SE
                    RENTON, WA 98058


                    DAVID STRICKLAND
                    1465 WATERS EDGE
                    CHARLESTON, SC 29492


                    DAVID SUTT
                    109 ABBEY RD
                    NEW FREEDOM, PA 17349-9445



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 74 of 326
                    DAVID TANNER
                    2651 DERBYSHIRE ROAD
                    MAITLAND, FL 32751


                    DAVID TESKE
                    7385 MARK ST
                    LORETTO, MN 55357-2106


                    DAVID TWEEDDALE
                    PERSONAL
                    1004 22ND ST
                    BARLING, AR 72923


                    DAVID VANDERWERF
                    503 W WASHINGTON ST
                    CUBA, MO 65453-1218


                    DAVID WALLACE
                    3115 SHALE RIDGE
                    MORROW, OH 45152


                    DAVID WILSON
                    7005 MAPLE STREET
                    OMAHA, NE 68104-3840


                    DAVID WINCHESTER
                    1625 FRASER CT
                    AURORA, CO 80011


                    DAVID WRAY
                    21085 QUAIL LN
                    BEND, OR 97701-8908


                    DAVID Z CHESNOFF
                    CHESNOFF & SCHONFELD
                    520 S FOURTH ST.
                    LAS VEGAS, NV 89101


                    DAWN ACERRO
                    103 EAST VINCE STREET
                    VENTURA, CA 93001


                    DAWN LYNCH
                    17 BELLEZZA CT
                    KEANSBURG, NJ 07734



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 75 of 326
                    DAWN RODRIGUEZ
                    523 RIO SPGS
                    SAN ANTONIO, TX 78258-4937


                    DEAN BERTSCH
                    R 14211 MOUNTAIN BAY ROAD
                    RINGLE, WI 54471


                    DEAN MALONE
                    150 BOBBY MCCANDLESS RD
                    KNOB LICK, KY 42154


                    DEAN NYIRI
                    45 ALICE CIRCLE
                    GREENSBURG, PA 15601


                    DEAN SCHRAMM
                    41431 SCHADDEN ROAD
                    ELYRIA, OH 44035


                    DEAN THOMAS
                    12412 169TH AVE SE
                    RENTON, WA 98059-6501


                    DEAN WEINMAN
                    21538 NE COUNTY LINE ROAD
                    ARNOLD, NE 69120


                    DEBORA TUTHILL-RUSINKO
                    302 DELAWARE AVE
                    GLEN BURNIE, MD 21060


                    DEBORAH STEPIEN
                    155 BLUEBERRY LOOP
                    THOMASVILLE, GA 31792


                    DEBRA J GRAVES
                    1825 WILSON STATION ROAD
                    CORYDON, KY 42406


                    DELL MARKETING L.P.
                    C/O DELL USA L.P.
                    P.O. BOX 910916
                    PASADENA, CA 91110-0916




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 76 of 326
                    DENA ROSE
                    12934 DEXTER WAY
                    THORNTON, CO 80241-2206


                    DENISE MORGAN
                    29823 N 122ND DR
                    PEORIA, AZ 85383-3456


                    DENISE SIMMS
                    45 CASTLETON COURT
                    OCEANSIDE, NY 11572


                    DENNIS BECKWITH
                    ***CALL FOR PICKUP***


                    DENNIS BOXX
                    WA



                    DENNIS BRANCH
                    17 KELLEN WAY
                    BODFISH, CA 93205-9603


                    DENNIS DEKRAAI
                    45731 200TH STREET
                    ARLINGTON, SD 57212


                    DENNIS DREW
                    153 OAKHURST CT
                    COPPEROPOLIS, CA 95228-9672


                    DENNIS GEHMAN
                    183 DRACUT HILL RD
                    VAUGHN, MT 59487


                    DENNIS HENRY
                    281 CR 4964
                    KEMPNER, TX 76539


                    DENNIS HUBBLE
                    6018 CONROY POINTE LANE
                    KATY, TX 77494




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 77 of 326
                    DENNIS JOSE
                    3244 LEVANT-GERRY RD
                    FALCONER, NY 14733


                    DENNIS JURKOVICH
                    44018 269TH ST
                    DOLTON, SD 57319


                    DENNIS L WILLIAMS
                    PO BOX 1909
                    GIG HARBOR, WA 98335


                    DENNIS LAMBERT
                    616 REGNER RD
                    MCHENRY, IL 60051-6935


                    DENNIS LKUMP
                    1019 HWY M
                    ST MARYS, MO 63673


                    DENNIS LUND
                    423 NEWELL STREET
                    WALLA WALLA, WA 99362


                    DENNIS MAYO
                    10010 KEMPWOOD DR APT 335
                    HOUSTON, TX 77080-2657


                    DENNIS MEALS
                    12877 BURCHARD ROAD
                    GUYSMILLS, PA 16327


                    DENNIS REICHARD
                    153 REICHARD LN
                    MIFFLINTOWN, PA 17059-7403


                    DENNIS RIEKENBERG
                    2008 EAST 28TH RD
                    HORDVILLE, NE 68846


                    DENNIS S. HANSEN
                    465 W SLY FOX ST
                    MERIDIAN, ID 83646-4701




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 78 of 326
                    DENNIS SULLIVAN
                    138 TEN HILLS ROAD
                    SOMERVILLE, MA 02145


                    DENNIS WEBB
                    132 NE SAVAGE STREET
                    GRANTS PASS, OR 97526


                    DENNIS WRAY
                    2783 NW 10TH STREET
                    REDMOND, OR 97756


                    DENNIS ZOHOVETZ
                    337 WINTERCRESS DR
                    HENDERSON, NV 89002-9124


                    DEREK DAHLGREN
                    14118 ELMBROOK DR
                    LA MIRADA, CA 90638-3808


                    DEREK DOSTIE
                    17 SERRA LANE
                    MASSENA, NY 13662


                    DEREK MASSIO
                    122 GROVER RD
                    TOMS RIVER, NJ 08753-6214


                    DEREK MILLER
                    2 OVERLOOK DRIVE
                    PLAINVILLE, CT 06062


                    DEREK SOLAR
                    14446 SHADY WOOD LN
                    GONZALES, LA 70737-7548


                    DESTRY BALCH
                    PO BOX 197
                    MINERSVILLE, UT 84752


                    DEVIN RAFEEDIE
                    22356 WHISPERING BIRCH DR
                    CHUGIAK, AK 99567-5480




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 79 of 326
                    DEVIN SANTIAGO
                    29823 N 122ND DR
                    PEORIA, AZ 85383


                    DEWEY EDWARDS
                    PO BOX 189
                    PIERCE, ID 83546


                    DEWEY GREER
                    144 SHAWNEE CT
                    MADISON HTS, VA 24572-9303


                    DIANA FIGGINS
                    11443 SE 225TH ST
                    KENT, WA 98031-2625


                    DIANE KILBOURN
                    PO BOX 427
                    MONUMENT, CO 80132


                    DIANE ROSS
                    6051 ALDEA DR.
                    EL DORADO HILLS, CA 95762


                    DIANE STATHAM
                    5860 HILLTOP LN
                    SEALY, TX 77474-1842


                    DILMER HILLEY
                    OR PATRICIA HILLEY
                    5208 CTY ROAD 88
                    PISGAH, AL 35765


                    DIXIE STONER
                    446856 E 140 RD
                    BLUEJACKET, OK 74333


                    DMITRY OSADCHY
                    1413 STATE AVE
                    LEHIGH ACRES, FL 33972-8640


                    DOBRIN PENCHEV
                    18 PARK AVE APT 611
                    JERSEY CITY, NJ 07302




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 80 of 326
                    DOMENICO CAPOCCIA
                    3565 LAKE GEORGE RD
                    OAKLAND, MI 48363-2912


                    DON ASHLEY
                    715 PALETTE CT
                    OCEANSIDE, CA 92057-6374


                    DON BOETTCHER
                    W 156 N 10453 JEFFERSON LANE
                    GERMANTOWN, WI 53022


                    DON BOGACZ
                    1116 HILARY LN
                    CARY, IL 60013-1400


                    DON BURNHAM
                    340 EAST 1825 NORTH
                    CENTERVILLE, UT 84014


                    DON CHEN
                    367 CHERRY DR
                    PASADENA, CA 91105-2150


                    DON DEIMLING
                    PO BOX 64
                    KIOWA, CO 80117


                    DON GIBSON
                    7900 HICKORY HOLLOW
                    CATLETT, VA 20119


                    DON GILLILAND
                    417 CALLE GOMEZ
                    SAN CLEMENTE, CA 92672-3325


                    DON HARROLD
                    775 N 2ND ST
                    BLAIR, NE 68008-2637


                    DON KENNEDY
                    P.O. BOX 1772
                    MEDICAL LAKE, WA 99022




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 81 of 326
                    DON KLEIN
                    1213 W SIERRA AVE
                    FRESNO, CA 93711-2035


                    DON LAWRENCE
                    720 MAIN ST.
                    COLUMBIA, MS 39429


                    DON MOSHER
                    5460 LITTLE WOAHINK DRIVE
                    FLORENCE, OR 97439


                    DON SIMPSON
                    DON SIMPSON
                    1579 ARMENDA DR
                    COLUMBUS, GA 31907-4224


                    DON WOLLENHAUPT
                    215 BRIGHTON PATH
                    PEACH TREE CITY, GA 30269


                    DON WRIGHT
                    13820 NE 65TH #546
                    REDMOND, WA 98052


                    DONALD ARNETT
                    11410 SE 229TH ST
                    KENT, WA 98031


                    DONALD BAILEY
                    903 S CROCKETT STREET
                    SHERMAN, TX 75090


                    DONALD BERGSTROM
                    PO BOX 974
                    DAYTON, NV 89403


                    DONALD CARR
                    5431 E 100 S
                    RENSSELAER, IN 47978-7705


                    DONALD DELESKIEWICZ
                    617 S GRINNELL AVE
                    TUCSON, AZ 85710-4628




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 82 of 326
                    DONALD DUCOR
                    238 EAST HILL ROAD
                    CANTON, CT 06019


                    DONALD EDWARDS
                    335 WILTON DR
                    GREENVILLE, TX 75401


                    DONALD GILBERT
                    2106 WOODRUFF RD STE D
                    GREENVILLE, SC 29607-5941


                    DONALD HANNA
                    4551 COMANCHEE TRAIL
                    JAMESTOWN, OH 45335


                    DONALD HARDIN
                    4105 11TH AVE EAST
                    BRADENTON, FL 34208


                    DONALD HARVEY
                    13356 GOOSE RD
                    BEULAH, MI 49617-9684


                    DONALD JOHNSON
                    22822 PLEASANT VALLEY ROAD
                    NORTH SAN JUAN, CALIFORNIA 95960-0000


                    DONALD JULIUS
                    2641 STATE ROAD
                    HINCKLEY, OH 44233


                    DONALD KAMINSKI JR
                    PO BOX 3392
                    TONOPAH, NV 89049


                    DONALD KRYDER
                    2162 COUNTY ROAD 71
                    BUTLER, IN 46721


                    DONALD L JENKINS TRUST
                    15917 UNION RD. #109
                    RIDGEFIELD, WA 98642




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 83 of 326
                    DONALD LONG
                    70 ORILLIA DRIVE
                    BRIDGETON, NJ 08302


                    DONALD MORRIS
                    2605 VIPOST ROAD
                    RICHMOND, IN 47374


                    DONALD PETERSON
                    1374 161ST AVE. N.W.
                    ANDOVER, MN 55304


                    DONALD REDMOND
                    3562 TORRE GRANDE DR.
                    JACKSONVILLE, FL 32257


                    DONALD RICHARDS
                    2463 E COUNTY ROAD 1100S
                    CLOVERDALE, IN 46120


                    DONALD ROSEMAN
                    7716 FM 17
                    GRAND SALINE, TX 75140


                    DONALD SCHNAUBERT
                    1204 F M 1885
                    WEATHERFORD, TEXAS 76088-0000


                    DONALD SIMPSON
                    812 PARK CREST WAY
                    BREA, CA 92821


                    DONALD TAGGART
                    PO BOX 159
                    VERNON, AL 35592


                    DONALD THOMPSON
                    724 S CURRIER CT
                    PORT ANGELES, WA 98362-4966


                    DONALD TITZE
                    25727 386TH AVE
                    PLANKINTON, SD 57368-5918




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 84 of 326
                    DONALD ULSH
                    12044 OAKLAND DR
                    SCHOOLCRAFT, MI 49087-9754


                    DONALD W ZIMMERMAN
                    W 330 S 7050 CR E
                    MUKWONAGO, WI 53149


                    DONALD WELSH
                    500 GRAND PLAZA DRIVE
                    APT 144
                    ORANGE CITY, FL 32763


                    DONN KROGNESS
                    6206 128TH ST E
                    PUYALLUP, WA 98373


                    DONNA BIBB
                    1208 DERRICK ROAD
                    BIG SPRING, TX 79720


                    DONNA CALIGURI
                    3883 JOCELYN DRIVE
                    HAMILTON, OH 45011


                    DONNA FALLON
                    PO BOX 851
                    CENTRAL VILLAGE, CT 06332


                    DONNELL KING
                    39568 PIERCE LAKE DRIVE
                    OAKHURST, CA 93644


                    DORIS HERMES
                    3205 BORDEAUX ST
                    SHERMAN, TX 75090


                    DOROTHY ANNE JARRELL
                    APT 423
                    222 14TH ST NE
                    ATLANTA, GA 30309-7684


                    DOROTHY CADDEN
                    200 5TH AVE
                    BROOKLYN, MD 21225-2798



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 85 of 326
                    DOUG GOFF
                    27565 SUNSET WAY
                    MURRIETA, CA 92563-7024


                    DOUG THEOBALD
                    6271 ASHBURY PALMS
                    TAMPA, FL 33647


                    DOUGLAS & SHEILA CZYZ
                    6168 SITKA DR
                    CICERO, NY 13039-8861


                    DOUGLAS AHO
                    8310 WHETSTONE LANE
                    OOLTEWAH, TN 37363-8863


                    DOUGLAS BERGES
                    3 PERRON ST UNIT 509
                    ST. ALBERT, ALBERTA T8N 5Z5


                    DOUGLAS BIGGERSTAFF
                    9577 DRAKEFORD DRIVE
                    INDIANAPOLIS, IN 46260


                    DOUGLAS COLLINS
                    11178 DOVES MEADOW DR
                    BRIGHTON, MI 48114


                    DOUGLAS DAVIDSON
                    516 EAST GOLDEN BELL RD
                    BEHIND SAINT DAVID LAKES RESORT
                    SAINT DAVID, AZ 85630


                    DOUGLAS GOODFELLOW
                    9366 RIVER CREST ROAD
                    MANASSAS, VA 20110


                    DOUGLAS J. USNER
                    702 TEMPERANCE HILL RD
                    LITITZ, PA 17543-8794


                    DOUGLAS MONTGOMERY
                    49 QUEENS DR
                    WEST SENECA, NY 14224-3226




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 86 of 326
                    DOUGLAS MOORE
                    129 A WEST LAKE STREET
                    SOUTH LYON, MI 48178


                    DOUGLAS SEAMON
                    5 LAKE SHORE RD
                    PLATTSBURGH, NY 12901-5443


                    DOUGLAS WALL
                    805 W YACHT DR
                    OAK ISLAND, NC 28465


                    DOUGLAS WINTER
                    1205 NW CLIFFORD
                    PULLMAN, WA 99163


                    DR. BOB AUSTIN
                    C/O ROSS JONES
                    106 DEL RAY RD
                    MOSSYROCK, WA 98564


                    DRU SVENDGARD
                    CALL FOR PICKUP


                    DUANE MILLER
                    10100 J STREET
                    OMAHA, NE 68127


                    DUANE POLICELLI
                    1201 CARA CT
                    BANGOR, PA 18013-6145


                    DUANE SANDY
                    9725 9TH STREET
                    DAWSON CREEK, BC V1G 3S5


                    DUANE WALL
                    PO BOX 11
                    OAKVILLE, CA 94562


                    DUSTIN BADGETT
                    1818 154TH STREET COURT NW
                    GIG HARBOR, WA 98332-9763




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 87 of 326
                    DUSTIN BOYETTE
                    17267 IRISH HILL LN
                    BERNARD, IA 52032-9563


                    DUSTIN DAVIS
                    3017 ELMO WAY
                    MOORE, OK 73160-6076


                    DUSTIN DELUCIA
                    52 WENDT WAY
                    KALISPELL, MT 59901


                    DUSTIN FORINGTON
                    19035 E BONNEY CT
                    PARKER, CO 80134-7477


                    DWAIN SCHUH
                    2605 PEARCE RD
                    AUSTIN, TX 78730-4259


                    DWAIN WESTER
                    PO BOX 95
                    DRAKESBORO, KY 42337


                    DWANE THOMPSON
                    19140 BUCK DRIVE
                    BEND, OR 97703


                    DWAYNE INOUYE
                    1305 TURF CT
                    FERNLEY, NV 89408-6603


                    DWAYNE SKOW
                    11800 STEVENS DRIVE
                    BENBROOK, TX 76126


                    DWIGHT HOLLAND
                    616 MONITOR CT
                    MODESTO, CA 95354


                    DWIGHT MCGURAN
                    11142 CROOKED PINE RD
                    DARDANELLE, AR 72834




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 88 of 326
                    EARL ALEXANDER
                    175 N ELM ST
                    HERSCHER, IL 60941-9789


                    EARL DOCKENS
                    4306 WHITE CLOVER TRAIL
                    COLUMBUS, GA 31909


                    EARL LANEY
                    6449 S 209 EAST AVE
                    BROKEN ARROW, OK 74014


                    EARTH TREASURES
                    KATHARINE CARTER


                    EBEN CONNER
                    10937 BIG POOL RD
                    BIG POOL, MD 21711-1203


                    ED BRETZ
                    3700 NE 4TH ST
                    UNIT 201
                    RENTON, WA 98056


                    ED CALTON
                    7606 E FOREST LAKE DRIVE
                    PARKVILLE, MO 64152


                    ED SHOCKLEY
                    8390 SOUTH THORNE MINE LANE
                    GOLD CANYON, AZ 85118


                    ED WEBB
                    1224 OLDE OAKS DRIVE
                    GRAY, TN 37615


                    EDDIE BATES
                    104 WEST YUMA ST
                    BROKEN ARROW, OK 74011


                    EDDIE HARRISON
                    PO BOX 306
                    DEVINE, TX 78016




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 89 of 326
                    EDDIE LEWIS
                    OR HARRY LEWIS
                    6947 WOODARD BAY ROAD NE
                    OLYMPIA, WA 98506


                    EDMUND ESCUDERO
                    6980 GAMMWELL DR
                    CINCINNATI, OH 45230-2122


                    EDWARD BARNES
                    UNIT 4
                    1933 MORAVIAN FALLS RD
                    MORAVIAN FLS, NC 28654-0105


                    EDWARD CUNNINGS
                    732 OAK STREET
                    INDIANA, PA 15701-1840


                    EDWARD DALY
                    477 DAWN DRIVE
                    NORTH FORT MEYERS, FL 33903


                    EDWARD H BOWLING
                    317 RIDGE VIEW DR
                    DAVENPORT, FL 33837


                    EDWARD HOGAN
                    1264 S BLOSSOM LAKE DR
                    COLON, MI 49040-9267


                    EDWARD MARTIN
                    ED MARTIN
                    917 LANDIS LN
                    MT WASHINGTON, KY 40047-6055


                    EDWARD MURI
                    2 BUMPS LN
                    HOPKINTON, MA 01748-1190


                    EDWARD MYERS
                    27 CONGRESS RD
                    NARRAGANSETT, RI 02882-3001




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 90 of 326
                    EDWARD R GLASS
                    508 2ND STREET
                    PENSACOLA, FL 32507


                    EDWARD RODRIGUES
                    3308 S 249TH PLACE
                    KENT, WA 98032


                    EDWARD SEINER
                    151 W CLARK RD
                    SHELTON, WA 98584


                    EDWARD SOTOR
                    305 N. KENILWORTH
                    ELMHURST, IL 60126


                    EDWARD SPALDING
                    5409 GLENVILLE CIR
                    VIRGINIA BEACH, VA 23464


                    EDWARD SWIDEN
                    6259 WEST ROAD
                    LINESVILLE, PA 16424


                    EDWARD YI
                    1255 NUUANU AVE, APT 2514E
                    HONOLULU, HI 96817


                    EDWARD YORK
                    5016 MACERO CT
                    EL DORADO HLS, CA 95762-7647


                    EDWARD ZENOBI
                    26856 469TH AVE
                    SIOUX FALLS, SD 57106-8005


                    EDWARDO JAQUEZ
                    6805 CLEGHORN RD NW
                    ALBUQUERQUE, NM 87120-4928


                    EDWIN PIERCE
                    171 E NORTHLAKE DRIVE
                    SHELTON, WA 98584




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 91 of 326
                    EDWIN SPECHT
                    PO BOX 4347
                    LIVE OAK, FL 32064


                    EHREN GOSSLER
                    10215 CRESENT VALLEY DR NW
                    GIG HARBOR, WA 98332


                    EILEEN CRESPO
                    1100 ALLEGRO PL
                    DUNDEE, FL 33838-4042


                    ELAINE ESTENSON
                    CALL FOR PICKUP


                    ELDON W SMITH
                    13319 INDIAN BLANKET LANE
                    HOUSTON, TX 77083


                    ELIAS CHUA
                    113 CENTRENEST LN
                    WILMINGTON, DE 19807-1145


                    ELISA ANDREWS
                    4006 ACADEMY DR
                    OPELIKA, AL 36801-6080


                    ELISHA LEYVA
                    14250 W WIGWAM BLVD UNIT 2325
                    LITCHFIELD PARK, AZ 85340


                    ELIZABETH ALLISON
                    5449 N PAWNEE DR
                    PRESCOTT VALLEY, AZ 86314


                    ELIZABETH MARTIN
                    17425 SHILLING ROAD
                    BERLIN CENTER, OH 44401


                    ELLEN KENT
                    389387 STONEY LONESOME ROAD
                    RR #1
                    CHARLTON, ON P0J1B0




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 92 of 326
                    ELLIOT AYSEN
                    152 MARC LANE
                    THIBODAUX, LA 70301


                    ELMER SMIGA
                    36 CHIPPER ROAD
                    WAPWALLOPEN, PA 18660


                    ELOISE MELILLO
                    16 WANAMAKER AVE
                    MAHWAH, NJ 07430


                    EMIL KLING
                    3240 EAST WOODVIEW AVE
                    OAK CREEK, WI 53154


                    EMMANUEL OLA-DAKE
                    205 TIBBETTS ROAD
                    YONKERS, NY 10705


                    EMPIRE STATE METAL PRODUCTS, INC.
                    101-10 JAMAICA AVE
                    RICHMOND HILL, NY 11418


                    ENOCH GOLDING
                    102 S 140 W
                    LINDON, UT 84042-1968


                    EOICIFI REUTOV
                    2000 BRANDON AVE NE
                    KEIZER, OR 97303-2470


                    EPH EVANS
                    12307 SE 277TH PL
                    KENT, WA 98030


                    ERHARD KOCH
                    8155 STARDUST TRL
                    FLAGSTAFF, AZ 86004-1137


                    ERIC AHLSTROM
                    3513 PIONEER DR.
                    LAKE HAVASU CITY, AZ 86404




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 93 of 326
                    ERIC ANDERSON
                    375 DUCKETT RD
                    SILEX, MO 63377-2664


                    ERIC BLUST
                    320 NORTH ST
                    WHITTEMORE, MI 48770


                    ERIC FENDLER
                    1111 CANDLELIGHT DRIVE
                    BOZEMAN, MT 59718


                    ERIC HEALY
                    2479 MURFREESBORO PIKE
                    #230
                    NASHVILLE, TN 37217


                    ERIC JENSEN
                    30712 BLUFF RD
                    VOLIN, SD 57072


                    ERIC JOHNSON
                    154 S RIDGE CT
                    PARACHUTE, CO 81635


                    ERIC KRACHT
                    5149 BLUEBONNET BLVD
                    BATON ROUGE, LA 70809-3076


                    ERIC KULJU
                    P.O.BOX 113
                    140 S 3RD ST
                    MCGREGOR, MN 55760-1451


                    ERIC LEFFLER
                    PO BOX 11123
                    BURKE, VA 22009-1123


                    ERIC PEEL
                    PO BOX 864
                    WINCHESTER, OR 97495


                    ERIC PELTZ
                    145 FERNDALE DR S
                    BRAHAM, MN 55006-3006



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 94 of 326
                    ERIC R FISHELL
                    41131 HIBISCUS CT
                    MURRIETA, CA 92562


                    ERIC REARWIN
                    1911 SILVER LEAF DRIVE
                    SPRING, TX 77388


                    ERIC ROTH
                    162 PILGRIM DR
                    SAN ANTONIO, TX 78213-3021


                    ERIC SILVICK
                    119 GUN CLUB RD
                    HERNDON, PA 17830-7025


                    ERIC STEADMAN
                    10349 HUNTERWOOD WAY
                    HGHLNDS RANCH, CO 80130-8801


                    ERIC STREAN
                    2522 FOREST VIEW RD
                    LINDENHURST, IL 60046


                    ERIC VILHAUER
                    1620 S JIM MILLER RD
                    GORDON, WI 54838-8317


                    ERIC WENDELIN
                    160 S GROVE AVE
                    CRETE, NE 68333-3147


                    ERIC WOODRING
                    5804 VILLAGE GREEN DRIVE #E
                    ALEXANDRIA, VA 22309


                    ERIK ANDERSON
                    PO BOX 770
                    ROAN MOUNTAIN, TN 37687


                    ERIK CORNET
                    180 EMPIRE COURT
                    AUSTIN, TX 78737




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 95 of 326
                    ERIK ENGDAHL
                    17365 BEAVER PLACE
                    BEND, OR 97707


                    ERIK HARFMANN
                    1920 DAYBREAK CIRCLE
                    HARRISBURG, PA 17110


                    ERIK KUHN
                    8073 LEE COURT
                    ARVADA, CO 80005


                    ERIN DOUGLAS
                    PO BOX 300
                    PAISLEY, OR 97636


                    ERNEST JONES
                    2116 BRITTIAN AVE. SW
                    HUNTSVILLE, AL 35803-1764


                    ERNEST LEONARD
                    6209 COVEY RUN DR
                    EDMOND, OK 73034-9490


                    ERNEST SPIVEY
                    203 SNOW GOOSE LN
                    NEWPORT, NC 28570-8070


                    ERNEST TIMKO
                    407 W DILL DR
                    DEWITT, MI 48820-7721


                    ERWIN & MAUREEN VETTER
                    7350 SOUTH LAKE BLUFF 0.5 DR
                    GLADSTONE, MI 49837


                    ERYLIS MCCLISH
                    OR MARK MCCLISH
                    120 SW 164TH PL
                    BURIEN, WA 98166


                    ESTELA GOOCH
                    1418 CHAPARRAL LANE
                    HARLINGEN, TX 78550




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 96 of 326
                    ETHAN ALLEN
                    157 CENTRAL AVE S
                    MILACA, MN 56353-1122


                    EUGENE ALQUIN
                    134 CENTER GRANGE RD
                    ALIQUIPPA, PA 15001


                    EUGENE DEMESA
                    5912 S SHERIDAN AVE
                    TACOMA, WA 98408-2338


                    EUGENE KETCHAM
                    OR ROSE KETCHAM
                    925 S 30TH ST
                    MT. VERNON, WA 98274


                    EUGENE OAKILL
                    77 HILLTOP TERRACE
                    POTTSVILLE, PA 17901


                    EUGENE PARK
                    13 WEST 13TH STREET
                    APT 2B-S
                    NEW YORK, NY 10011


                    EVA ROSMAN
                    2916 GLEN AVE
                    BALTIMORE, MD 21215


                    EVAN WINSOR
                    15 JINGLE LANE
                    APTOS, CA 95003


                    EVANGELIA SKOKOS
                    1251 N WESTRIDGE PL
                    ADDISON, IL 60101-5733


                    EVELYN BARKAGAN
                    161 WEST 61 STREET
                    APT #24E
                    NEW YORK, NY 10023




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 97 of 326
                    EVELYN NEWTON
                    303 N CASA GRANDE CIRCLE
                    DUNCANVILLE, TX 75116


                    EVELYN NOYES
                    ***CALL FOR PICKUP***
                    11623 SAINT CLAIR CUTOFF RD SE
                    OLYMPIA, WA 98513


                    FARIS NAMAN
                    37 N ALTADENA DR
                    PASADENA, CA 91107


                    FATIMA LOCKE
                    CALL FOR PICKUP


                    FEDEX
                    PO BOX 94515
                    PALATINE, IL 60094-4515


                    FEDEX
                    PO BOX 94515
                    PALATINE, IL 60094


                    FEDEX
                    PO BOX 660481
                    DALLAS, TX 75266-0481


                    FEDEX FREIGHT
                    DEPT. CH PO BOX 10306
                    PALATINE, IL 60055-0306


                    FELICIA MAIZE
                    5421 SCOTTS VALLEY ST
                    FORT WORTH, TX 76244-6277


                    FERNANDO LOPEZ RUBIO



                    FLOYD PAYNE
                    2415 NORTH MOUNTAIN ROAD
                    SPRINGDALE, AR 72764




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 98 of 326
                    FORREST HARRIS
                    1073 MERRYWOOD DR
                    PIKE ROAD, AL 36064-2278


                    FORREST LANDRUM
                    228 MELLOW RIDGE RD
                    DORCHESTER, SC 29437-2903


                    FORREST PATTERSON
                    2905 IRIS LN
                    HARTLAND, MI 48353-3051


                    FRANCES BRAMHALL
                    265 N. LAWS AVE
                    PO BOX 217
                    KEELER, CA 93530-0217


                    FRANCINE HOFFMAN
                    3539 ANTIEM ST.
                    SAN DIEGO, CA 92111


                    FRANCIS LAWRENCE
                    9411 SOUTHWIND RD
                    ATLANTIC, VA 23303-2503


                    FRANCIS PORRETTO
                    679 MOUNT SINAI-CORAM ROAD
                    MOUNT SINAI, NY 11766


                    FRANCIS WIEGAND
                    53 EATON PL
                    BEAR, DE 19701-2374


                    FRANK BARNES
                    16640 COUNTY ROAD 3540
                    ADA, OK 74820-1551


                    FRANK BUSSARD
                    402 HILLSTREET
                    REYNOLDSVILLE, PA 15851


                    FRANK CONRAD
                    2056 150TH AVENUE
                    DONNELLSON, IA 52625




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 99 of 326
                    FRANK GROUPER
                    5120 FRYERS AVE
                    GREENWELL SPRINGS,, LA 70739


                    FRANK IVEY
                    155 TAFELSKI RD APT 126
                    NEW WAVERLY, TX 77358


                    FRANK J CAMINITI
                    10441 PINECREST ST
                    NEW BLOOMFLD, MO 65063-5477


                    FRANK KING
                    387 COVE LANE
                    WOODLAWN, VA 24381


                    FRANK MACCIOLA
                    2233 CITATION COURT
                    GLENDORA, CA 91741


                    FRANK MARTELLO
                    1900 COURTHOUSE RD
                    STAFFORD, VA 22554-5415


                    FRANK RIBIK
                    18119 226TH AVE NE
                    WOODINVILLE, WA 98077-7441


                    FRANK ROBERTO
                    1666 BERKSHIRE RD
                    MERRICK, NY 11566-3712


                    FRANK ROBERTSON
                    ***CALL FOR PICKUP***


                    FRANK SWILLEY
                    18925 CRESCENT DR SW
                    ROCHESTER, WA 98579-9111


                    FRANK VALENCIA
                    17235 BIVENS PLACE
                    GRASS VALLEY, CA 95949




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 100 of 326
                    FRANK ZAMLEN
                    1172 GREAT HUNT TRAIL
                    HINCKLEY, OHIO 44233-0000


                    FRANKLIN FEDERLE
                    1681 WATSON BLVD
                    BIG PINE KEY, FL 33043-5001


                    FRED BROCKMAN
                    1827 S 14TH AVE
                    YUMA, AZ 85364-5303


                    FRED FILSINGER
                    6 LAKESIDE CT
                    ST PETERS, MO 63376


                    FRED MENTH
                    47 NASSAU LANE
                    BUFFALO, NY 14225


                    FRED MORGANTHALER
                    4200 NIGHT HAWK RD
                    BILLINGS, MT 59106


                    FRED MULLER
                    454 PROVIDENCE NEW LONDON TPKE
                    NORTH STONIGTON, CT 06359


                    FRED MUNDY
                    PO BOX 1163
                    DUVALL, WA 98019


                    FRED OVERSTREET
                    18746 DYNAMITE DRIVE SW
                    YELM, WA 98597


                    FRED RIETVELD
                    438 160TH PLACE
                    OTLEY, IA 50214


                    FRED SANDERS
                    3207 WILDWOOD DRIVE
                    HUNTSVILLE, AL 35801




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 101 of 326
                    FRED SOLINGER
                    1156 N LAKE DR
                    BRAHAM, MN 55006


                    FRED WOODS
                    5295 SE WOODLAND DR.
                    GRESHAM, OR 97080


                    FREDA HAUSLER
                    206 CR 4101
                    DAINGERFIELD, TX 75638


                    FREDERIC EVANS
                    706530 WINGFIELD RD E
                    JANESVILLE, CA 96114


                    FREDERICK DEPP
                    7919 FAWN LANE
                    WAXHAW, NC 28173


                    FREDERICK REDFERN
                    5506 NORPOINT WAY NE
                    TACOMA, WA 98422-4236


                    FRITS NEDERBRAGT
                    475 KING RD
                    PETALUMA, CA 94952-1090


                    FUTURE CASE CORP.
                    27 MILL ST.
                    JOHNSTON, RI 02919


                    G.J. NIKOLAS & CO., INC.
                    2800 WASHINGTON BLVD
                    BELLWOOD, IL 60104


                    GABRIEL HANSEN
                    ***CALL FOR PICKUP***


                    GAIL CARLSON
                    4350 E RUTH PLACE
                    ORANGE, CA 92869




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 102 of 326
                    GAIL EGNER
                    8521 WESTSIDE HWY
                    CASTLE ROCK, WA 98611


                    GARRY TAYLOR
                    617 S ARTIES LN
                    SPOKANE VLY, WA 99016-7754


                    GARRY WHITE
                    170 EAST FLAGGWOOD LANE
                    UNION, WA 98592


                    GARY BEST
                    3415 HEEB ROAD
                    MANHATTAN, MT 59741


                    GARY BROOKS
                    PO BOX 4837
                    SUN RIVER, OR 97707


                    GARY CLIFTON
                    1468 SOUTH 100 EAST
                    OREM, UT 84058


                    GARY COOK
                    STE 100
                    3000 TECHNOLOGY DR
                    PLANO, TX 75074-7488


                    GARY COX
                    6721 OTTARI DRIVE
                    KNOXVILLE, TN 37918


                    GARY DURKEE
                    20161 HIGHWAY 26
                    WEST POINT, CA 95255


                    GARY ELLIS
                    620 112TH ST SE TRLR 226
                    EVERETT, WA 98208-5038


                    GARY ENGLAND
                    34755 HWY M
                    EDWARDS, MO 65326




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 103 of 326
                    GARY ENGLISH
                    136 HIGLEY ROAD
                    WEST GRANBY, CT 06090


                    GARY FERRELL
                    15 SHIRLENN LN
                    PLEASANT SHADE, TN 37145


                    GARY FINDLAY
                    3236 ELECTRA DRIVE S
                    COLORADO SPRINGS, CO 80906


                    GARY GILLMAN
                    5813 JED SMITH RD
                    HIDDEN HILLS, CA 91302-1122


                    GARY GIVENS
                    5605 FOUR MILE DRIVE
                    KOKOMO, IN 46901


                    GARY GREEN
                    50 CARUTHERS LN
                    CHICO, CA 95973-9757


                    GARY GRICE
                    101 HOPFIELD DRIVE
                    FOLSOM, CA 95630


                    GARY GRIM
                    12019 BUTLER WOODS CIRCLE
                    RIVERVIEW, FL 33579


                    GARY HANSEN
                    5 GUMTREE ROAD
                    APTC-5
                    HILTON HEAD, NC 29926


                    GARY HODNETT
                    3141 VICKIE COURT
                    MERCED, CA 95340


                    GARY HOVEY
                    3177 290TH ST
                    RIDGEWAY, IA 52165-8544




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 104 of 326
                    GARY IACONA
                    228 BALTIMORE PIKE
                    SPRINGFIELD, PA 19064


                    GARY LARSON
                    8144 MCCARTY RD
                    SAGINAW, MI 48603-9618


                    GARY MASTERS
                    1435 20TH STREET NE
                    OWATONNA, MN 55060


                    GARY MCKENZIE
                    PO BOX 41
                    ABERNATHY, TX 79311


                    GARY MCKNIGHT
                    PO BOX 4353
                    WENDOVER, NV 89883


                    GARY MCROBERTS
                    6605 SALIDA WAY
                    N HIGHLANDS, CA 95660-3825


                    GARY OR JACQUELINE WAGNER
                    132 NORTH 9TH
                    LEHIGHTON, PA 18235


                    GARY PECK
                    344 CERRO ST
                    ENCENITAS, CA 92024


                    GARY SCHULENBERG
                    10500 WILD ROSE DRIVE
                    EAU CLAIRE, WI 54703


                    GARY STILES
                    14713 BALLANTYNE VILLAGE WAY
                    CHARLOTTE, NC 28277-4265


                    GARY STUSSIE
                    2217 KILLARNEY COURT
                    LAWRENCE, KS 66047




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 105 of 326
                    GARY T. MOORE
                    PO BOX 858
                    OAKBORO, NC 28129


                    GARY W DAVIDSON
                    172 CABIN BRANCH CIRCLE
                    HENDERSONVILLE, TN 37075


                    GARY WHITEHEAD
                    22 BROOKSHIRE TRCE
                    QUEENSBURY, NY 12804-9118


                    GARY WILLDEN
                    1378 N 75 W
                    CENTERVILLE, UT 84014


                    GAYLE CLARK
                    823 NE 1ST COURT
                    DELRAY BEACH, FL 33483


                    GENE BOLGER
                    PO BOX 1203
                    ALTA, CA 95701


                    GENE GRAHAM
                    P.O. BOX 297
                    DENVER CITY, TX 79323


                    GENE JENKE
                    3344 SCHIERHORN COURT
                    FRANKLIN PARK, IL 60131


                    GEOFFREY CAMPBELL
                    508 CAPE CORAL PKWY W
                    CAPE CORAL, FL 33914-6520


                    GEOFFREY MORRIS
                    640 LAKE DR
                    PINE MOUNTAIN, GA 31822-2252


                    GEOFFREY PLUMMER
                    46 JARDIN DE MER PLACE
                    JACKSONVILLE BEACH, FLORIDA 32250-0000




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 106 of 326
                    GEOFFREY W. WILHITE
                    1044 LA PALOMA BLVD
                    NORTH FORT MEYERS, FL 33903


                    GEORGE COOPER
                    57 SETTLER DR
                    PAGOSA SPRINGS, CO 81147-0040


                    GEORGE DURMAN
                    925 KEVIN RD
                    KNOXVILLE, TN 37923-2540


                    GEORGE EPPERSON
                    2148 LA TIERRA RD
                    LOS ALAMOS, NM 87544


                    GEORGE FAHRBACH
                    29893 WASHINGTON WAY
                    WESTLAKE, OH 44145-6403


                    GEORGE GOLDSWORTHY
                    PO BOX 93
                    DOLORES, CO 81323


                    GEORGE GUSTAFSON
                    3401 DOTY LN
                    ARLINGTON, TX 29927-8616


                    GEORGE IRVIN
                    2221 COUNTY ROAD 660B
                    DANBURY, TX 77534


                    GEORGE KELBLY SR
                    7222 DALTON FOX LAKE ROAD
                    NORTH LAWRENCE, OH 44666


                    GEORGE L LAHAM
                    11921 TABOR ST
                    LOS ANGELES, CA 90066


                    GEORGE LONG
                    7474 NC HWY 125
                    HALIFAX, NC 27839




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 107 of 326
                    GEORGE LYGA
                    576 OSBORNE HILL ROAD
                    HERKIMER, NY 13350


                    GEORGE MATTHEWS
                    1925 NORTH FLAGLER DRIVE
                    WEST PALM BEACH, FL 33407


                    GEORGE MCDOWELL
                    1509 CLAIRE VIEW LANE
                    IDAHO FALLS, ID 83402


                    GEORGE MENZE
                    6557 DEARBORN DR
                    FALLS CHURCH, VA 22044-1119


                    GEORGE MICHALEC
                    615 MARION LANE
                    WEST COLUMBIA, TX 77486


                    GEORGE PARADA
                    106 178TH PLACE NE
                    ARLINGTON, WA 98223


                    GEORGE R MANGUM
                    2705 GUMCREEK AIRPORT ROAD
                    ROOPVILLE, GA 30170


                    GEORGE SCOTT LOGUE
                    12340 CIRCULA PANORAMA
                    NORTH TUSTIN, CA 92705


                    GEORGE SOLOMON
                    9201 SUTTER COURT
                    ORLANDO, FL 32825


                    GEORGE WERTZ
                    1095 PEEVY RD
                    E GREENVILLE, PA 18041-2302


                    GEORGE ZACHMANN
                    366 WILLOW RUN ROAD
                    AIKEN, SC 29801




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 108 of 326
                    GEORGE ZAPOTOCZNY
                    1390 CHARLESTON ST
                    KING GEORGE, VA 22485-6769


                    GERALD CARPENTER
                    53 JOHNSON AVE
                    UNIT 17
                    PLATTSBURGH, NY 12901-3746


                    GERALD HIRSCHLER
                    P. O. BOX 3175
                    KIRKLAND, WA 98083


                    GERALD J CASSIDY
                    975 BEVERLY LN
                    NEWTOWN SQ, PA 19073-2731


                    GERALD KISTLER
                    9540 EAST PLATA CIR
                    MESA, AZ 85212


                    GERALD LEVASSEUR
                    222 N BUENA VISTA ST APT 105
                    BURBANK, CA 91505-3681


                    GERALD SCHERMERHORN
                    SPC 150
                    46041 ROAD 415
                    COARSEGOLD, CA 93614-8617


                    GERALD ST. JACQUES
                    8525 LOWER MIAMISBURG RD
                    GERMANTOWN, OH 45327


                    GERALD W. MINICHIELLO
                    3512 GLENMORE MEADOW DR.
                    SPRING, TX 77386-2960


                    GERARD PAYNE
                    530 CLOVER LANE
                    MEDFORD, OR 97501


                    GERMANICO VACA
                    8463 HESSIAN HILL CT
                    BRISTOW, VA 20136-1146



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 109 of 326
                    GESSWEIN
                    P.O. BOX 3998
                    BRIDGEPORT, CT 85260


                    GIANNI KOVACEVIC
                    1110-925W GEORGIA ST
                    CATHEDRAL PLACE, VANCOUVER, BC V6K1A9


                    GILBERT DUBOIS
                    1601 BIG TREE RD #1007
                    DAYTONA, FL 32119


                    GILBERT MCALONEY
                    1046 NORTH RD
                    NORTH YARMOUTH, MAINE 04097-0000


                    GILBERT THAYER
                    105 DAVIS ST
                    SAVANNAH, TN 38372-1855


                    GIRARD LABOMBARD
                    295 FURMAN RD
                    FAIRPORT, NY 14450


                    GIRLONZA N SCOTT
                    775 NORTH JEFFERSON STREET
                    LEWISBURG, WV 24901


                    GLEN KRISTENSEN
                    16708 SE 264TH ST
                    COVINGTON, WA 98042-5813


                    GLEN LINDENGREN
                    314 FRIENDSHIP MANOR DR
                    STEVENSVILLE, MD 21666-2864


                    GLEN PINNOCK
                    PO BOX 1374
                    LA LUZ, NM 88337-1374


                    GLEN SPENCER
                    971 COUNTY ROAD 6633
                    SALEM, MO 65560-9776




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 110 of 326
                    GLENDON MCLEAN
                    102 S VINE STREET
                    LE GRANDE, IA 50142


                    GLENN GRAYMAN
                    6511 WESTERN RUN DR
                    BALTIMORE, MD 21215-3116


                    GLENN HICKEY
                    340 N MAIN ST
                    MONTICELLO, KY 42633-1530


                    GLENN HOTRUM
                    43255 CORTE MONTILLA
                    TEMECULA, CA 92592-3631


                    GLENN PHANEUF
                    PO BOX 1251
                    WESTFIELD, MA 01086


                    GLENN STEWART
                    21530 SD HWY 45
                    MILLER, SD 57362


                    GLOBAL EDM SUPPLIES
                    PO BOX 713680
                    CINCINNATI, OH 90242


                    GLOBAL TRACKING COMMUNICATIONS
                    27244 VIA INDUSTRIA
                    TEMECULA, CA 92590


                    GOLD DUST WEST
                    2171 EAST WILLIAM STREET
                    CARSON CITY, NV 89701


                    GORDON DANIELS
                    10 PTARMIGAN LANE
                    GLENWOOD SPRINGS, CO 81601


                    GORDON GLEM
                    ***CALL FOR PICKUP***




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 111 of 326
                    GORDON K. MCFADDEN
                    10453 SE 19TH STREET
                    BELLEVUE, WA 98004


                    GORDON LUHR
                    426 N BUCKNER ST
                    CENTRALIA, WA 98531


                    GORDON STEINGART
                    524 EAST UNIVERSITY AVE
                    ORANGE CITY, FL 32763


                    GORDON THEURER
                    2161 WEST HAPPINESS DRIVE
                    TAYLORSVILLE, UT 84129


                    GRACIE DAVIS
                    374 COUNTRY ROAD 2341
                    SULPHER SPRINGS, TX 75482


                    GREG FRISBIE
                    PO BOX 4322
                    ST JOSEPH, MO 64504


                    GREG GIANNASCOLI
                    607 PLAINFIELD AVE.
                    PISCATAWAY, NJ 08854


                    GREG HARDIN
                    750 32ND AVE E
                    TUSCALOOSA, AL 35404-3324


                    GREG HORSMAN
                    17091 540TH ST
                    WEST CONCORD, MN 55985


                    GREG LONG
                    108 WEST 14TH #3
                    VANCOUVER, WA 98660


                    GREG PARK
                    400 RIVIERA DRIVE
                    MCKINNEY, TX 75070




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 112 of 326
                    GREG PARKER
                    48610 CENTER ST
                    SAINT CLAIRSVILLE, OH 43950


                    GREG PUBLIK
                    C/O PACCAR PARTS
                    750 HOUSER WAY N
                    RENTON, WA 98057


                    GREG REESE
                    11732 KATHY LN
                    GARDEN GROVE, CA 92840


                    GREG RICH
                    7824 SCHOOLHOUSE AVE NW
                    GIG HARBOR, WA 98335


                    GREG SMITH
                    2723 HARRINGTON RD
                    SIMI VALLEY, CA 93065


                    GREG STELLMACH
                    5900 RIVER ROAD SOUTH
                    SALEM, OR 97302


                    GREG THOMASON
                    PO BOX 1462
                    TEMECULA, CA 92593


                    GREGG MEYERS
                    301 W BUTTERNUT STREET
                    ELMWOOD, IL 61529


                    GREGORY AGREST
                    812 S BROOKHURST RD
                    FULLERTON, CA 92833


                    GREGORY BAILEY
                    5563 HILLTOP DR
                    KELSEYVILLE, CA 95451-9370


                    GREGORY BARLION
                    3042 KANE ROAD
                    ALIQUIPPA, PA 15001




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 113 of 326
                    GREGORY BARNES
                    5293 BOUNTY LOOP
                    FREELAND, WA 98249-9628


                    GREGORY BIERBAUM
                    109 DUNAWAY COURT
                    FORTUNA, CA 95540


                    GREGORY FORMANACK
                    77-104 KALANIUKA ST
                    HOLUALOA, HI 96725-9728


                    GREGORY GROVES
                    5034 1/2 WEST POINT LOMA BLVD
                    SAN DIEGO, CA 92107


                    GREGORY HOAG
                    2723 PETES LANE
                    BOONVILLE, NY 13309


                    GREGORY HUTCHISON
                    763 SITKA DEER CT NW
                    SALEM, OREGON 97304-0000


                    GREGORY JONAS
                    5412 PIMLICO DR
                    PASCO, WA 99301-6034


                    GREGORY LOBERG
                    4130 GALLOWAY DRIVE
                    PEARLAND, TX 77584


                    GREGORY PECK
                    4832 W. HIGHLAND DRIVE
                    COEURDALENE, IDAHO 83814-0000


                    GREGORY PHELPS
                    1901 LENNOX DR
                    #32
                    SYKESVILLE, MD 21784


                    GREGORY PHILLIPS
                    5300 LA TERRA AVE
                    PAHRUMP, NV 89061




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 114 of 326
                    GREGORY RUSSELL
                    169 DUNAWAY DR
                    ALBANY, GA 31721-6319


                    GREGORY ULTO
                    1481 EAST 45TH STREET
                    BROOKLYN, NY 11234


                    GREGORY WALLACE
                    1 MALCOLM AVE SE
                    MINNEAPOLIS, MN 55414-3307


                    GRETCHEN MILLER
                    12921 SW 81ST RD
                    RUSHVILLE, MO 64484


                    GUADALUPE NUNEZ
                    15125 AVON ST.
                    LATHROP, CA 95330


                    GUNTHER KORMANN
                    1202 FENWAY ROAD
                    SAINT JAMES, NY 11780


                    GUS XINOS
                    4 BROOK CT
                    WOODRIDGE, IL 60517-1836


                    GUY CATALANO
                    7485 LIVE OAK WAY
                    PASS CHRISTIAN, MS 39571


                    GUY FRY
                    3104 MCKENZIE AVE
                    BELLINGHAM, WA 98225-6962


                    GUY HAYS
                    91 FORD RD
                    HOWELL, NJ 07731-2449


                    GYULA TOTH
                    5105 CLEON AVE
                    NORTH HOLLYWOOD, CA 91601




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 115 of 326
                    H-B PACKAGING GROUP LLC
                    CREATIVE PACKAGING
                    PO BOX 6250
                    CENTRAL FALLS, RI 02863


                    H. GENE GRAHAM
                    P.O. BOX 297
                    DENVER CITY, TX 79323


                    HAL HEDRICK
                    615 RIVERVIEW BLVD
                    CLARKSTON, WA 99403-1967


                    HAL RUBENSTEIN
                    2749 ROBERTSON BRIDGE ROAD
                    GRANTS PASS, OR 97526


                    HALLIS A THAYER II
                    7 PETTICOAT ACRES LN
                    WHITEFIELD, ME 04353


                    HAMMOND ROTO FINISH
                    1600 DOUGLAS AVENUE
                    KALAMAZOO, MI 49007


                    HANK CLARK
                    2736 COUNTY ROAD 4280
                    WOODVILLE, TX 75979


                    HANNEELORE ROBERTSON
                    CALL WHEN READY FOR PICKUP


                    HANS D. BOTT
                    103 SANDERS DRIVE
                    HUNTSVILLE, AL 35811-9582


                    HANS LANG
                    18014 59TH AVE SE
                    SNOHOMISH, WA 98296


                    HARLEY BORDERS
                    6691 S WELLINGTON CT
                    CENTENNIAL, CO 80121-2355




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 116 of 326
                    HARLEY HUGHES
                    CALL FOR PICKUP


                    HAROLD DEGRAW
                    4301 NORMAL BLVD
                    UNIT #33
                    LINCOLN, NE 68506-5533


                    HAROLD HOLMAN
                    PO BOX 652
                    CONCRETE, WA 98237


                    HAROLD JONES
                    8314 SPRUCE STREET SW
                    LAKEWOOD, WA 98498


                    HAROLD KIESEL
                    133 RIVERSIDE DRIVE NORTH
                    BRICK, NJ 08724


                    HAROLD PERKINS
                    PO BOX 620368
                    LITTLETON, CO 80162-0368


                    HARRISON ASHCRAFT
                    12228 N UPPER RIDGE PL
                    BOISE, ID 83714-9328


                    HARRY CANFIELD
                    8116 NE 90TH AVENUE
                    VANCOUVER, WA 98662


                    HARRY COSTA
                    349 BAIRD LANE
                    BRACEY, VA 23919


                    HARRY EGGLESTON
                    3318 S.E. ROSE COURT
                    PORT ORCHARD, WA 98366


                    HARRY PAEZ
                    23075 TWIN FLOWER AVE
                    WILDOMAR, CA 92595




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 117 of 326
                    HEATH HOWITT
                    3842 WILLAMETTE ST
                    EUGENE, OR 97405-3353


                    HEATHER HENDGES
                    11419 PRYOR RD
                    PORTLAND, MI 48875


                    HEATHER HOPFINGER
                    1705 PAGE AVE
                    BELLEVILLE, IL 62221


                    HEATHER WILKINSON
                    17951 BRITTANY DRIVE SW
                    NORMANDY PARK, WA 98166


                    HEIDAR JONSSON
                    2305 GREENE ST
                    WEST LINN, OR 97068-4113


                    HELAMAN TAIT
                    864 NORTH PEHRSON LANE
                    MONTICELLO, UT


                    HELEN SHORTEN
                    1528 WYOMING AVE
                    SCRANTON, PA 18509-2354


                    HENRY C. WILSON
                    6293 N MOUNTAINEER HWY
                    NEWBURG, WV 26410-9021


                    HENRY CANCIGLIA
                    CALL FOR ADDRESS WHEN READY TO
                    SHIP


                    HENRY CATAGRONE
                    11376 NE COUNTY ROAD 12753
                    URICH, MO 64788-7846


                    HENRY HAYES
                    707 KAISER DRIVE
                    LAFAYETTE, LA 70508




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 118 of 326
                    HENRY SMITH
                    3705 ALAMOSA COURT
                    NEW LENOX, IL 60541


                    HERB HAGENWALD
                    2722 LUCIERNAGA STREET
                    CARLSBAD, CA 92009


                    HERB HOCHHALTER
                    156 WAMPEE COURT
                    WESTMINSTER, MD 21157


                    HERMAN ELZEY
                    4866 S CALLE ENCINA
                    SIERRA VISTA, AZ 85650


                    HILAL SHAATH
                    22920 36TH AVE SE
                    BOTHELL, WA 98021-6204


                    HILLARY PORTIER
                    42064 PERKINS NICKENS RD
                    HAMMOND, LA 70403-7312


                    HIRAM FULLER
                    4454 RADIO AVE
                    SANFORD, FL 32773


                    HIRAM KELLEY
                    2441 NACOGDOCHES ROAD #523
                    SAN ANTONIO, TX 78217


                    HIRO ABABON
                    18586 FM 986
                    TERRELL, TX 75160


                    HOANG NGUYEN
                    5646 LEE STREET
                    MORTON GROVE, IL 60053


                    HOLLY AND MIKE YOUNG
                    1399 N MARKET ST
                    ELIZABETHTOWN, PA 17022-1209




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 119 of 326
                    HOPE ABERCROMBIE
                    25 VAGABOND LN
                    WINTER HAVEN, FL 33881-9229


                    HORACE JONES
                    318 CALIBRE BROOKE WAY SE
                    SMYRNA, GA 30080


                    HOWARD FREEDLAND
                    1741 HAMPTON DR
                    DAVIS, CA 95616


                    HOWARD LEIDY
                    7012 TWIN PONDS DR
                    7012 TWIN PONDS DR
                    PLANO, TX 75074-8771


                    HOWARD SANFORD
                    13266 OBERLAG DR
                    WRIGHT CITY, MO 63390-3991


                    HOWARD SHAFER
                    6487 COUNTY RD 11
                    RISINGSUN, OH 43457


                    HOWARD WEBER
                    1450 E PEBBLE RD APT 3039
                    LAS VEGAS, NV 89123


                    HOWLAND ADAMS III
                    910 SR 67
                    MALTA, NY 12020


                    HUGH BRONSON
                    14320 PINEWOOD DR
                    LATHROP, CA 95330-9078


                    IAN RULE
                    100 GREYCOURT ROAD
                    CHESTER, NY 10918


                    IAN WILSON
                    PO BOX 398
                    EAST OLYMPIA, WA 98540




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 120 of 326
                    IGOR LACHTER
                    14-17 LUCENA DR
                    FAIR LAWN, NJ 07410-5317


                    II TRADER
                    ATTN: WILLIAM BARUCH
                    111 WEST JACKSON BLVD
                    17TH FLOOR
                    CHICAGO, IL 60604


                    INFORMATION NETWORKS, INC.
                    21 CHARLES STREET
                    WESTPORT, CT 06880


                    IRENEUSZ DZIECIOL
                    174 GRAY STREET
                    CHATHAM, ON N7M 1T2


                    IRIS NG
                    2814 SOUTH PRINCETON AVE
                    CHICAGO, IL 60616


                    IRWIN KORNELSEN
                    410 WEAKLEY CREEK ROAD
                    LAWRENCEBURG, TN 38464


                    ISAAC BRICENO
                    1017 S. 85TH AVE
                    YAKIMA, WA 98908


                    ISABELLE VETTESE
                    601 MAGNETIC DR UNIT 16
                    NORTH YORK, ON M3J 3J2


                    IVAN ERICKSON
                    1605 EMERSON AVE
                    ALLIANCE, NE 69301


                    J SCOTT FRANCIS
                    320 FAIR HAVEN RD
                    ALAMEDA, CA 94501-5963


                    J THOMAS HERTSGAARD
                    1341 JASMINE WAY
                    HEMET, CA 92545



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 121 of 326
                    JACK COCHRAN
                    3264 FM 949 RD
                    SEALY, TX 77474-8766


                    JACK DAVIS
                    11125 8TH ST E
                    TREASURE IS, FL 33706-1105


                    JACK DEETJEN
                    515 NORTH KING STREET
                    SEGUIN, TX 78155


                    JACK DYER
                    11915 VINEYARD TRAIL
                    SYLMAR, CA 91342


                    JACK SETTLE
                    1087 S. HOLINESS CHURCH ROAD
                    WILKESBORO, NC 28697


                    JACKSON LIU
                    28661 53RD AVE S
                    AUBURN, WA 98001


                    JACOBO PACHECO
                    PO BOX 300
                    MORA, NM 87732


                    JACQUELINE BURTON
                    145 EDATA TRL
                    VONORE, TN 37885-6721


                    JACQUELINE TAESCHNER
                    30846 229TH PL SE
                    BLACK DIAMOND, WA 98010


                    JAIME KC
                    APT O203
                    18630 NE 59TH CT
                    REDMOND, WA 98052-6786


                    JAKE INMAN
                    1365 MEADOW CREEK RD
                    GREENCREEK, ID 83533-5011




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 122 of 326
                    JAMES ALLEY
                    5409 MEADOWCREST STREET
                    ROANOKE, VA 24019


                    JAMES BAGOCIUS
                    ***CALL FOR PICKUP***


                    JAMES BAYENS
                    3205 ELLIS WAY
                    LOUISVILLE, KY 40220


                    JAMES BELLAND
                    266 PADDOCK AVE
                    PARK FALLS, WI 54552


                    JAMES BOONSTRA
                    7485 SPARLING ROAD
                    KINGSLEY, MI 49649


                    JAMES BUCK
                    1102 BLEVINS ABBOTT ROAD
                    VIOLET HILL, AR 72584


                    JAMES CARPENTER
                    4580 W NIKE RD
                    RAPID CITY, SD 57701-8511


                    JAMES CHURCH
                    1278 125TH AVE
                    LOVILIA, IA 50150-8757


                    JAMES CLAY
                    756 SW WASHINGTON
                    DALLAS, OREGON 97338-0000


                    JAMES CONRAD
                    1040 HEARTH LN SW
                    CONCORD, NC 28025-8805


                    JAMES D. MAC ISAAC SR.
                    COBBLESTONE COUNTRY CLUB
                    572 SW SQUIRE JOHNS LN
                    PALM CITY, FL 34990-7823




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 123 of 326
                    JAMES DAMELE
                    8008 AUDUBON CANYON STREET
                    LAS VEGAS, NV 89131


                    JAMES DAVIS
                    4210 HABITAT DR
                    BROOKSVILLE, FL 34604-0505


                    JAMES DECK
                    CALL FOR PICKUP


                    JAMES E. BLACKWOOD
                    2105 MARJORY AVENUE
                    TAMPA, FL 33606


                    JAMES EBERLE
                    31813 48TH CIRCLE SW
                    FEDERAL WAY, WA 98023


                    JAMES F MCINTOSH
                    202 NW CYPRESS ST
                    LEES SUMMIT, MO 64064


                    JAMES FENSTERMACHER
                    6833 EAST KINGSTON PLACE
                    TUCSON, AZ 85710


                    JAMES FORCE
                    1313 N GEORGE ST
                    ROME, NY 13440-2701


                    JAMES FORD
                    15202 HEIMER RD
                    SAN ANTONIO, TX 78232-4537


                    JAMES FRANKLIN
                    444 KIPER RD
                    LEITCHFIELD, KY 42754


                    JAMES FRITZ
                    3622 NE 12TH AVE
                    CAPE CORAL, FL 33909




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 124 of 326
                    JAMES GAMBINO
                    2837 PRESTON WOODS TRAIL
                    LAKE ST LOUIS, MO 63367


                    JAMES GIBB
                    724 BRIDGE DRIVE
                    PASADENA, MD 21122


                    JAMES GREENLEAF
                    ONE FOR THE ROAD, LLC
                    8012 SHADOW CREEK ROAD
                    CRESTWOOD, KY 40014


                    JAMES GREY
                    33 WILKES LANE
                    MOUNTAIN TOP, PA 18707


                    JAMES GROTE
                    7901 LIVINGSTON ROAD
                    CINCINNATI, OH 45247


                    JAMES GUILEY
                    14212 216TH STREET EAST
                    GRAHAM, WA 98338


                    JAMES GULDE
                    525 GILMER ST APT 144
                    SULPHUR SPGS, TX 75482-4194


                    JAMES H STROTMAN
                    404 TOWNE VALLEY DR
                    WOODSTOCK, GA 30188


                    JAMES HAMILTON
                    8875 HIGHWAY 63 N
                    ALEX CITY, AL 35010-8009


                    JAMES HAMMACK
                    15445 ROAD 3 SW
                    QUINCY, WA 98848


                    JAMES HATLAND
                    1624 PALM STREET #179
                    LAS VEGAS, NV 89104




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 125 of 326
                    JAMES HAYES
                    306 MINERAL AVE
                    LIBBY, MT 59923-1954


                    JAMES HAZLETT
                    3279 SAINT ANN DRIVE
                    ZACHARY, LA 70791


                    JAMES HERRING
                    12081 FM 346 WEST
                    BULLARD, TX 75757


                    JAMES HUNT
                    5106 CURRIERS RD
                    ARCADE, NY 14009


                    JAMES JOY
                    1708 ALGER AVE
                    CODY, WY 82414


                    JAMES KENNEDY
                    1701 ORCHARD SPRINGS ROAD
                    BLOOMINGTON, MN 55425


                    JAMES KING
                    504 S OXALIS AVE
                    ORLANDO, FL 32807-4844


                    JAMES KLINEBRIEL
                    11222 241ST AVENUE CT E
                    BUCKLEY, WA 98321-9651


                    JAMES KOEHLER
                    APPT 2
                    2723 MAPLE AVE
                    ALTOONA, PA 16601-1739


                    JAMES KRESS
                    4509 BUELL DR
                    FORT WAYNE, IN 46807-2754


                    JAMES KROELLS
                    15652 DARLING PATH
                    ROSEMOUNT, MN 55068




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 126 of 326
                    JAMES LACQUEMENT
                    401 N MICHIGAN STREET
                    WINFIELD, KS 67156


                    JAMES LARSON
                    PO BOX 522
                    MILTON-FREEWATER, OR 97862


                    JAMES LATHROP
                    651 LONG RD
                    ARDMORE, TN 38449


                    JAMES LIVINGSTON
                    3600 S NOMA ROAD
                    OKLAHOMA CITY, OK 73150


                    JAMES LOWRY
                    101 CASCADES STREET
                    SAINT SIMONS ISLAND, GA 31522


                    JAMES LUMB
                    618 FORT RILEY BLVD
                    MANHATTAN, KS 66502-6365


                    JAMES MACDONALD
                    22 WOODROW AVE
                    HAVERHILL, MA 01830-1425


                    JAMES MALONEY
                    11100 WEST GREYLING DRIVE
                    BOISE, ID 83709-3900


                    JAMES MARANTETTE II
                    CALL WHEN READY FOR PICKUP


                    JAMES MARTIN
                    PO BOX 1418
                    BAYTOWN, TX 77522-1418


                    JAMES MCBRIDE
                    2424 GERDA ST.
                    SAN LUIS OBISPO, CA 93401




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 127 of 326
                    JAMES MCCOY
                    52 MARKLAN RD
                    NEWARK, OH 43056


                    JAMES MCDONALD
                    227 CANTON ROAD
                    LIVERMORE, ME 04253


                    JAMES MILLER
                    505 SILVER MAPLE COURT
                    MOUNT WOLF, PA 17347


                    JAMES MITCHELL
                    480 HURRICANE ROAD
                    NEW MARKET, AL 35761


                    JAMES MONTALVO
                    1101 PEARL WAY
                    BOGART, GA 30622


                    JAMES MOOK
                    502 MORGES ROAD
                    MAGNOLIA, OH 44643


                    JAMES MORAN
                    254 N PLANK RD
                    TAWAS CITY, MI 48763-9635


                    JAMES MORRIS
                    APT N511
                    950 HARRINGTON AVE NE
                    RENTON, WA 98056-3097


                    JAMES MOSES
                    1603 KENWICK PLACE
                    PASADENA, TX 77504


                    JAMES N MCKINNEY
                    265 STATE ROUTE 818
                    PRINCETON, KY 42445-9413


                    JAMES N. FLICK
                    207 SW 185TH ST
                    NORMANDY PARK, WA 98166-3985




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 128 of 326
                    JAMES NANCE
                    7626 KENNARD ROAD
                    SEVILLE, OH 44273


                    JAMES OSMUN
                    KAREN M OSMUN
                    3623 GREEN HILL CIRCLE
                    SCHNECKSVILLE, PA 18078


                    JAMES PEARCE
                    319 E CREWS ST
                    KARNES CITY, TX 78118-4109


                    JAMES PIHL
                    71 WINDROSE DR
                    PORT LUDLOW, WA 98365-9799


                    JAMES REZAC
                    10509 TUBE DRIVE
                    HURST, TX 76053


                    JAMES RILEY
                    7315 LANCASHIRE DR.
                    MINT HILL, NC 28227


                    JAMES ROBBINS
                    70 CHARLES WAY
                    SEQUIM, WA 98382


                    JAMES ROSBERG
                    PO BOX 8664
                    4800 W 70TH STREET
                    PRAIRIE VLG, KS 66208-0664


                    JAMES ROTANTE
                    CALL FOR PICKUP


                    JAMES ROYAL
                    PO BOX 1096
                    RICHMOND HILL, GA 31324


                    JAMES RUSSELL
                    118 DOWNES ST
                    WATERBURY, CT 06704-1001




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 129 of 326
                    JAMES RUTHERFORD
                    417 HERITAGE BLVD
                    EDMOND, OK 73025


                    JAMES SCOTT
                    555 CALLIE CT
                    BROOKVILLE, OH 45309-1379


                    JAMES SEYDLER
                    1672 TWIN COVE
                    KYLE, TX 78640


                    JAMES SILCOX
                    54620 CARIBOU DR.
                    BEND, OR 97707


                    JAMES SMILEY
                    211 HEIDE LANE
                    MILFORD, IN 46542


                    JAMES SMITH
                    2608 WOODY CREEK CT
                    CAMERON PARK, CA 95682-9231


                    JAMES SPURGEON
                    222 S SUMMIT AVE STE 2
                    PRESCOTT, AZ 86303-3780


                    JAMES STARNES
                    1237 SILVERBROOK RD
                    CHESTER, SC 29706-8531


                    JAMES STEINMILLER
                    6905 BROOKCREST WAY
                    CITRUS HEIGHTS, CA 95621


                    JAMES TEINERT
                    917 FM 153
                    LA GRANGE, TEXAS 78945-0000


                    JAMES THOMPSON
                    7341 RUBENS COURT
                    SUN VALLEY, NV 89433




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 130 of 326
                    JAMES TILTON
                    37 OFFICE DR
                    BATH, ME 04530-2326


                    JAMES TRACY
                    PO BOX 360
                    BURLEY, WA 98322-0360


                    JAMES TRAWEEK
                    STE 2125
                    2000 MCKINNEY AVE
                    DALLAS, TX 75201-2169


                    JAMES WALLACE
                    N 1163 COUNTY RD CC
                    RANDOM LAKE, WI 53975


                    JAMES WARNEKE
                    2251 SPRING LAKE CIRCLE
                    SAINT CLOUD, FL 34771


                    JAMES WARREN
                    1126 HALSTEAD BAYOU DRIVE
                    OCEAN SPRINGS, MS 39564


                    JAMES WATT
                    **CALL FOR PICKUP**
                    103 STANFORD STREET
                    FIRCREST, WA 98466


                    JAMES WEBSTER
                    23816 WOODPARK CT
                    VALENCIA, CA 91354-1424


                    JAMES WENNER
                    513 MEMORIAL BLVD, #172
                    SPRINGFIELD, TN 37172


                    JAMES WHITNEY
                    PO BOX 795
                    BAKER, MT 59313


                    JAMES YATES
                    2244 PROVENCE COURT NE
                    MARIETTA, GA 30066



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 131 of 326
                    JAMIE BERGAN
                    819 FOURTH STREET SE
                    MINOT, ND 58701


                    JAMIE CLARK
                    36407 SE FOREST ST
                    SNOQUALMIE, WA 98065-8903


                    JAN FRAKER
                    370 NORTH CLEAR RIDGE ROAD
                    HUSTONTOWN, PA 17229


                    JAN HUTCHISON
                    22136 COUNTY ROAD M
                    WEST UNITY, OH 43570


                    JANE M SMITH
                    UNIT 102
                    240 WATERSIDE CIR
                    MARCO ISLAND, FL 34145-3590


                    JANE BUEHRLE
                    18074 LOVELL RD
                    SPRING LAKE, MI 49456


                    JANE CROMPTON
                    14400 YAKIMA TRL
                    ORLANDO, FL 32837-5475


                    JANET GRICE
                    8729 SE VIEW PARK RD
                    PORT ORCHARD, WA 98367


                    JANET L. WOOD
                    1600 SPARROW KNOLL AVENUE
                    ELLENSBURG, WA 98926


                    JANET RATHJE
                    15120 WILLOW DRIVE
                    MARYSVILLE, WA 98271


                    JANET REHDER
                    22472 QUEEN ST
                    CASTRO VALLEY, CA 94546-6528




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 132 of 326
                    JANICE & MICKEY WALLWORK
                    1517 BALBOA ST
                    SN LUIS OBISP, CA 93405-6521


                    JANICE LEWIS
                    7064 FOX PAW TRL
                    LITTLETON, CO 80125-9250


                    JANICE RICHTER
                    129 HOLMES MILL RD
                    CREAM RIDGE, NJ 08514


                    JANICE SCHULTZ
                    5730 PHEASANT CIR
                    MANITOWOC, WI 54220-9028


                    JARRETT BUYS
                    PO BOX 233
                    MOUNT DESERT, ME 04660-0233


                    JASON ABBEY
                    9080 REEDS CORNERS RD
                    DANSVILLE, NY 14437


                    JASON BRETZ
                    306 LAUCHNOR RD
                    LEHIGHTON, PA 18235-4209


                    JASON CALHOUN
                    240 GARBERS CHURCH RD
                    HARRISONBURG, VA 22801-8404


                    JASON CROCKETT
                    120 TRAILWOOD DR
                    SUMTER, SC 29154-8118


                    JASON FLYNN
                    6448 W MAPLE GROVE ROAD
                    HUNTINGTON, IN 46750


                    JASON GLEASON
                    CALL FOR PICKUP




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 133 of 326
                    JASON HYDE
                    2491 S HANSEN BLVD
                    HOBART, IN 46342-1885


                    JASON JAMES
                    3720 SW BOND AVE UNIT 2310
                    PORTLAND, OR 97239-4577


                    JASON LEIBECK
                    AVRO HOIST COMPANY
                    6240 DANVILLE ROAD
                    MISSISSAUGA, ONTARIO L5T2H7


                    JASON SCHWARTZ
                    3245 CUTTY SARK ST
                    LAS VEGAS, NV 89117


                    JASON SMITH
                    6465 ELECTRIC AVE
                    LA JOLLA, CA 92037


                    JASON WHITCOMB
                    STE B
                    700 SOUTHGATE DR
                    PELHAM, AL 35124-1262


                    JASON WILHELM
                    W 7653 HWY 47
                    ANTIGO, WI 54409


                    JASON WILLIAMS
                    152 LONDON FOG WAY
                    SANFORD, FL 32771-7761


                    JAY BENNETT
                    17111 SHRUB OAK
                    HUMBLE, TX 77396


                    JAY DUNN
                    4140 45TH AVE N
                    ST PETERSBURG, FL 33714-3553


                    JAY ELDRIDGE
                    844 FOURTH STREET SW APT 102
                    FORREST LAKE, MN 55025



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 134 of 326
                    JAY HENDON
                    214 2ND ST
                    P.O. BOX 31
                    CROWLEY, CO 81033


                    JAY HOOD
                    4570 OCEAN BEACH BLVD
                    COCOA BEACH, FL 32931


                    JAY LINER
                    ***CALL FOR PICKUP***


                    JAYSEN LACY-DOOLEY
                    455 DUKE DR
                    FRANKLIN, TN 37067-2701


                    JD RHEA
                    236 SOUTH 485 WEST
                    PROVIDENCE, UT 84332


                    JEAN POIRIER
                    153 RUBY ROAD
                    WILLINGTON, CT 06279


                    JEANIA KOEHLMOOS
                    20542 434 AVE
                    DE SMET, SD 57231


                    JEANNIE MARCOM
                    PO BOX 393
                    HAWI, HI 96719-0393


                    JEFF ALTMAN
                    5404 NE 121ST AVE #62
                    VANCOUVER, WA 98682


                    JEFF BRYAN
                    4802 COUNTY RD P43
                    FORT CALHOUN, NE 68023


                    JEFF CAPITO
                    36197 DANIEL RD
                    PUEBLO, CO 81006




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 135 of 326
                    JEFF CONNELY
                    5618 NORTH 115TH AVE CIR
                    OMAHA, NE 68164


                    JEFF ELLIOTT
                    PO BOX 218
                    CHROMO, CO 81128-0218


                    JEFF EVERT
                    PO BOX 130
                    GAINESVILLE, MO 65655


                    JEFF HARRISON
                    4317 MIDFIELD PKWY
                    PORTSMOUTH, VA 23703-3945


                    JEFF HOLME
                    13772 JENNINGS LANE
                    CROWN POINT, IN 46307


                    JEFF HUMPHREY
                    245 DODGE STREET
                    STUARTS DRAFT, VA 24477


                    JEFF JACKSON
                    92-1377 PUNAWAINUI STREET
                    KAPOLEI, HI 96707


                    JEFF KLEE
                    128 CIRCADIAN WAY
                    CHAPEL HILL, NC 27516-4604


                    JEFF MANKE
                    24917 13TH PLACE S
                    DES MOINES, WA 98198


                    JEFF MARTIN
                    8180 HWY 789
                    LANDER, WY 82520


                    JEFF OWEN
                    9180 RED BARON BLVD
                    RENO, NV 89506




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 136 of 326
                    JEFF PAUL
                    32 VILLAGE TRAIL
                    SPENCERPORT, NY 14559


                    JEFF PHILLIPS
                    11760 SOUTH GRANT AVE
                    CLARE, MI 48617


                    JEFF RAMPY
                    5802 GIBBS HOLLOW COVE
                    AUSTIN, TX 78730


                    JEFF RUGG
                    10500 E BRECKINRIDGE DR
                    TUCSON, AZ 85730-5018


                    JEFF SCALF
                    933 MADISON PLACE CIR
                    KERNERSVILLE, NC 27284-7755


                    JEFF SCHIERLMAN
                    2874 WEST 560 SOUTH
                    LEHI, UTAH 84043-0000


                    JEFF SOMERS
                    9116 VICTORIA CT
                    BROOKLYN PARK, MN 55443-1658


                    JEFF TINCHER
                    401 W WOLFE
                    SULLIVAN, IN 47882


                    JEFF TROUPE
                    814 WHITEHAVEN CT
                    ANTIOCH, CA 94509-5547


                    JEFF WICKMANN
                    STE 204
                    15010 GLAZIER AVE
                    SAINT PAUL, MN 55124-7403


                    JEFF WRIGHT
                    6709 GOLDSTONE LN
                    CHARLOTTE, NC 28211




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 137 of 326
                    JEFFERY HERAMB
                    8317 118TH AVE
                    LARGO, FL 33773-5050


                    JEFFERY SHARP
                    11625 SE 308TH PLACE
                    AUBURN, WA 98092


                    JEFFERY SLEUTER
                    460 VIA LUNA
                    SIERRA VISTA, AZ 85635


                    JEFFREY COX
                    6896 E COUNTY ROAD 800 N
                    BAINBRIDGE, IN 46105-9495


                    JEFFREY DOXZEN
                    125 RUFFIAN LN
                    WINDSOR, PA 17366-9101


                    JEFFREY HELMS
                    1640 E ROELAND AVE
                    APPLETON, WI 54915-4466


                    JEFFREY HOPPS
                    6772 RAINIER CT
                    RIVERSIDE, CA 92506-3922


                    JEFFREY JANOSEK
                    20 BRANDON PL
                    ROCKY RIVER, OH 44116-1068


                    JEFFREY KOCHER
                    PO BOX 1340
                    JAMESTOWN, CA 95327


                    JEFFREY LABRENZ
                    PO BOX 60338
                    FAIRBANKS, AK 99706


                    JEFFREY MCMEEL
                    5218 MARIAN DR. N.E.
                    OLYMPIA, WA 98516




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 138 of 326
                    JEFFREY NEUSCHWANDER
                    10181 N UMPQUA HWY
                    ROSEBURG, OR 97470


                    JEFFREY SAWYER
                    2405 N SHEFFORD STREET
                    WITCHITA, KS 67205


                    JEFFREY SONNENTAG
                    24208 BARTON RD.
                    LOMA LINDA, CA 92354


                    JEFFREY TEDICK
                    1761 WEST SPRAGUE RD
                    BROADVIEW HEIGHTS, OH 44147


                    JEFFREY THONG
                    MOMO JAPANESE CUISINE
                    17 TURNPIKE SQ
                    MILFORD, CT 06460-2758


                    JEFFREY TOLLUS
                    22792 PORTICO PL
                    ASHBURN, VIRGINIA 20148-0000


                    JEFFREY WISER
                    3815 S FOX CHASE RUN
                    BLOOMINGTON, IN 47401-8879


                    JEFFREY-MARK MCMEEL
                    5218 MARIAN DR NE
                    OLYMPIA, WA 98516


                    JENNA BUTLER
                    13441 S 1300 E
                    DRAPER, UTAH 84020-0000


                    JENNIE DIAMANT
                    PO BOX 818
                    TENINO, WA 98589


                    JENNIE TOO
                    217 MULBERRY STREET
                    NEW YORK, NY 10012




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 139 of 326
                    JENNIFER LAMANCA-KAUFMAN
                    6627 OLD BARN CIR
                    ROANOKE, VA 24018


                    JENNIFER MATHES
                    885 CHARTER OAKS DR
                    CHARLOTTESVLE, VA 22901-0627


                    JENNIFER REAL
                    PO BOX 61
                    NINOLE, HI 96773


                    JENNIFER VINCENT
                    PO BOX 470617
                    BROOKLINE VILLAGE, MA 02447


                    JEOFF HALL
                    7 HERITAGE RD
                    ACTON, MA 01720-5302


                    JEREMIAH GLOSENGER
                    1732 DAKOTA DRIVE SW
                    MINOT, ND 58701


                    JEREMIAH JOHNSON
                    420 DEER RIDGE
                    GLASGOW, MO 65254


                    JEREMIAH SARGENT
                    18204 BONNEY LAKE BLVD E
                    BONNEY LAKE, WA 98391


                    JEREMIAH SKENDER
                    759 NORTH 80TH STREET
                    SEATTLE, WA 98103


                    JEREMIAH VONDRA
                    2400 W VAN DORN ST
                    LINCOLN, NE 68522-1820


                    JEREMY ANDERSON
                    620 NW 11TH ST
                    STE 201
                    HERMISTON, OR 97838-6822




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 140 of 326
                    JEREMY GRUENKE
                    7178 W MOHAWK LN
                    GLENDALE, AZ 85308-9680


                    JEREMY HOGG
                    22 POE LANE
                    SIMPSON, IL 62985


                    JEREMY HYDE
                    1730 RAINBOW BEND BLVD
                    ELKHART, IN 46514-2027


                    JEREMY LEAVITT
                    458 EAST DURFEE STREET
                    GRANTSVILLE, UT 84029


                    JEREMY MAYTON
                    1525 NORRIS AVE
                    OWENSBORO, KY 42303


                    JEREMY PROCTOR
                    6942 BROOKVIEW DRIVE
                    URBANDALE, IA 50322


                    JEREMY SMITH
                    1054 NE KLAMATH AVE
                    ROSEBURG, OR 97470-3230


                    JEROME ROSALIA
                    2442 HEMLOCK FARMS
                    LORDS VALLEY, PA 18428


                    JEROME SUKTA
                    327 S 100 W
                    VALPARAISO, IN 46385-9657


                    JERRY BENISH
                    19976 E. 115TH ST.
                    BROKEN ARROW, OK 74014


                    JERRY BRUNETTE
                    ***CALL FOR PICKUP***




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 141 of 326
                    JERRY CHAPMAN
                    1600 KNOWEL CREST SW
                    LOS LUNAS, NM 87031


                    JERRY DELLO
                    13506 SUMMERPORT VILLAGE PKWY # 344
                    WINDERMERE, FL 34786-7366


                    JERRY FRANKLIN
                    PO BOX 617
                    CORNELIA, GA 03053-1100


                    JERRY GEHRKE
                    PO BOX 351566
                    PALM COAST, FL 32135


                    JERRY GODDARD
                    2036 EAST 4TH AVE
                    OLYMPIA, WA 98506


                    JERRY HAMERSKI
                    C/O DOUBLE J DEVELOPMENT
                    250 SCOTT AVENUE, SUITE 2
                    MORGANTOWN, WV 26508


                    JERRY HOUT
                    1705 S SILVER CREEK CIR
                    SIOUX FALLS, SD 57106-3335


                    JERRY JACOBS
                    1421 S PINE ST
                    PORT ANGELES, WA 98362


                    JERRY KEATING
                    2501 CARRIAGE PL
                    ARLINGTON, TX 76014-1203


                    JERRY PACILIO
                    1321 WALNUT AVE
                    CHESAPEAKE, VA 23325


                    JERRY PAINTER
                    7708 BAKERS HILL LANE
                    CHESTERFIELD, VA 23832




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 142 of 326
                    JERRY PEPLINSKI
                    2727 PURDY RD
                    UBLY, MI 48475-9777


                    JERRY ROY
                    OR PAT ROY
                    PO BOX 579
                    MOXEE, WA 98936


                    JERRY RYAN
                    8644 TURNSTONE CT
                    INDIANAPOLIS, IN 46234-9598


                    JERRY WILSON
                    PO BOX 2139
                    MYRTLE CREEK, OR 97457


                    JERRY YAROS
                    67 VOORHEES PLACE
                    METUCHEN, NJ 08840


                    JESSE KULP
                    RR 1 BOX 122-A16
                    KEYSER, WV 26726


                    JESSE LARSON
                    PO BOX 346
                    MONITOR, WA 98836-0346


                    JESSE SHEPHERD
                    PO BOX 7791
                    LOVELAND, CO 80537


                    JESSE TIDWELL
                    31788 JOHNSON LN
                    FORT BRAGG, CA 95437-8113


                    JESSICA BLANTON
                    12007 ASHFORD GREEN DRIVE
                    FAIRFAX, VA 22030


                    JESSICA HARDY
                    PO BOX 16618
                    ASHEVILLE, NC 28816




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 143 of 326
                    JESSICA MADORMO
                    13 DEERHEAD DR
                    BOUND BROOK, NJ 08805-1301


                    JESSICA TAIT
                    211 MOUNT PLEASANT BLVD
                    FREDERICKSBRG, VA 22405-1628


                    JESUS ARROYO
                    2717 BLANCHARD RD
                    WAUKEGAN, IL 60087-3542


                    JILL HARROLD
                    775 N 2ND ST
                    BLAIR, NE 68008-2637


                    JIM BASTL
                    38 GINO LANE
                    HAWTHORN WOODS, IL 60047


                    JIM CASSIDY
                    411 WALNUT ST
                    GREEN COVE SPRINGS, FL 32043


                    JIM CLARK
                    CALL FOR PICKUP


                    JIM DYE
                    3042 WHITE ELM DRIVE
                    LOVELAND, CO 80538


                    JIM EDDLEMAN
                    PO BOX 326
                    WRIGHT, WY 82732


                    JIM EDWARDS
                    4531 NORTH WHITE AVE
                    KANSAS CITY, MO 64117


                    JIM GREGORY
                    500 SW 134TH ST
                    OKLAHOMA CITY, OK 73170-1404




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 144 of 326
                    JIM HAYWORTH
                    122 16TH AVE. E.
                    ALBIA, IA 52531


                    JIM JOHNSON
                    1624 HAMILTON LN
                    GREENVILLE, TX 75402-4090


                    JIM KING
                    3238 TIPTON STATION RD
                    KNOXVILLE, TN 37920-9511


                    JIM KLINGER
                    9405 ILLINOIS RD
                    FORT WAYNE, IN 46804


                    JIM KOTHMANN
                    PO BOX 2443
                    WIMBERLEY, TX 78676


                    JIM LUNT
                    2537 E EDGEWOOD AVE
                    MESA, AZ 85204


                    JIM MACKENZIE
                    214 HENEGHAN ST
                    KETCHIKAN, AK 99901-5515


                    JIM MOGARD
                    2675 DADISMAN ST.
                    LARAMIE, WY 82070


                    JIM OR HELEN MAINWARING
                    372 SYLVAN GLEN RD
                    REYNOLDSVILLE, PA 15851-4500


                    JIM PANERIS
                    2531 30TH AVE WEST
                    SEATTLE, WA 98199


                    JIM POMANN
                    62 SUNSET LN
                    SANDUSKY, MI 48471




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 145 of 326
                    JIM RAYBON
                    CALL FOR PICKUP


                    JIM SEVERIN
                    36358 MODOC PT. RD.
                    CHILOQUIN, OR 97624


                    JIM SLAUGHTER
                    2105 HUNTERS RUN LANE
                    ZEBULON, NC 27597


                    JIMIN LIU
                    136 SOUTHGATE RD
                    NEW PROVIDNCE, NJ 07974-1613


                    JIMMIE BAUER
                    PO BOX 1019
                    LUCERNE VALLEY, CA 92356


                    JIMMIE PRINCE
                    475 COUNTY ROAD 4360
                    LAMPASAS, TEXAS 76550-0000


                    JIMMY WINBERRY
                    3 COLUMBINE DR
                    MONTGOMERY CY, MO 63361-5006


                    JO HERSEY
                    260 DOVER LANE
                    MADISON, MS 39110


                    JOANN NICELY
                    JO ANN NICELY
                    2279 BELMONT DR
                    MORRISTOWN, TN 37814-5980


                    JOANNE SPURLING GAGNON
                    49 KIPLING ROCK RD
                    ROCHESTER, NH 03867


                    JODIE HIRTLER
                    PO BOX 4116
                    TUMWATER, WA 98501




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 146 of 326
                    JODY REICH
                    2040 HIGHWAY 75 N
                    SIOUX CITY, IA 51105-2431


                    JODY STORER
                    717 WEST BROADWAY
                    MAUMEE, OH 43537


                    JOE COPLEY
                    110 HOMEWOOD RD
                    ONTARIO, OH 44906-1324


                    JOE DONOVAN
                    311 EAST BROOKS AVE
                    SAINT PAUL, MN 55117


                    JOE HICKS
                    940 N MORNINGSIDE DR
                    VINITA, OK 74301-1711


                    JOE JACKSON
                    107 W COUNTRY LANE
                    NEW BADEN, IL 62265


                    JOE LINDEMANN
                    2664 200TH AVENUE
                    CALAMUS, IA 52729


                    JOE MEHL
                    4 BROOKMONT DR
                    MALVERN, PA 19355-3116


                    JOE OR ADELENE CHEATHAM
                    980 N 4140 RD
                    HUGO, OK 74743-1038


                    JOE TILLMANN
                    CALL WHEN READY FOR PICKUP


                    JOE WILLIAMS SR
                    3813 BIRCHVIEW AVE
                    BALTIMORE, MD 21206




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 147 of 326
                    JOEL CLEGHORN
                    121 A STEWART BEND COURT
                    AZLE, TX 76020


                    JOEL DIONES
                    6121 24TH STREET
                    RIO LINDA, CA 95673


                    JOEL MARCHAND
                    330 MONTGOMERY ST
                    CHICOPEE, MA 01020


                    JOEL MARTIN
                    PO BOX 641
                    CONWAY, WA 98238


                    JOHAN DEUTSCHER
                    2801 MAYES ROAD
                    LACEY, WA 98503


                    JOHN ALEXANDER
                    610 E MARKET ST
                    SAN AUGUSTINE, TX 75972-2138


                    JOHN ALTINTOP
                    20167 NORTH COMANCHE DRIVE
                    WHITE HILLS, AZ 86445


                    JOHN ALVERMANN
                    430 GRAN ELLEN DR
                    ATHENS, GA 30606-4920


                    JOHN ANDERSON
                    8 EAST OAKWOOD HILLS DRIVE
                    CHANDLER, AZ 85248


                    JOHN BAER
                    8771 WEST JACKSON CREEK RD
                    SEDALIA, CO 80135


                    JOHN BEALS
                    444 NORTHCUTT DR.
                    ALAMO, TX 78516




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 148 of 326
                    JOHN BEHUN
                    1144 GRANDVIEW AVE
                    ROCKPORT, IL 60441


                    JOHN BICS
                    26169 BRADSHAW DR
                    MENIFEE, CA 92585-8950


                    JOHN BIHN
                    9114 LEGACY CT
                    TEMPERANCE, MI 48182-3305


                    JOHN BILSKY
                    1194 STATE ROUTE 370
                    UNION DALE, PA 18470


                    JOHN BRADLEY
                    2411 RIDGE RD
                    TRAER, IA 50675-9375


                    JOHN BURNS
                    8088 HIGHWAY K 171
                    PITTSBURG, KS 66762-9037


                    JOHN BUTTERFIELD
                    PO BOX 77
                    AVENUE, MD 20609-0077


                    JOHN C. WILLIAMS
                    6322 STATE ROUTE 227
                    TRUMANSBURG, NY 14886


                    JOHN CANNON
                    430 PRINGLE DR
                    SUWANEE, GA 30024-8770


                    JOHN CHILDRESS
                    28446 LAPONT DR
                    LACOMBE, LA 70445-2634


                    JOHN CONVERSE
                    CALL FOR PICKUP
                     98407




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 149 of 326
                    JOHN COOLEY
                    1701 E GAITHER AVE
                    LA CENTER, WA 98629


                    JOHN CORRADO
                    15727 NE 144TH PLACE
                    WOODINVILLE, WA 98072


                    JOHN COWLEY
                    2711 JACOB DRIVE
                    THOMPSONS STATION, TN 37179


                    JOHN COX JR
                    964S SE COUNTY ROAD 21B
                    MELROSE, FL 32666


                    JOHN CROWDER
                    17625 WOODHURST PL
                    LAKE OSWEGO, OR 97034-4010


                    JOHN CURRY
                    1725 NANTAHALA BLVD
                    MT. PLEASANT, SC 29464


                    JOHN CYMBAL
                    7831 PARMAVIEW LN
                    PARMA, OH 44134-6343


                    JOHN DEAN
                    3991 UPPER VALLEY PIKE
                    SPRINGFIELD, OH 45502


                    JOHN DIETEL
                    10711 EAST 21ST AVE
                    SPOKANE VALLEY, WA 99206


                    JOHN DULMAGE
                    2488 NORTH RIDGE AVE
                    BULLHEAD CITY, AZ 86429


                    JOHN DUNN
                    1493 AARHUS DR UNIT 3
                    SOLVANG, CA 93463-2966




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 150 of 326
                    JOHN E. TRACY
                    1426 ROSE LANE
                    OAK HARBOR, WA 98277


                    JOHN ELLIOTT
                    208 RIVER PLANTATION ROAD S
                    SAINT AUGUSTINE, FL 32092


                    JOHN ESPLIN
                    33555 HWY 53
                    NEHALEM, OR 97131


                    JOHN EVANS
                    41030 196TH AVE SE
                    ENUMCLAW, WA 98022


                    JOHN FACCIPONTE
                    3 NICOLE CT
                    JACKSON, NJ 08527-2400


                    JOHN FLETCHER
                    STE 800
                    190 E CAPITOL ST
                    JACKSON, MS 39201-2155


                    JOHN FORD
                    320 EAST BOWMAN AVE
                    WOODLAND PARK, CO 80863


                    JOHN FORSYTH
                    230 NICOLLET AVE
                    NORTH MANKATO, MN 56003


                    JOHN GRAFF
                    134 TROUPE ROAD
                    SHELBYVILLE, TN 37160


                    JOHN HADER
                    3594 N CEDERBLOM ST, #416
                    COEUR D ALENE, ID 83815


                    JOHN HILLENBRAND
                    1369 HAXBY ROAD
                    JORDAN, MT 59337




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 151 of 326
                    JOHN HOLLIS
                    76 CEDAR LANE
                    NEWCASTLE, VA 24127


                    JOHN HOWALL
                    CALL WHEN READY FOR PICKUP


                    JOHN HOWARD
                    1526 HUDSON RD
                    MADISON, TN 37115-5702


                    JOHN HOWELL
                    12735A RAINIER ACRES ROAD SE
                    RAINIER, WA 98576


                    JOHN HUDRIK
                    981 WEST CAMERON AVE
                    PMB 513
                    LOGANDALE, NV 89021


                    JOHN HUTCHINSON
                    PO BOX 117
                    SEVERANCE, CO 80546


                    JOHN ISAACSON
                    11394 O AVE
                    ANACORTES, WA 98221


                    JOHN J O'SULLIVAN
                    502 JULIA CT
                    PRATTVILLE, AL 36066-5520


                    JOHN J. GAGE
                    1710 CASSVILLE AVE
                    VERO BEACH, FL 32966


                    JOHN KANE
                    2255 BROOKHAVEN CT
                    SAN PABLO, CA 94806-3402


                    JOHN KASINSKI
                    71 BURWELL AVE
                    LANCASTER, NY 14086-2621




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 152 of 326
                    JOHN KELLY
                    8113 138TH AVE NE
                    REDMOND, WA 98052


                    JOHN KRUEGER
                    9836 ZYKAN DR
                    OVERLAND, MO 63114-2542


                    JOHN LAFERGOLA
                    14 ARROWHEAD WAY
                    MILLSTONE TWP, NJ 08535-8519


                    JOHN LAWTON
                    1450 SE 12TH ST
                    GRESHAM, OR 97080-1008


                    JOHN LAZZARA
                    106 S HABANA ST, UNIT #5
                    TAMPA, FL 33609


                    JOHN LEIGH
                    PO BOX 4
                    SAND POINT, AK 99661


                    JOHN LI
                    720 CHESTNUT AVE
                    TEANECK, NJ 07666-2404


                    JOHN LOGAN
                    636 KING RD
                    ROYERSFORD, PA 19468-1519


                    JOHN M DAVIS
                    8820 118TH ST E.
                    PUYALLUP, WA 98373


                    JOHN M LITTLE
                    8155 GREEN RD
                    HUBBARDSVILLE, NY 13355


                    JOHN MARINO
                    150 W PENN ST
                    LONG BEACH, NY 11561-4041




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 153 of 326
                    JOHN MAULFAIR
                    ***CALL FOR SHIPPING INSTRUCTIONS***


                    JOHN MAY
                    CALL FOR PICKUP


                    JOHN MCGEE
                    10372 PINE FLAT WAY
                    NEVEDA CITY, CA 95959


                    JOHN MCNULTY
                    4205 MEADOW VISTA LANE
                    ROUND ROCK, TEXAS 78665-0000


                    JOHN MEEKER
                    14395 W DARTMOUTH DR
                    LAKEWOOD, CO 80228-5489


                    JOHN MERGNER
                    CALL FOR PICKUP
                    2306 NW 4TH ST
                    BATTLEGROUND, WA 98604


                    JOHN MINERICH
                    JOHN & BETTY MINERICH
                    CALL FOR PICK UP


                    JOHN MULHOLLAND
                    3124 MAUREEN DR
                    PHILADELPHIA, PA 19154-1308


                    JOHN MURPHY
                    416 HINMAN PL
                    MAMARONECK, NY 10543-2721


                    JOHN NEHILA
                    1226 DENISE AVE
                    SEBRING, FL 33870-4213


                    JOHN NELSON
                    12227 CLAY BIRD DR
                    ODESSA, FL 33556-2253




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 154 of 326
                    JOHN NOLAN
                    45025 WOLFE RD UNIT #9
                    CHILLIWACK, BC V2P 7V9


                    JOHN OLIPHANT
                    4 MAIN ST
                    CADIZ, KY 42211


                    JOHN OLSON
                    160 COUNTY ROAD 620
                    MOUNTAIN HOME, AR 72653-9447


                    JOHN OR IVA PHILLIPS
                    22 MONTGOMERY ST
                    FULTONVILLE, NY 12072


                    JOHN PADGETT
                    17380 SW 302ND ST
                    HOMESTEAD, FL 33030-3310


                    JOHN POFFENBARGER
                    1642 NW 104TH AVE
                    CORAL SPRINGS, FL 33071-6534


                    JOHN POWELL
                    14568 DUBOIS RD
                    BEAUMONT, TX 77705-7388


                    JOHN PRUSA
                    36 EDGEWOOD DR
                    PHILIPPI, WV 26416-7685


                    JOHN RESCINITI
                    601 WALNUT ALLEY
                    SUITE E
                    NEW CUMBERLAND, PA 17070


                    JOHN RICE
                    27657 145TH AVE SE
                    KENT, WA 98042


                    JOHN RODRIGUEZ
                    5295 ADAIR OAK DR
                    ORLANDO, FL 32829-8225




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 155 of 326
                    JOHN ROGERS
                    5424 91ST AVE SE
                    SNOHOMISH, WA 98290


                    JOHN ROSS
                    610 2ND AVE
                    ABERDEEN, WA 98520-1911


                    JOHN SAEMISCH
                    1825 FAWN CREEK DR
                    CUMMING, GA. 30041-0000


                    JOHN SALYERS
                    1705 WESTFIELD COURT
                    NEWTOWN SQUARE, PA 19073


                    JOHN SAMUEL ROBERTS
                    APT 5109
                    135 MAHAFFEY DR
                    EATONTON, GA 31024-5071


                    JOHN SCHROEDER
                    1445 HASSELL PLACE
                    HOFFMAN ESTATES, IL 60169


                    JOHN SEILER
                    1500 PEACHTREE BATTLE AVENUE
                    ATLANTA, GA 30327


                    JOHN SMITH
                    670 LEISURE DR
                    KALISPELL, MT 59901-7564


                    JOHN TRAN
                    8631 MADISON AVE
                    MIDWAY CITY, CA 92655-1129


                    JOHN TROIANO
                    39 HARRISON CT
                    WOODLAND PARK, NJ 07424


                    JOHN ULSHER
                    6901 DICKERSON DR
                    ANCHORAGE, AK 99504-1112




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 156 of 326
                    JOHN URBINA
                    APT 1904
                    4720 CENTER BLVD
                    LONG IS CITY, NY 11109-5653


                    JOHN V SPARKMAN
                    6 GREENWICK DRIVE
                    GALLOWAY, NJ 08205


                    JOHN WALLACE
                    4709 CATALINA PKWY
                    MCFARLAND, WI 53558


                    JOHN WALSH
                    700 ELIZABETH ST CIRCLE
                    DACONO, CO 80514


                    JOHN WEAVER
                    4004 LOST OAKS DR
                    OOLTEWAH, TN 37363


                    JOHN WENKER
                    613 HARLAN CT
                    CHULA VISTA, CA 91911-6700


                    JOHN WILBER
                    PO BOX 255
                    KITTREDGE, CO 80457


                    JOHN WILLETS
                    209 SHORELINE DR E
                    SUNSET BEACH, NC 28468-4238


                    JOHN WILLIAMSON
                    PO BOX 217
                    MOUNT SHASTA, CA 96067


                    JOHN WRIGHT
                    PO BOX 308
                    SILVERTON, CO 81433


                    JOHN WYGODZKI
                    91 EAST ARTISAN AVE
                    HUNTINGTON, NY 11743




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 157 of 326
                    JOHN YECKER
                    1034 N LIME ST
                    LANCASTER, PA 17602-1917


                    JOHN YOHEY
                    313 SHORT RD
                    VENICE, FL 34285


                    JOHN ZAMPARDO
                    1214 9TH AVENUE SE
                    PUYALLUP, WA 98372


                    JOHNMARK VERMILLION
                    3007 JASMINE RD
                    MONTGOMERY, AL 36111


                    JOHNNY CLEVELAND
                    1675 SAINT ANDREWS PKWY
                    ONEONTA, AL 35121-3512


                    JOHNNY DEMIZIO
                    2721 ROYALWOOD DR
                    NEW BRAUNFELS, TX 78132


                    JOHNNY SPRADA
                    23725 216TH PL SE
                    MAPLE VALLEY, WA 98038


                    JOHNNY TIERCE
                    2113 INDIAN TRAILS STREET
                    JONESBORO, AK 72401


                    JON BEATY
                    7712 MOUNTAIN ROAD NE
                    ALBUQUERQUE, NM 87110


                    JON BEAUREGARD
                    2346 WILDWOOD WAY
                    ELKO, NV 89801


                    JON FIEDLER
                    11133 ROSWELL AVE
                    POMONA, CA 91766-3955




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 158 of 326
                    JON GOLDSTICK
                    8196 CARSON AVE
                    CHARLEVOIX, MI 49720


                    JON HANCOCK
                    **DONT SEND MAIL**
                    TEMPLE, TX 76502-5824


                    JON JOHNSON
                    319 S 11TH ST
                    ALBION, NE 68620-1333


                    JON LOTT
                    428 MONTGOMERY AVE
                    TRUSSVILLE, AL 35173


                    JON PATTERSON
                    1316 2ND ST
                    ELTON, LA 70532


                    JON PERRIN
                    3125 SW FLORIDA ST
                    PORTLAND, OR 97219


                    JON ROSSE
                    4653 SATTERLY HILL RD
                    BURDETT, NY 14818-9735


                    JON SAWTELLE
                    395 STURBRIDGE RD
                    COLUMBUS, OH 43228-1251


                    JON SIMPSON
                    8924 121ST AVE SE
                    NEWCASTLE, WA 98056


                    JONAS PEARSON
                    PO BOX 174
                    GRANBY, CO 80446


                    JONATHAN AHN
                    5116 8TH ST SW
                    LAKEWOOD, WA 98499




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 159 of 326
                    JONATHAN BAGWELL
                    283 GOSHEN AVE
                    N LITTLE ROCK, AR 72116-8921


                    JONATHAN BOUSE
                    11085 TECUMSEH CLINTON RD
                    CLINTON, MI 49236


                    JONATHAN DANBERRY
                    855 CULKIN ST
                    PHILLIPSBURG, NJ 08865


                    JONATHAN DYK
                    2725 CHAMPAGNE LN
                    TILLAMOOK, OR 97141-8306


                    JONATHAN GRIMM
                    407 CLARK
                    DYSART, IOWA 52224-0000


                    JONATHAN JACKSON
                    GENERAL DELIVERY
                    MARBLE CANYON, AZ 86036


                    JONATHAN MARTIN
                    2320 CR 45800
                    BLOSSOM, TX 75416


                    JONATHAN SADIK
                    13707 TURN POINT CT
                    HOUSTON, TX 77044-2682


                    JONATHAN T PECK
                    US EQUAL EMPLOYMENT OPPORTUNIT
                    350 THE EMBARCADERO STE 500
                    SAN FRANCISCO, CA 94105-1260


                    JONATHAN WHITBREAD
                    34537 CLIFFORD LANE
                    COTTAGE GROVE, OR 97424


                    JONO SMALL
                    262 SOUTH YOSEMITE AVE
                    SUITE D
                    OAKDALE, CA 95361



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 160 of 326
                    JORDAN RAICHART
                    831 CARIBEL RD.
                    KAMIAH, ID 83536


                    JORDANI MANKIN
                    2407 LARKIN RD
                    UPPR CHICHSTR, PA 19061-2616


                    JORGE RANGEL
                    5826 S. KEELER AVE
                    CHICAGO, IL 60629


                    JORGE SMITH
                    9320 SW 102 ST
                    MIAMI, FL 33176


                    JOS WRISTERS
                    609 SPRINGS NURSERY
                    NEW BRAUNFELS, TX 78130


                    JOSE BALCELLS
                    OR JANET BALCELLS
                    14887 SW 40TH CT
                    MIRAMAR, FL 33027


                    JOSE LUGO
                    11805 ORBIT WAY
                    EL PASO, TX 79936-4404


                    JOSE MARTINEZ
                    1255 WEST 7TH STREET
                    APT #5
                    SAN PEDRO, CA 90731


                    JOSEPH & SHANNON CAMPBELL
                    3062 RED OAK CT
                    TURLOCK, CA 95382


                    JOSEPH A. HAMELL
                    MONTGOMERY PURDUE
                    701 FIFTH AVE STE 5500
                    SEATTLE, WA 98104-7096




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 161 of 326
                    JOSEPH BACA
                    1729 BLACK RIVER CT NE
                    RIO RANCHO, NM 87144-5726


                    JOSEPH BRATCHER
                    50 W PARK ST
                    BUFORD, GA 30518


                    JOSEPH CEBULSKI
                    1243 MARION ST
                    OWOSSO, MI 48867-4916


                    JOSEPH CHENOWETH
                    PO BOX 157
                    RELIANCE, WY 82943-0157


                    JOSEPH CICALESE
                    317 WHITE HORSE PIKE
                    HAMMONTON, NJ 08037-9616


                    JOSEPH DEVOL
                    78909 CADENCE LN
                    PALM DESERT, CA 92211-3053


                    JOSEPH E BROCK
                    11592 TRIBBLE RD
                    LEON, WV 25123


                    JOSEPH ENRIQUEZ
                    90 PARKSIDE DRIVE
                    NEW HOPE, PA 18938


                    JOSEPH FACCIPONTE
                    725 BROADWAY BLVD
                    TOMS RIVER, NJ 08757


                    JOSEPH GRIGG
                    106 W. 32ND STREET
                    GARDEN CITY, ID 83714


                    JOSEPH HALL
                    11 BARNWELL DR
                    CABOT, AR 72023-3401




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 162 of 326
                    JOSEPH HORCHAK
                    206 BROOKHAVEN DR
                    ROSEVILLE, CA 95678-1083


                    JOSEPH KINDER
                    24122 BANEBERRY RD
                    MAGNOLIA, TX 77355


                    JOSEPH LEE
                    626 KELLY RD
                    ALMA, AR 72921-8513


                    JOSEPH MAGRUDER
                    272 OVERHILL DRIVE
                    JONESBORO, TN 37659


                    JOSEPH MARSHALL
                    4416 SLATE RIDGE RD
                    WHITEFORD, MD 21160


                    JOSEPH MCCARRON
                    10089 TOWNLINE RD
                    PETOSKEY, MI 49770-8525


                    JOSEPH MICLAT
                    28987 WEYBRIDGE DR.
                    WESTLAKE, OH 44145


                    JOSEPH NICHOLSON
                    STE 400
                    55 HARRISON ST
                    OAKLAND, CA 94607-3858


                    JOSEPH OMAHEN
                    1813 MEHARRY STREET
                    LAFAYETTE, IN 47904


                    JOSEPH PATTON
                    7 MAPLE ROCK RD
                    NORTH SITUATE, RI 02857


                    JOSEPH PERRY
                    49300 CLARKSBURG RD
                    CLARKSBURG, CA. 95612-0000




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 163 of 326
                    JOSEPH PRATT
                    2910 WILD SPRINGS LN
                    CORONA, CA 92883-5922


                    JOSEPH ROMAN
                    1245 WARREN RD
                    LAKEWOOD, OH 44107-2515


                    JOSEPH SABATO
                    3780 NORTH HAMPTON LANE
                    CLEVES, OH 45002


                    JOSEPH SKORONSKI
                    613 LOYALVILLE RD
                    HARVEYS LAKE, PA 18618-2101


                    JOSEPH SWIGOR
                    45 MASON RD
                    JEFFERSON, MA 01522-1308


                    JOSEPH THIMONS
                    1609 MACK STREET
                    NATRONA HEIGHTS, PA 15065


                    JOSEPH WEMLINGER
                    2644 BUTTONWOOD RUN
                    THE VILLAGES, FL 32162


                    JOSEPH WHITTLE
                    16415 36TH DRIVE SE
                    MILL CREEK, WA 98012


                    JOSEPH WILSON
                    1100 EAGLE NEST CT APT 3
                    DAYTON, OH 45449-2566


                    JOSEPH WOODS
                    6150 E. COUNTY 14TH ST
                    YUMA, AZ 85365


                    JOSH LIND
                    20620 PLUM CREEK CT
                    GAITHERSBURG, MD 20882-4448




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 164 of 326
                    JOSH MCMAHAN
                    2143 HIGHWAY 103 S
                    GREEN FOREST, AR 72638-3770


                    JOSH VERHAEGHE
                    KATEE GARTNER
                    CAMPUS HEIGHTS 19
                    500 UNIVERSITY AVE W
                    MINOT, ND 58707-0001


                    JOSHUA ASSAD
                    JMA PAWN JEWELRY & LOAN
                    119 S WASHINGTON ST
                    TAYLORVILLE, IL 62568


                    JOSHUA BLACK
                    1249 MEADOW LANE
                    CODY, WY 82414


                    JOSHUA COOK
                    104 STEPHANIE DRIVE
                    GARDNER, MA 01440


                    JOSHUA CROOK
                    1097 PINE ISLAND RD
                    JACKSONVILLE, AL 36265-5490


                    JOSHUA HAYDON
                    PO BOX 891571
                    TEMECULA, CA 92589


                    JOSHUA KOLODITCH
                    APT 3
                    1105 DELNA MANOR LN
                    SAN JOSE, CA 95128-3414


                    JOSHUA LORDEN
                    2600 FINFEATHER RD STE 13A
                    BRYAN, TX 77801-1800


                    JOSHUA RANDALL
                    PSC 559 BOX 5576
                    FPO, AP 95377-0056




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 165 of 326
                    JOSHUA SCHEFERS
                    3280 WASHINGTON ST
                    ALAMEDA, CA 94501


                    JOSHUA SCHOENSTEDT
                    APT 2A
                    410 JOSHUA DR
                    ERIE, PA 16511-1476


                    JOSHUA SHADE
                    220 HORSESHOE DR
                    HURT, VA 24563-2098


                    JOSHUA SMITH
                    5912 TWELVE MILE RD
                    BILLINGS, MT 59105-4933


                    JOSHUA YOKELA
                    16 TIBBETTS RD
                    FREMONT, NH 03044


                    JOY POTTER
                    PO BOX 20554
                    WEST PALM BEACH, FL 33416


                    JOY TRUSHENSKI
                    4158 STAMPEDE DRIVE
                    CARSON CITY, NV 89701


                    JOYCE ALSTON
                    1001 GOLF COURSE RD
                    ANDREWS, TX 79714-3855


                    JOYCE BOYD
                    4261 CONNER DRIVE
                    HERNANDO, MS 38632


                    JOYCE HELT
                    3000 HELT DR
                    ALPINE, TX 79830-7103


                    JOYCE KRUEGER
                    10947 WALDRON RD
                    JEROME, MI 49249




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 166 of 326
                    JOYCE RYBECKI
                    9862 WEST 900 NORTH
                    ELWOOD, IN 46036


                    JUAN GUZMAN
                    25021 N FM 2556
                    LA FERIA, TX 78559-4400


                    JUDD JENNERJAHN
                    128 DONA ANA DR APT 215
                    TAOS, NM 87571-4120


                    JUDITH JONES
                    OR GARY JONES
                    ***CALL FOR PICKUP***


                    JUDY HENDRICKSON
                    3026 FAIRWAY OAKS DR
                    DEKALB, IL 60115-4948


                    JUDY PACHECO
                    PO BOX 2233
                    CORRALES, NM 87048


                    JUDY SADLER
                    315 VALLEY VIEW DR
                    GLASGOW, KY 42141-1284


                    JULIA PROCTOR
                    29196 GOOSENECK TRL
                    MENIFEE, CA 92584-7347


                    JULIAN KRUG
                    169 HERBST ROAD
                    CORAOPOLIS, PA 15108


                    JULIANNE CAIN
                    6009 PILCHUCK TREE FARM RD
                    SNOHOMISH, WA 98290-4564


                    JULIE & NATHAN PAYZANT
                    981 MAHOGANY LN NW
                    SILVERDALE, WA 98383




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 167 of 326
                    JULIE HESS
                    5322 71ST AVE SE
                    JUD, ND 58454


                    JULIE STRONG
                    6206 VALLEY FORGE
                    KALAMAZOO, MI 49009


                    JULIE WILLIAMS
                    819 BLAZINGWOOD DR
                    GREENSBORO, NC 27406-8228


                    JUSTIN CHILDERS
                    2601 PACIFIC DR S, APT 7
                    FARGO, ND 58103


                    JUSTIN COFFEY
                    CALL FOR PICKUP


                    JUSTIN FREEMAN
                    1836 RED RUM COURT SE
                    ALBUQUERQUE, NM 87123


                    JUSTIN LINDER
                    202 FALLEY ST
                    RICHLAND, WA 99352-4457


                    JUSTIN MCINTYRE
                    3910 KENNEDY RD
                    WEST RICHLAND, WA 99353-7403


                    JUSTIN NORTHERN
                    1001 E TYEE DR
                    WASILLA, AK 99654-8583


                    KAREN ESTEP
                    1511 CERVANTES PL
                    THE VILLAGES, FL 32159-9164


                    KAREN ETZEL
                    PO BOX 733
                    WILTON, CA 95693




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 168 of 326
                    KAREN MAHONEY
                    179 LAUREL STREET #21
                    FLORENCE, OR 97439


                    KARI BEESON
                    9743 NORTH ELM AVE
                    KANSAS CITY, MISSOURI 64157-0000


                    KARI CLEMENT
                    6641 LIVELY STREET SW
                    OLYMPIA, WA 98512


                    KARIN BASS
                    12301 TOWNER AVE NE
                    ALBUQUERQUE, NM 87112-3663


                    KARIN SANFORD
                    STE 301
                    2001 AIRPORT RD N
                    FLOWOOD, MS 39232-8849


                    KARL BUMGARNER
                    22206 52ND AVE SE
                    BOTHELL, WA 98021


                    KARL GUNDERSON
                    629 TAFT AVE
                    RAYMOND, WA 98577


                    KARL RETTIG
                    5402 WALLACE AVE
                    INDIANAPOLIS, IN 46220-5762


                    KATE BALDWIN
                    708 N 98TH STREET
                    SEATTLE, WA 98103


                    KATE LASKA
                    2506 BREWERTON ROAD
                    MATTYDALE, NY 13211


                    KATHARINA CASPER
                    3149 WALKER RD
                    DUPONT, WA 98327




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 169 of 326
                    KATHERINE GRIBBLE
                    9902 257TH STREET COURT EAST
                    GRAHAM, WA 98338


                    KATHERINE MARQUARDT
                    2140 PRETISS DRIVE
                    BUILDING Q UNIT 208
                    DOWNERS GROVE, IL 60516


                    KATHLEEN PRIBYL
                    APT 9201
                    3101 DAVIS LN
                    AUSTIN, TX 78748-5173


                    KATHLEEN ROHM
                    6617 STEDMAN SHERMAN RD
                    MAYVILLE, NY 14757-9628


                    KATHLYN NAUTA
                    1076 W. 1800 N.
                    MAPLETON, UT 84664


                    KATHY BOGGS
                    5909 SEMINOLE RD
                    WARR ACRES, OK 73132-5706


                    KATHY HARVEY
                    485 CHESTNUT ROSE LN.
                    CHICO, CA 95973


                    KATHY JUNGBLUTH
                    600 N 13TH STREET
                    OOSTBURG, WI 53070


                    KATHY SIMPSON
                    21505 EASTMAN ROAD
                    GLENWOOD, IA 51534


                    KATHY WOOD
                    11205 W 77TH ST
                    SHAWNEE, KS 66214


                    KATHY YORE
                    1211 W SYCAMORE ST
                    CHASE CITY, VA 23924



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 170 of 326
                    KATIE HANSON
                    1361 GREENHOUSE ROAD
                    IONE, WA 99139


                    KATY MALONE
                    11900 STEEPLE CHASE CIR
                    ANCHORAGE, AK 99516-2321


                    KAYLENE TATE
                    CALL FOR PICKUP


                    KEITH DICKERSON
                    8146 HAPPY VALLEY RD
                    KUNA, ID 83634-1528


                    KEITH GIOSSI
                    290 THOMAS LEN RD
                    AZLE, TX 76020


                    KEITH HANNA
                    P O BOX 36
                    1673 EXCHANGE STREET RD
                    ATTICA, NY 14011-9627


                    KEITH HARDIN
                    1520 W EUCLID AVE
                    MARION, IN 46952-3447


                    KEITH HOFMANN
                    3273 53RD AVE SE
                    MEDINA, ND 58467-9539


                    KEITH KJERGAARD
                    381 GRAVES RD
                    FRANKFORT, MI 49635-9404


                    KEITH MAYER
                    48C MUIRFIELD DR
                    READING, PA 19607-3358


                    KEITH OTIS
                    3090 MORROW RD
                    OMRO, WI 54963-9200




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 171 of 326
                    KEITH PETERSEN
                    16995 MILKY WAY
                    BEND, OR 97707


                    KEITH R. KWASNY
                    16658 LYONHURST CIRCLE
                    NORTHVILLE, MI 48168


                    KEITH ROMER
                    PO BOX 543
                    LAYTON, UT 84041


                    KEITH VENNEMAN
                    328 OLD QUARRY RD N
                    LARKSPUR, CA 94939-2225


                    KEITH WILSON
                    2532 HOMESTEAD RD
                    ENID, OK 73703-1647


                    KEITH ZAGAR
                    2806 SHERWOOD DR
                    TROPHY CLUB, TX 76262-3456


                    KELLENE HUNTER
                    208 GREEN BRIAR DRIVE
                    HEYBURN, ID 83336


                    KELLIE LATHAM
                    361 COUNTY ROAD 4207
                    DE KALB, TX 75559-3854


                    KELLY CIKANEK
                    1086 29TH RD
                    BROOKVILLE, KS 67425


                    KELLY CUSHMAN
                    PO BOX 220
                    BLACKFOOT, ID 83221


                    KELLY KNOX
                    181 HIGH RD
                    KALISPELL, MT 59901-7433




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 172 of 326
                    KELLY MARRUJO
                    9921 LONG CATTLE AVE
                    LAS VEGAS, NV 89117


                    KEMP W. OR KEMP JR. LAMUNYON SR
                    2813 SCHULTZ LN
                    WALLA WALLA, WA 99362


                    KEN ABBEY
                    PO BOX 351
                    DANSVILLE, NY 14437


                    KEN DAVISON
                    702 COUNTY ROAD 4139
                    SIMMS, TX 75574-3509


                    KEN DUALE
                    3093 OXBOW RD
                    RICHFIELD, OH 44286-9098


                    KEN MEDLIN
                    2600 BARCELONA CT
                    WEST COLUMBIA, SC 29170-1128


                    KEN MOYER
                    691 BEACON HILL RD
                    WYALUSING, PA 18853


                    KEN PAULSON
                    OR CINDY PAULSON
                    CALL FOR PICKUP


                    KEN PEARCE
                    71 SHAW LANE
                    DIVIDE, CO 80814


                    KEN RIDGEDELL
                    17615 RIDGEWOOD DR
                    HAMMOND, LA 70403-0285


                    KEN RUMMINGER
                    407 WILDERNESS TRL
                    LIBERTY, SC 29657-8529




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 173 of 326
                    KENN SALZMAN
                    699 WINDSOR DR
                    WESTMINSTER, MD 21158


                    KENNETH BARNES
                    7911 SHANGRILA LN
                    HOUSTON, TX 77095


                    KENNETH BERNINGER
                    134 SHAFFER STREET
                    WILLIAMSPORT, PA 17702


                    KENNETH CORNIELLO
                    713 GLEN ROSE DR
                    ALLEN, TX 75013-5493


                    KENNETH DREXLER
                    9959 COUNTY RD N
                    MARSHFIELD, WI 54449


                    KENNETH FEUCHT
                    1526 29TH PL SE
                    PUYALLUP, WA 98374-1383


                    KENNETH FISHER
                    7979 COUNTY ROAD P39
                    FORT CALHOUN, NE 68023


                    KENNETH FLOWE
                    314 PORT ROYAL DRIVE
                    NINETY SIX, SC 29666


                    KENNETH HAMMON
                    29563 DAY RD
                    MCARTHUR, CA 96056-8508


                    KENNETH HOBBY
                    41317 SILVER DRIVE
                    UMATILLA, FL 32784


                    KENNETH HUFF
                    5655 BROOKINGS RD
                    SEDRO WOOLLEY, WA 98284-8924




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 174 of 326
                    KENNETH JOHNSON
                    3255 S COVE CT
                    MAINEVILLE, OH 45039


                    KENNETH KRUEGER
                    2815 OAK HAVEN CIRCLE
                    GEORGETOWN, TX 78628


                    KENNETH MACKLEY
                    2538 COOK AVE
                    BILLINGS, MT 59102


                    KENNETH MARMION
                    5416 65TH AVE SE
                    OLYMPIA, WA 98513


                    KENNETH MEANS
                    9248 COUNTY ROAD 501
                    BLUE RRIDGE, TX 75424


                    KENNETH MENZ
                    198 COUNTRY CLUB LN
                    CANTON, MI 48188-3036


                    KENNETH MILLEN
                    C/O CASSUBHAI LAW PLLC
                    701 FIFTH AVE STE 4200
                    SEATTLE, WA 98104-5119


                    KENNETH PARKINSON
                    105 SWEET GUM LN
                    AIKEN, SC 29803-7810


                    KENNETH PHILLIPS
                    P.O. BOX 191
                    WHITEWRIGHT, TX 75491


                    KENNETH RITCHIE
                    98 ISAACKS STREET APT. 302
                    HUMBLE, TX 77338


                    KENNETH RUDY
                    220 WAGON ROAD
                    MILLERSBURG, PA 17061




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 175 of 326
                    KENNETH WRENN
                    1910 SEDWICK RD SUITE 200 C
                    DURHAM, NC 27713


                    KENNY JOLLY
                    9410 SHADED PINES DR
                    HUMBLE, TX 77396-4402


                    KENT CRAMM
                    2320 E 1100TH ST
                    MENDON, IL 62351-2719


                    KENT DRINKWATER
                    8601 OAK GLEN ROAD
                    CHERRY VALLEY, CA 92223


                    KENT GORDON
                    211 ACR 375
                    PALESTINE, TX 75801


                    KENT GRESSMAN
                    111 COLUMBIA DR
                    TOOELE, UT 84074-2443


                    KENT WHITAKER
                    11 ARMSTRONG LANE
                    RIVERSIDE, CT 06878


                    KENTON DEFORD
                    P.O. BOX 427
                    EKALAKA, MT 59324


                    KENWARD CLEMENT
                    21244 DIVERSION CANAL RD
                    ST AMANT, LA 70774


                    KEREL WEIRMEIR
                    34758 PAKENHAM PL.
                    MISSION, BC V2V7A6


                    KERRI DOUGLAS
                    PO BOX 711
                    RAINER, WA 98576




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 176 of 326
                    KERRI KING
                    OR GREG KING
                    8735 N CEDAR AVE
                    UNIT 138
                    FRESNO, CA 93720-1843


                    KERRY MEISE
                    2549 BAINBRIDGE
                    ODESSA, TX 79762


                    KERRY REEDER
                    5475 QUINCE RD
                    MEMPHIS, TN 38119-5936


                    KESHA HAMILTON
                    563 CLARICE DR
                    MEMPHIS, TN 38109-4627


                    KETHANA KATE NHEM-LIM
                    ***CALL FOR PICKUP
                    35810 20TH AVE SW
                    FEDERAL WAY, WA 98023


                    KEVIN ABBOTT
                    3605 149TH ST
                    URBANDALE, IA 50323


                    KEVIN BRICHETTO
                    3831 BRUCE DR SE
                    WARREN, OH 44484-2715


                    KEVIN BUDDRIUS
                    7907 WHITE BLUFF CT
                    PASCO, WA 99301


                    KEVIN CAROTHERS
                    6333 E MOCKINGBIRD LANE
                    BOX 147-674
                    DALLAS, TX 75214


                    KEVIN CRONIN
                    3645 DORRIT AVE
                    BOYNTON BEACH, FL 33436




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 177 of 326
                    KEVIN DEMPSEY
                    210 SOUTH MATANZAS AVE
                    TAMPA, FL 33609


                    KEVIN DENESEN
                    3003 S ROCA STREET
                    GILBERT, AZ 85295


                    KEVIN DONALDSON
                    1431 WOLVERTON AVE
                    CAMARILLO, CA 93010


                    KEVIN ENYEART
                    796 N ADMIRALS POINTE DR
                    LAFAYETTE, IN 47909-8209


                    KEVIN HALL
                    820 MEADOWVIEW LN
                    LANSING, MI 48917-4205


                    KEVIN HALVERSON
                    1175 LOUGHBOROUGH COURT
                    WHEATON, IL 60189


                    KEVIN HAYASHIDA
                    CALL FOR PICKUP


                    KEVIN LEY
                    938 VENICE ST
                    LONGMONT, CO 80501


                    KEVIN LUX
                    223 LITTLE BAY ROAD
                    WHITE STONE, VA 22578


                    KEVIN MARTIN
                    PO BOX 35
                    HARVEYSBURG, OH 45032


                    KEVIN MCCARTHY
                    502 URSULINE DR
                    BATON ROUGE, LA 70808




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 178 of 326
                    KEVIN MCDONALD
                    PO BOX 159
                    HALSEY, OR 97348-0159


                    KEVIN MURPHY
                    24301 KELLY RD
                    UNIT 114
                    EASTPOINTE, MI 48021


                    KEVIN PINTAR
                    274 N MAPLE GROVE
                    SUITE 104
                    BOISE, ID 83704


                    KEVIN SCHLEPPENBACH
                    7921 UPPER 145TH ST W
                    APPLE VALLEY, MN 55124-6357


                    KEVIN SHAYNE
                    1 PHEASANT LANE
                    MANCHESTER, NH 03109


                    KEVIN SHUTER
                    3228 N 700 E
                    ROLLING PRARIE, IN 46371


                    KEVIN SIMS
                    507 MITCHELL ST
                    CONWAY, AR 72034


                    KEVIN SMALLWOOD
                    11153 52 1/2 RD
                    PO BOX 222
                    MESA, CO 81643


                    KEVIN SMITH
                    13131 TOPFLITE CT
                    HUDSON, FL 34669-2418


                    KEVIN SPENCE
                    3149 MEANDER LN NW
                    OLYMPIA, WA 98502-3957




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 179 of 326
                    KEVIN UHL
                    5522 112TH PL SW
                    MUKILTEO, WA 98275-4833


                    KEVIN ULRICH
                    19 SHOLLY DR
                    HAMBURG, PA 19526-9033


                    KEVIN WIDEMAN
                    1176 W 900 N
                    MACY, IN 46951-8089


                    KHWAJA AHMED
                    9695 CUTTER LANE
                    LAKELAND, TN 38002


                    KIM DONOVAN
                    33 BARRISTER LANE
                    PALM COAST, FL 32137


                    KIM HAGUE
                    1106 BEXAR AVE
                    MELISSA, TX 75454


                    KIM MARTINEZ
                    2407 D ST
                    STEILACOOM, WA 98388


                    KIMBERLY ANN SAUL
                    POB 1388
                    GIG HARBOR, WA 98335-3388


                    KIMBERLY CARUSO
                    19808 BLUE HERON LANE
                    HAGERSTOWN, MD 21742


                    KIRBY BURTON
                    2729 ALABASTER CT
                    PALM HARBOR, FL 34684-4501


                    KIRBY WALBORN
                    PO BOX 451
                    HARDIN, MT 59034




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 180 of 326
                    KIRK BOWERS
                    4800 BEAR CREEK RD
                    LINCOLN, NE 68516


                    KIRSTEN O'NEIL
                    STE B415
                    5901 PEACHTREE DUNWOODY RD
                    ATLANTA, GA 30328


                    KIRT BROOKSON
                    5480 TAYLOR ROAD
                    ALPHARETTA, GA 30022


                    KLAUS KOLB
                    413 HOLIDAY PARK BLVD NE
                    PALM BAY, FL 32907


                    KLAUS LEIDENFROST
                    1000 TURKEY RUN
                    ROLLA, MO 65401-3849


                    KLEEN BLAST ABRASIVES
                    50 OAK COURT, SUITE 210
                    DANVILLE, CA 94526


                    KLIS ZANNIS
                    307 PINE VIEW CIR
                    EL LAGO, TX 77586


                    KOLA DJELJEVIC
                    APT 1B
                    400 E 77TH ST
                    NEW YORK, NY 10075-2366


                    KOSKO MINTING COMPANY
                    36108 SE 311TH STREET
                    RAVENSDALE, WA 98051


                    KOUNT INC
                    917 SOUTH LUSK, 3RD FLOOR
                    BOISE, ID 83706


                    KRAIG KRUEGER
                    126 4TH STREET
                    ROSLYN, WA 98941



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 181 of 326
                    KRIS MARIN
                    374 EARLINGTON AVE SW
                    RENTON, WA 98057


                    KRIS MCGAUGHEY
                    807 COLCHESTER DR E
                    PORT ORCHARD, WA 98366-8518


                    KRISTA SCANLON
                    8012 20TH AVE NE
                    SEATTLE, WA 98115-4406


                    KRISTINA PEREZ
                    1253 CARLOS TRL
                    ALICE, TX 78332-6728


                    KRISTINE MILLER
                    350 MEADOW VIEW DR
                    ELLENSBURG, WA 98926


                    KRISTOPHER WILLIQUETTE
                    121 LAKE AVE
                    ALBANY, MN 56307-8308


                    KRISTOPHOR NEIL
                    18515 30TH AVE NE
                    LK FOREST PK, WA 98155-2501


                    KUNSHAN TOP TREE DECORATION CO
                    69 YANGANG MIDDLE ROAD
                    BULIDING NO. 1, JINTAN
                    JIANGSU 215316
                    CHINA


                    KURT BURNHAM
                    2843 CANYON FERRY ROAD
                    HELENA, MT 59602


                    KURT CORNELSON
                    302 JOHN BEND RD
                    WEATHERFORD, TX 76088


                    KURT OLSEN
                    124 JOSHUA RD
                    WOODRUFF, SC 29388



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 182 of 326
                    KURT SCHROEDER
                    10312 RIVERBURN DR
                    TAMPA, FL 33647-3183


                    KURTIS DUNCAN
                    PO BOX 844
                    GLENEDEN BEACH, OR 97388


                    KY DORSEY
                    5123 CASTLESTONE DR
                    ROSEDALE, MD 21237-4919


                    KYLE BRANCHICK
                    ***CALL FOR PICKUP***


                    KYLE BURGESS
                    7000 67TH ST NE
                    MARYSVILLE, WA 98270-7775


                    KYLE MOCK
                    511 VAN MILLER DR
                    GALENA, MO 65656-5048


                    KYLE WATTS
                    11993 STREAMSIDE DR
                    LOVELAND, OH 45140-4832


                    LADELL SWIDEN
                    108 WOODLAND DRIVE
                    MADISON, SD 57042


                    LADONNA JENKINS
                    255 S KENMORE ROAD
                    INDIANAPOLIS, IN


                    LAMAR LEMUS
                    2231 SOUTH BRONSON AVENUE
                    LOS ANGELES, CA 90018


                    LANCE ALLEE
                    10836 ROCKY MOUNTAIN DR NW
                    ALBUQUERQUE, NM 87114-3565




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 183 of 326
                    LANCE MCCOLLOCH
                    PO BOX 672
                    GRANGEVILLE, ID 83530


                    LANCE MORRIS
                    4207 208TH AVENUE NE
                    SAMMAMISH, WA 98074


                    LANDON WARD
                    8641 LA SENDA CT
                    RANCHO CUCAMONGA, CA 91701


                    LANDSBERG
                    P.O. BOX 101144
                    PASADENA, CA 91189-1144


                    LARRY ADAMS
                    PO BOX 5561
                    SAGINAW, MI 48603


                    LARRY AHLGREN
                    HC 69 BOX 2000
                    WINNETT, MT 59087


                    LARRY ANDREW
                    746 E 1910 S. SUITE 1
                    PROVO, UTAH 84606-0000


                    LARRY BAILEY
                    14630 HWY F34 W
                    COLFAX, IA 50054


                    LARRY CHIAPPELLONE
                    18457 BARRETT AVE
                    SONOMA, CA 95476


                    LARRY DUNCAN
                    5001 EAST 27TH STREET NORTH
                    WICHITA, KS 67220-2634


                    LARRY FAWCETT
                    5100 SHELBORNE ROAD
                    ARBUTUS, MD 21227




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 184 of 326
                    LARRY GRAHAM
                    1520 PLEASANT LANE
                    CHARLESTON, WV 25311


                    LARRY GRAVES
                    2436 E ALOHA ST
                    SEATTLE, WA 98112-4120


                    LARRY HARRIS
                    3008 SWEET BRIAR DRIVE
                    INDEPENDENCE, MO 64057-1452


                    LARRY HOLLAND
                    PO BOX 11508
                    PUEBLO, CO 81001


                    LARRY HONEBRINK
                    2517 STATE HWY 450
                    NEWCASTLE, WY 82701


                    LARRY HUROWITZ
                    30 COOKE ROAD
                    WALLINGFORD, CT 06492


                    LARRY JONES
                    PO BOX 162236
                    FORT WORTH, TX 76161


                    LARRY LAINHART
                    1244 WISE MAN TOWN ROAD
                    IRVINE, KY 40336


                    LARRY LANDSPERGER
                    1775 CEDAR HILL
                    DOUGLASVILLE, GA 30134


                    LARRY NOBLE
                    PO BOX 1533
                    GUASTI, CA 91743-1533


                    LARRY PARKS
                    10 NEIL CT
                    WILMINGTON, NC 28411-8855




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 185 of 326
                    LARRY PEDERSEN
                    10017 JOHNSON AVE S
                    BLOOMINGTON, MN 55437


                    LARRY PEKKOLA
                    7700 NE MINERAL SPRINGS RD
                    CARLTON, OR 97111-9530


                    LARRY ROBBINS
                    2525 DICKEY RD
                    MURPHY, NC 28906-3892


                    LARRY ROWE
                    2418 CR 220
                    DURANGO, CO 81303


                    LARRY SMITH
                    861 W RAVENSCROFT RD
                    SPARTA, TN 38583


                    LARRY TAYLOR
                    13819 58TH AVE NW
                    STANWOOD, WA 98292


                    LARRY VEASEY
                    16480 OLD STATE ROAD
                    MIDDLEFIELD, OH 44062


                    LARRY WILLIFORD
                    220 LITTLE JOHN TRAIL
                    HOT SPRINGS, AR 71913


                    LARRY WIRTH
                    860 PINER ROAD
                    SANTA ROSA, CA 95403


                    LARRY WOLF
                    4612 N 300 E
                    ALBION, IN 46701-9756


                    LAURA BESS
                    924 HAYFIELD LN
                    HAMILTON, MT 59840-9101




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 186 of 326
                    LAURA CUTHBERT
                    PO BOX 2345
                    FORT COLLINS, CO 80522


                    LAURA GRAY
                    PO BOX 1179
                    COOS BAY, OR 97420-0310


                    LAURENZ KOSTER
                    PO BOX 848
                    BURNS LAKE, BC V0J 1E0


                    LAVON PAGAN
                    2240 NW 27TH ST
                    OKLAHOMA CITY, OK 73107


                    LAWRENCE KNIGHT
                    1408 TIMBERCREST DR.
                    BENBROOK, TX 76126


                    LAWRENCE LAKE
                    400 LAKE DR
                    ODENVILLE, AL 35120-4348


                    LAWRENCE PARKER
                    127 HIDDEN MEADOW LANE
                    SOUTH BURLINGTON, VT 05403


                    LE HUYNH
                    140 STANDISH ROAD
                    COLCHESTER, CT 06415


                    LEAH AVERY
                    18 HARBOUR ISLE DRIVE WEST
                    UNIT 202
                    FORT PIERCE, FL 34949


                    LEE BLETCH
                    PO BOX 713
                    YAKIMA, WA 98907


                    LEE COOK
                    12740 EARHART AVE
                    AUBURN, CA 95602-9027




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 187 of 326
                    LEE EWIGMAN
                    12019 HWY ZZ
                    MARCELINE, MO 64658


                    LEE LAHRMANN
                    24574 NORTHWOOD LN
                    SEDRO WOOLLEY, WA 98284-5023


                    LEE PELL
                    CALL FOR PICK UP


                    LEE STEWART
                    28060 ABLE WOOD RD
                    PERRYSBURG, OH 43551


                    LEE THIMM
                    2435 W WISCONSIN AVE
                    #407
                    MILWAUKEE, WI 53233


                    LEE THORSELL
                    23450 BUTTERFIELD TRAIL
                    BEND, OR 97702


                    LEIGH CLUFF
                    1365 S HOPI TRAIL
                    DEWEY, AZ 86327


                    LEIGHTON EVANS
                    32125 SE 48TH ST
                    FALL CITY, WA 98024


                    LEKOMA AKATE
                    280 WEST OAK HILL ROAD
                    MOUNT DORA, FL 32757


                    LELAND SCHMID
                    411 TANGLEWOOD RD
                    SAVANNAH, GA 31419-2625


                    LEN HANK
                    4505 72ND STREET E
                    TACOMA, WA 98443




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 188 of 326
                    LENNIS CONGER
                    8710 133RD AVE NE
                    REMOND, WA 98052


                    LENNY LEBRUN
                    7551 WEST JENAN DRIVE
                    PEORIA, AZ 85345


                    LEO EMINGER
                    6 DEGRAY CV
                    MAUMELLE, AR 72113-6350


                    LEO STELMASZEK
                    11308 WEST STRAWBERRY LANE
                    RUDYARD, MI 49780


                    LEON COBB
                    5809 BAYLEAF LN
                    GREENSBORO, NC 27455-1249


                    LEON DYSON
                    847 MCDONALD CHURCH ROAD
                    ROCKINGHAM, NC 28379


                    LEON KOVALYOV
                    2329 EVERGREEN AVE
                    SCOTCH PLAINS, NJ 07076


                    LESLIE CLEMENTS
                    3190 VERNELL DRIVE
                    DAYTON, OH 45449


                    LESLIE KAISER
                    822A E AUER AVE
                    MILWAUKEE, WI 53212-2202


                    LESLIE KRICK
                    0091 RIVERBEND DRIVE
                    NEWCASTLE, CO 81647


                    LESLIE PERRY
                    6223 RIVERCHASE VILLAGE DR
                    KINGWOOD, TX 77345-2140




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 189 of 326
                    LETTIE CHAISSON
                    4906 GRANVILLE LN
                    WOODWARD, OK 73801-3740


                    LEVERTY & ASSOCIATES LAW
                    832 WILLOW STREET
                    RENO, NV 89502


                    LEVI HUNCOVSKY
                    717 ROACH ST
                    SALINA, KS 67401-5126


                    LEVI TAPPAN
                    205 ANTELOPE AVE
                    PAGE, AZ 86040-7126


                    LEWIS EVANS
                    2300 MCDERMOTT RD
                    SUITE 200-300
                    PLANO, TX 75025


                    LEZLIE GUNN
                    4045 S BUFFALO DRIVE #101-171
                    LAS VEGAS, NV 89147


                    LIBERTY MUTUAL INSURANCE
                    PO BOX 6486
                    CAROL STREAM, IL 60197-6486


                    LIEDTKE ASSOCIATES LP
                    NORMAN LIEDTKE
                    671 LAKESIDE CIRCLE APT 902
                    POMPANO BEACH, FL 33060


                    LIEN CHI HUYNH
                    4505 SOMERSET LANE
                    KENT, WA 98032


                    LILLIAN M NESHEIM
                    C/O THOMAS & SUE COSTELLO
                    4718 81ST PL SW
                    MULKILTEO, WA 98275




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 190 of 326
                    LIN PIERSON
                    PO BOX 2672
                    RENTON, WA 98059


                    LINDA ALMEN
                    PO BOX 145
                    PORT ANGELES, WA 98362


                    LINDA CHRISTENSON
                    28111 I LANE
                    OCEAN PARK, WA 98640


                    LINDA JUDD
                    PO BOX 5455
                    BEND, OR 97708


                    LINDA LEECH
                    6039 GLEN HEATHER
                    SAN ANTONIO, TX 78240


                    LINDA MARTIN
                    124 PLAZA DRIVE
                    UNIT 2304
                    PIGEON FORGE, TN 37863


                    LINDA WILLIAMS
                    CALL FOR PICK UP


                    LINDEN SCHLENKER
                    7031 S HOLMES AVE
                    IDAHO FALLS, ID 83404


                    LINFORD KARNS
                    872 RAYSTOWN RD
                    EVERETT, PA 15537-3319


                    LISA LANZI-TAYLOR
                    2799 BUCKINGHAM SPRINGS ROAD
                    DILLWYN, VA 23936


                    LLOYD BREADEN
                    709 EAST STATE ROAD 164
                    JASPER, IN 47546




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 191 of 326
                    LLOYD GUNTER
                    11640 NORTHVIEW DRIVE
                    ALEDO, TX 76008


                    LLOYD MILLER
                    300 GRANELLO AVE APT 554
                    CORAL GABLES, FL 33146


                    LONNIE YEAGER
                    616 NANCY DRIVE
                    GLEN ROSE, TX 76043-1572


                    LOREN HANSEN
                    19157 RAPIDAN AVE
                    MANKATO, MN 56001-6693


                    LOREN STREICHER
                    518 ORIN RICE ROAD
                    COLVILLE, WA 99114


                    LORI SARGENT
                    PO BOX 3864
                    FEDERAL WAY, WA 98063


                    LORIN DYRR
                    1712 PIONEER AVE #1438
                    CHEYENNE, WY 82001


                    LOTHAR COLUMBUS
                    9056 BUCHANAN TRAIL
                    SUITE 9
                    INVERGROVE HEIGHTS, MN 55077


                    LOUIS ALVAREZ
                    11677 HWY 34
                    LADONIA, TX 75449


                    LOUIS DEDOMINCES
                    2130 S 230TH ST
                    DES MOINES, WA 98198


                    LOUIS DICARLO
                    13910 LAKEWOOD CROSSING BLVD
                    HOUSTON, TX 77070




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 192 of 326
                    LOUISIANA DPS PUBLIC SAFETY
                    ANGELA JACKSON
                    PO BOX 66336
                    BATON ROUGE, LA 70896


                    LS THOMAS
                    1479 FRUITVALE AVE
                    APT 203
                    OAKLAND, CA 94601


                    LUCAS BAEHR
                    7220 DAVENPORT RD APT# 107
                    GOLETA, CA 93117


                    LUKE HEGLER
                    13074 COUNTY RD 24
                    NEW ULM, MN 56073


                    LUKE SCHMIDT
                    16247 THOMPSON ROAD
                    THOMPSON, OH 44086


                    LYLE NOKES
                    207 WEST MADISON STREET
                    DARIEN, WI 53114


                    LYNDA MUMBY
                    180 MUMBY RD, RR #4
                    MARMORA, ON K0K 2M0


                    LYNETTE FORBES
                    25 BUENA VISTA AVE
                    MILL VALLEY, CA 94941-1231


                    LYNETTE JOHNSON
                    320 E WINDSOR AVE
                    ALEXANDRIA, VA 22301


                    LYNN BAXTER
                    463 IMPERIAL DRIVE
                    MORGAN, UT 84050


                    LYNN BECKER
                    LOCAL




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 193 of 326
                    LYNN HENRY
                    UNIT 1103
                    2210 ONION CREEK PKWY
                    AUSTIN, TX 78747-1497


                    LYNN HORN
                    17 KIRKWALL PL
                    BELLA VISTA, AR 72715-6102


                    M TODD WARD
                    305 QUARTETTE LN
                    CUYAHOGA FALLS, OH 44223


                    MADELINE ALPERT
                    423 W PARKWAY DR
                    PUEBLO, CO 81007


                    MAHLON BOOK
                    14 FORTUNA WEST
                    IRVINE, CA 92620


                    MAIKE PROHASKA
                    OR TRAVIS PROHASKA
                    ***CALL FOR PICKUP***


                    MALCOLM H. CLEMENT JR.
                    580 WEST 800 NORTH
                    PLEASANT GROVE, UT 84062


                    MANUEL CORDOVEZ
                    1410 N SCOTT ST APT 571
                    ARLINGTON, VA 22209


                    MANUEL HERDADE
                    1611 BLUE HERON
                    HIGHLAND, MI 48357


                    MARC COLLINS
                    C/O GLOBAL FREIGHT SOURCE
                    STE 214
                    4600 W LOOMIS RD
                    GREENFIELD, WI 53220-4858




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 194 of 326
                    MARC FINER
                    4819 FAIRVIEW DRIVE
                    PLEASANT HILL, IA 50327


                    MARC LAWYA
                    NAME SEEKER INC
                    6550 1ST AVE N
                    ST PETERSBURG, FL 33710


                    MARC MCKENNEY
                    41 RED CEDAR RD
                    BARBOURSVILLE, VA 22923-2762


                    MARC WALRATH
                    15984 ABBEYLARA LN
                    PARKER, CO 80134-3070


                    MARCELO CARPINITO
                    744 BENNINGTON STREET APT#2
                    EAST BOSTON, MA 02128


                    MARCUS BEAVER
                    1400 5TH STREET SE
                    CULLMAN, AL 35055


                    MARCUS DICKHUT
                    118 N JOHNSON ST
                    BERLIN, WI 54923-2213


                    MARCUS HURST
                    4534 POCAHONTAS DR
                    CHUBBUCK, ID 83202-1745


                    MARGARET LEE
                    2448 ELROD COURT
                    YUMA, AZ 85365


                    MARGIE WEAVER
                    7241 VIVIAN LANE
                    RICHLAND HILLS, TX 76180


                    MARIA KROUPA
                    30982 SANJAY CT
                    TEMECULA, CA 92591




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 195 of 326
                    MARIA ZIOLKOWSKI
                    8658 BLUEBERRY DR
                    LEAD HILL, AR 72644


                    MARIANNE BROWN
                    1111 NW 133RD ST APT B
                    VANCOUVER, WA 98685-1879


                    MARIE VENNE
                    118 DAGENAIS DRIVE
                    YELLOWKNIFE, NT X1A 3J8


                    MARILYN CAMPBELL
                    330 NEWBOLDS CORNER RD.
                    LUMBERTON, NJ 08048


                    MARION BRAND
                    1730 HWY 87
                    GLASGOW, MO 65254


                    MARJORIE & ALBERT KEGLEY
                    5124 E BROCKDALE RD
                    SHELTON, WA 98584


                    MARJORIE NICEWANNER
                    5206 74TH ST CT E
                    TACOMA, WA 98443


                    MARK APPELMAN
                    457 S PAULA AVE APT D
                    WICHITA, KS 67209-1657


                    MARK BASKERVILL
                    3037 A JARRETTSVILLE PIKE
                    MONKTON, MD 21111


                    MARK BENSON
                    1186 YAKIMA STREET
                    EPHRATA, WA 98823


                    MARK BRECHEISEN
                    6201 S MAPLEWOOD CT
                    JOPLIN, MO 64804-5305




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 196 of 326
                    MARK BREWER
                    6703 STONEWALL STREET
                    GREENVILLE, TX 75402


                    MARK BRINKMANN
                    3609 DOVEWOOD ST
                    BAKERSFIELD, CA 93309


                    MARK COLLINS
                    31602 NE 134TH COURT
                    BATTLE GROUND, WA 98604


                    MARK DELAROSA
                    APT 1064
                    2222 S DOBSON RD
                    CHANDLER, AZ 85286-7382


                    MARK DESS
                    606 EDGEWOOD DR
                    MONTGOMERY, TX 77356-8429


                    MARK DICKISON
                    4182 B SAN PABLO DAM ROAD
                    EL SOBRANTE, CA 94803-3128


                    MARK DICKSON
                    STE 100
                    3305 N CALAIS DR
                    SHERMAN, TX 75090-1796


                    MARK EDWARDS
                    716 COUNTY ROAD 10 NE
                    PMB #123
                    BLAINE, MN 55434


                    MARK FLEER
                    12565 OVERSEAS HWY
                    MARATHON, FL 33050-3534


                    MARK FRENCH
                    8682 HWY 200
                    PLAINS, MT 59859




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 197 of 326
                    MARK GEISLER
                    4204 - HONDO DR
                    KILLEEN, TX 76549


                    MARK GIFT
                    418 N INDUSTRIAL AVE
                    SAND SPRINGS, OK 74063


                    MARK GILDENHAR
                    17 LAKESIDE COUNTRY CLUB SW
                    LAKEWOOD, WA 98498


                    MARK GIROLAMI
                    405 N 7TH STREET
                    TACOMA, WA 98403


                    MARK GOODRIDGE
                    18914 NE 140TH PLACE
                    WOODINVILLE, WA 98072


                    MARK HERZOG
                    7205 S MONKS TALE DRIVE
                    TUCSON, AZ 85756


                    MARK KAUFMAN
                    3601 HOBSON RD STE 202
                    FORT WAYNE, IN 46815-4527


                    MARK LAND
                    3298 VICHY AVE
                    NAPA, CA 94558


                    MARK LAROBARDIERE
                    109 MAIN STREET
                    CAMDEN, NY 13316


                    MARK LOEFFLER
                    1805 SOUTH SUNNY LANE
                    DELL CITY, OK 73115


                    MARK MCGARRY
                    394 3RD AVE
                    WATERVLIET, NY 12189-3805




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 198 of 326
                    MARK NEAL
                    55 H MANSION BLVD
                    DEL MAR, NY 12054


                    MARK PFISTER
                    29114 TAWAS
                    MADISON HEIGHTS, MI 48071


                    MARK PYLE
                    6239 EDGEWATER DR STE V1-6
                    ORLANDO, FL 32810-4764


                    MARK RAMEY
                    18 GREEN RD
                    SPERYVILLE, VA 22740


                    MARK ROBINSON
                    2087 E. ST. RD. 42
                    MOORESVILLE, IN 46158


                    MARK SCHLANDERER
                    5838 TIMBERWOOD LN
                    ALMONT, MI 48003-8922


                    MARK SCHOENICK
                    112 SOUTH WEST STREET
                    WAUPUN, WI 53963


                    MARK SEMOS
                    UNIT 501
                    12026 WILSHIRE BLVD
                    LOS ANGELES, CA 90025-1220


                    MARK SESTAK
                    250 FLAGSTONE DR
                    BETHLEHEM, PA 18017-3814


                    MARK SIMS
                    1403 MORNINGSIDE DR
                    LEBANON, IN 46052-1966


                    MARK STAWOWY
                    508 N JACKSON ST
                    BAY CITY, MI 48708-6425




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 199 of 326
                    MARK STELLATO
                    500 WARE CORNER RD
                    OAKHAM, MA 01068-9727


                    MARK STEWART
                    16014 WEST DALE LN
                    SURPRISE, AZ 85387-6021


                    MARK SUPAK
                    433 WILD HORSE RD
                    BILLINGS, MO 65610-7117


                    MARK THOMPSON
                    1137 E FRONT ST
                    LYNDEN, WA 98264-1656


                    MARK VEIRS
                    17018 SPRING BEAUTY DR
                    UNIONVILLE, MO 63565-2255


                    MARK WEISSBAUM
                    7809 TRAVELERS TREE DRIVE
                    BOCA RATON, FL 33433


                    MARK WILLARD
                    4562 E OXBOW TRL
                    COTTONWOOD, AZ 86326


                    MARLENE WILLIAMS
                    3504 TWIN LAKES DR
                    PROSPER, TX 75078-9301


                    MARLINE VAN DYKE
                    609 NELSON POINT RD
                    NICEVILLE, FL 32578-4520


                    MARSHALL LUTON
                    901 W SOUTH ST
                    COLLINSVILLE, OK 74021-3222


                    MARSHALL VIDRINE
                    108 B ALYENE DRIVE
                    LAFAYETTE, LA. 70506-0000




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 200 of 326
                    MARTEN LAW
                    1191 SECOND AVENUE, SUITE 2200
                    SEATTLE, WA 98101


                    MARTHA MCMEEL
                    616 LILLY RD NE #116
                    OLYMPIA, WA 98506


                    MARTHA STROUD
                    3120 NW 94TH ST
                    SEATTLE, WA 98117-2945


                    MARTIN BIEFNES
                    4992 S COOLIDGE ST
                    AURORA, CO 80016-5861


                    MARTIN COE
                    519 ROCKLAND-NICKELVILLE RD
                    KENNERDELL, PA 16374


                    MARTIN COLLISON
                    7331 RAVENA AVENUE
                    SEATTLE, WA 98115


                    MARTIN COLWELL
                    809 BALLY BUNION COURT
                    DAYTON, NV 89403


                    MARTIN DORING
                    2200 S OCEAN LN, APT 1808
                    FORT LAUDERDALE, FL 33316


                    MARTIN DOWNEN
                    PO BOX 202
                    PONDERAY, ID 83852


                    MARTIN EARHART
                    101 BIG PINE MTN
                    YELLVILLE, AR 72687-8625


                    MARTIN FAVINO
                    44 HY-VUE DRIVE
                    NEWBURGH, NY 12550




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 201 of 326
                    MARTIN GILLETTE
                    29908 VIOLET HILLS DR
                    CANYON CNTRY, CA 91387-1934


                    MARTIN GRILL
                    4694 WESTHAMPTON
                    WILLIAMSBURG, VIRGINIA 23188-0000


                    MARTIN KARGE
                    17695 S FIELDSTONE CT
                    OREGON CITY, OR 97045-8029


                    MARTIN TOWER
                    18 VOLLMER PKWY
                    ROCHESTER, NY 14623-5126


                    MARTIN TRACY
                    113 PEIRCE ROAD
                    WILMINGTON, DE 19803


                    MARTY MOTHERSHEAD
                    3154 SOUTH MCCORMICK WAY
                    BOISE, ID 83709


                    MARVIN FOX
                    PO BOX 276
                    ARNOLD, NE 69120


                    MARY ANN MAHONEY
                    7079 HIGHCLIFF TRAIL
                    TUJUNGA, CA 91042


                    MARY DRUMMOND
                    OR MELVIN (BUD) DRUMMOND
                    ***CALL FOR PICKUP***


                    MARY FINOWSKI
                    4505 ORCHARD PARK DR
                    PARMA, OH 44134


                    MARY HEALEY
                    3117 STARLIGHT DR
                    BRYAN, TX 77808-6031




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 202 of 326
                    MARY J BOYD
                    13314 LA VENTA DR
                    POWAY, CA 92064-4504


                    MARY MOORE
                    OR DELVIN MOORE
                    PO BOX 84
                    GRANGEVILLE, ID 83530-0084


                    MARY POTTS
                    4990 COUNTY ROAD 10 N
                    DEL NORTE, CO 81132-9626


                    MARY SAENZ
                    2807 CARRINGTON LAKES BLVD
                    CANTONMENT, FL 32533-4221


                    MARYBETH MORK
                    N6397 BLACK LAKE RD
                    OGDENSBURG, WI 54962-9793


                    MASTER NICHOLAS KRICK
                    PO BOX 51
                    NEW CASTLE, CO 81647-0051


                    MATT EDWARDS
                    2100 KINGFISH ROAD
                    NAPLES, FL 34110


                    MATT GORBACZ
                    17 NOTCH RD
                    OAK RIDGE, NJ 07438-8840


                    MATT GROHS
                    1800 S 250TH ST
                    DES MOINES, WA 98198-8519


                    MATT JANISIN
                    1620 MEADOW LANE
                    ELKHORN, WI 53121


                    MATT NIXON
                    5905 REPUBLIC OF TEXAS BLVD
                    AUSTIN, TX 78735




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 203 of 326
                    MATT OLIG
                    2921 CEDROW LANE
                    WALNUT CREEK, CA 94598


                    MATT OSWALD
                    11620 PAINTBRUSH LN
                    POCATELLO, ID 83202-3402


                    MATT RAYMOND
                    3110 ESSINGTON DR
                    DUBLIN, OH 43017-1762


                    MATT STIEHL
                    103 LAKOTA CT
                    SMYRNA, TN 37167


                    MATT SUMMERVILLE
                    3351 PRAIRIE VISTA COURT
                    RICHFIELD, OH 44286


                    MATT WEISSKOPF
                    4032 230TH STREET
                    VICTOR, IA 52347


                    MATTHEW ALLEN
                    1405 GODFREY DR
                    NORMAL, IL 61761-1941


                    MATTHEW BAILY
                    724 E AVENUE J10
                    LANCASTER, CA 93535-4134


                    MATTHEW BALDERSON
                    9507 OLD SOLOMONS ISLAND RD
                    OWINGS, MD 20736-3411


                    MATTHEW BEARD
                    12516 LEIGHTON DRIVE
                    CALEDONIA, IL 61011


                    MATTHEW CARSWELL
                    122 WILL NEW BLVD.
                    CANASTOTA, NY 13032




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 204 of 326
                    MATTHEW CORD
                    APT 41
                    2000 S MELROSE DR
                    VISTA, CA 92081-8758


                    MATTHEW DAPKUS
                    3324 AMBLESIDE DR
                    SPRINGFIELD, OR 97477-6733


                    MATTHEW GOETTEMOELLER
                    ***CALL FOR SHIPPING INSTRUCTIONS***


                    MATTHEW GREEN
                    14259 HIGHWAY 392
                    GREELEY, CO 80631-9351


                    MATTHEW HILL
                    APT N
                    347 AUTUMN CREEK DR
                    VALLEY PARK, MO 63088-2418


                    MATTHEW KALVAITIS
                    1924 W 203RD AVE
                    LOWELL, IN 46356-9114


                    MATTHEW KARL
                    5962 HOLLOW WOOD CT.
                    WINSTON SALEM, NC 27104


                    MATTHEW KONKLE
                    14302 E BROADWAY AVE
                    SPOKANE VALLEY, WA 99216


                    MATTHEW MADSEN
                    609 NE 20TH PL
                    NEWPORT, OR 97365-1818


                    MATTHEW MILLER
                    11 PAINE ROAD
                    FOSTER, RI 02825-1439


                    MATTHEW NIEHAUS
                    350 EAST TAYLOR STREET
                    APT 5209
                    SAN JOSE, CA 95112



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 205 of 326
                    MATTHEW ROE
                    80 SOUTH MAIN ST
                    CANANDAIGUA, NY 14424


                    MATTHEW SAMUEL
                    2801 W BROADWAY APT P4
                    COLUMBIA, MO 65203-7648


                    MATTHEW SMITH
                    16 ALABAMA RD SOUTH
                    LEHIGH ACRES, FL 33936


                    MATTHEW STELMAN
                    28833 PATRICIA AVE
                    WARREN, MI 48092


                    MATTHEW WENDELKEN
                    2101 10TH AVE
                    STERLING, IL 61081


                    MATTHEW ZEHR
                    CALL WHEN READY FOR PICKUP


                    MAUREEN ILSLEY
                    17 MORSE HILL RD
                    WEST PARIS, ME 04289-5320


                    MAURICE WHITNEY
                    44 SHOSHONI DRIVE
                    SHERWOOD, AR 72120


                    MAX HENDERSON
                    PO BOX 4010
                    SEVIERVILLE, TN 37864


                    MAXWELL BONNEAU
                    2613 AZTEC DRIVE NW
                    OLYMPIA, WA 98502


                    MCMASTER CARR SUPPLY CO.
                    PO BOX 7690
                    CHICAGO, IL 60680-7690




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 206 of 326
                    MEDALLIC ART COMPANY, LLC
                    80 EAST AIRPARK VISTA BLVD
                    DAYTON, NV 89403


                    MEETA PATEL
                    3778 WAVERLY ROAD
                    OWEGO, NY 13827


                    MEGAN REILE
                    329 SYLVAN KNOLL RD
                    STAMFORD, CT 06902


                    MEL MEYER
                    5127 N 129TH STREET
                    OMAHA, NE 68164


                    MELANIE MURPHY HEISER
                    1200 NW BLAKELY CT
                    SEATTLE, WA 98177-4340


                    MELISSA SMAY
                    15304 39TH AVE E
                    TACOMA, WA 98446


                    MELODY HARPOLE
                    8069 MOUNT ANGEL HWY NE
                    SILVERTON, OR 97381-9674


                    MELVIN BLACKBURN
                    20197 NANDINA AVE
                    PERRIS, CA 92570


                    MELVIN LORA
                    507 W ROYAL TROON PLACE
                    GREEN VALLEY, AZ 85614


                    MENDOZA LAW CENTER PLLC
                    PO BOX 66890
                    BURIEN, WA 98166


                    MEREDITH HYMAN
                    2407 LARKIN RD
                    UPPR CHICHSTR, PA 19061-2616




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 207 of 326
                    MERLE STEFFEN
                    901 14TH STREET S
                    BENSON, MN 56215


                    MERRI STRACHAN
                    1938 CHIMNEY FLAT CT
                    COOL, CA 95614-2547


                    MICAH GERRITY
                    486 S. FLOAT AVE
                    FREEPORT, IL 61032


                    MICHAEL & JAMIE SCHENCK
                    134 GARDEN ROAD
                    SHREWSBURY, NJ 07702


                    MICHAEL & MARY BERNARD
                    14035 NE 5TH STREET
                    BELLEVUE, WA 98007


                    MICHAEL ANCONA
                    11285 WHISTLE LAKE RD
                    ANACORTES, WA 98221


                    MICHAEL AND MARLA SARE
                    7388 SOUTH AQUARIUS DR
                    MOHAVE VALLEY, AZ 86440


                    MICHAEL ANDERSON
                    1235 7TH ST
                    HAVRE, MT 59501-4221


                    MICHAEL ARNOLD
                    BOX 7317
                    5417 MUDDYSTRING RD
                    STAR VLY RNCH, WY 83127-5099


                    MICHAEL BECKHAM
                    2911 ERMINE WAY
                    FARMERS BRNCH, TX 75234-4932


                    MICHAEL BELMONT
                    W7440 COUNTY ROAD G
                    PARDEEVILLE, WI 53954-9511




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 208 of 326
                    MICHAEL BENAVIDES
                    STE 101
                    1350 N BUCKNER BLVD
                    DALLAS, TX 75218-3558


                    MICHAEL BREHM
                    6776 EAST VALLEY RD
                    MT PLEASANT, MI 48858


                    MICHAEL BUCHANAN
                    164 WASHINGTON ST
                    MANLIUS, NY 13104-1913


                    MICHAEL C SKIBA JR
                    N4716 LAKE DRIVE
                    HUSTISFORD, WI 53034


                    MICHAEL CAMPBELL
                    42 MEADOWBRIDGE DR SW
                    CARTERSVILLE, GA 30120


                    MICHAEL CAUDILL
                    23920 DRAKE SKIDMORE RD
                    WEST MANSFIELD, OH 43358


                    MICHAEL CHERRY
                    3900 PARK WOOD DR
                    CORINTH, TX 76208-5375


                    MICHAEL CHIAPPA
                    9 WHITTIER HILL RD
                    NORTH SALEM, NY 10560


                    MICHAEL CHRISTY
                    2705 WYATT WAY
                    YUKON, OK 73099-7855


                    MICHAEL CLEEK
                    37845 LOWESWATER STREET
                    INDIO, CA 92203


                    MICHAEL CLINE
                    773 STOWELL DR APT 1
                    ROCHESTER, NY 14616-1835




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 209 of 326
                    MICHAEL DAUBENSPECK
                    3640 LAS VEGAS BLVD N #173
                    LAS VEGAS, NV 89115


                    MICHAEL DAUK
                    3525 CENTERVILLE RD
                    VADNAIS HTS, MN 55127-7125


                    MICHAEL DAVIS
                    1605 SUMMIT POND CIR
                    LOGANVILLE, GA 30052-5395


                    MICHAEL DEFURIO
                    24 BROOK HOLLOW DRIVE
                    AUBURN, NY 13021


                    MICHAEL DEVINE
                    3819 DEER HAVEN DR
                    ELIZABETHTOWN, KY 42701-8475


                    MICHAEL DIEFENBACH
                    661 JIM TOWN RD
                    MOORESBURG, TN 37811-2447


                    MICHAEL DITTRICH
                    C/O HANDBAG BAZAAR
                    4010 SUMMER HILL SQUARE
                    TEXARKANA, TX 75503


                    MICHAEL ELLIS
                    400 STANDING OAKS LANE
                    SEALY, TX 77474


                    MICHAEL ERRICO
                    5409 PROMONTORY LN
                    LONG GROVE, IL 60047-5061


                    MICHAEL EWEN
                    1215 N OAK ST
                    BLOOMINGTON, IL 61701-1650


                    MICHAEL EWING
                    7205 LITTLE HILL RD
                    AUBURN, CA 95602-7913




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 210 of 326
                    MICHAEL FRANK
                    514 CYPRESS BND
                    OLDSMAR, FL 34677-5513


                    MICHAEL GANTENBEIN
                    UNIT 166
                    5585 E PACIFIC COAST HWY
                    LONG BEACH, CA 90804-9456


                    MICHAEL GARBER
                    3405 DESCANNES HIGHWAY
                    IOTA, LA 70543


                    MICHAEL GELIN
                    5035 STERLING GROVE LANE
                    SAN DIEGO, CA 92130


                    MICHAEL GORMAN
                    330 NW AUTUMN PLACE
                    CORVALLIS, OR 97330


                    MICHAEL GULDAN
                    28 RIVERVIEW ROAD
                    WHEATLAND, WY 82201


                    MICHAEL HALL
                    10507 S 179TH AVE
                    OMAHA, NE 68136-1597


                    MICHAEL HAUPTMAN
                    12165 S 2845 W
                    RIVERTON, UT 84065-7646


                    MICHAEL HETZEL
                    30028 SE 392ND STREET
                    ENUMCLAW, WA 98022


                    MICHAEL JONES
                    1121 BRIARCREST SUITE 303
                    BRYAN, TX 77802


                    MICHAEL JORDAN
                    540 FAWN RUN
                    ALPHARETTA, GA 30005-3628




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 211 of 326
                    MICHAEL KELLY
                    5054 NE ADMIRALTY WAY
                    HANSVILLE, WA 98340


                    MICHAEL KLIMSTRA
                    2031 BLUE DRIVE
                    PELLA, IA 50219


                    MICHAEL LANGTON
                    30 VERBENA BEND PLACE
                    SPRING, TX 77382


                    MICHAEL LAPOS
                    225 E PARK ST
                    BELLE PLAINE, MN 56011-1925


                    MICHAEL LAROSSA
                    2735 COMMERCE PKWY
                    NORTH PORT, FL 34289-9374


                    MICHAEL LINDSAY
                    7108 BRETT PT
                    CHEYENNE, WY 82009-3859


                    MICHAEL LISTON
                    4161 MILLERSBURG RD
                    GAMBIER, OH 43022-9741


                    MICHAEL LUPO
                    1343 DEEP RUN ROAD
                    NAPERVILLE, IL 60540


                    MICHAEL MACMULLEN
                    10062 STONEHENGE CIRCLE
                    APT 101
                    BOYNTON BEACH, FL 33437


                    MICHAEL MAIMONE
                    APT 203
                    22501 DEL VALLE ST
                    WOODLAND HLS, CA 91364-1440


                    MICHAEL MARMON
                    270 GARDEN DRIVE
                    PASCO, WA 99301



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 212 of 326
                    MICHAEL MARTIN
                    3535 S WOODRIDGE RD
                    MOUNTAIN BRK, AL 35213-3803


                    MICHAEL MCKELL
                    642 KIRBY LN STE 105
                    SPANISH FORK, UT 84660-5753


                    MICHAEL MOORE
                    5514 HARMONY LN
                    QUARTZ HILL, CA 93536-4413


                    MICHAEL MOORMAN
                    32648 DARBY RD
                    DADE CITY, FL 33525-0306


                    MICHAEL MORRIS
                    481 FISH HATCHERY RD
                    FOREST HILL, LA 71430


                    MICHAEL NELSON
                    1601 ROACH ST
                    SALINA, KS 67401-6427


                    MICHAEL NOVIA
                    ***CALL FOR PICKUP***
                    28158 24TH PL S
                    FEDERAL WAY, WA 98003


                    MICHAEL O WILLIS
                    CALL WHEN READY FOR PICK UP
                    206-550-2647
                    WA


                    MICHAEL O'NEIL
                    720 MAIN STREET
                    LONGMONT, CO 80501


                    MICHAEL OLSA
                    1028 PINEBROOK DRIVE
                    CLEARWATER, FL 33755


                    MICHAEL OR SHELBY NUCKOLS
                    200 MANATEE ST
                    CAPE CARTERET, NC 28584-9280



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 213 of 326
                    MICHAEL OUIMETTE
                    1629 HASLETT ROAD # 296
                    HASLETT, MI 48840


                    MICHAEL OWENS
                    PO BOX 284
                    ONIDA, SD 57564


                    MICHAEL PARNELL
                    2840 RIVERWALK PLACE
                    EAST WENATCHEE, WA 98802


                    MICHAEL PHILIPPS
                    1100 SANDPIPER TRAIL
                    COTTAGE GROVE, WI 53527


                    MICHAEL PROVSTGAARD
                    808 WEST 5950 SOUTH
                    PALMYRA, UT 84660


                    MICHAEL QUIGLEY
                    3372 CENTER STREET RD
                    AUBURN, NY 13021-9142


                    MICHAEL RAGAN
                    8122 WHITTING DRIVE
                    MANASSAS, VA 20112


                    MICHAEL RAWLS
                    385 CARROLL ROAD
                    OAK GROVE, LA 71263


                    MICHAEL RICE
                    8908 TRAIL CREEK DR
                    SHERWOOD, AR 72120


                    MICHAEL ROBINSON
                    6711 W CHARLESTON BLVD
                    APT 2
                    LAS VEGAS, NV 89146


                    MICHAEL SCAVELLO
                    198 JOHANNA DRIVE
                    KING OF PRUSSIA, PA 19406




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 214 of 326
                    MICHAEL SCHAFFNER
                    28W730 ROGERS AVE
                    WARRENVILLE, IL 60555-3428


                    MICHAEL SCHNEIDER
                    UNIT 2
                    287 LANGLEY RD
                    NEWTON, MA 02459-2373


                    MICHAEL SCHWARTZ
                    55 COVE DR
                    MANHASSET, NY 11030-1310


                    MICHAEL SIMPSON
                    3271 GULF BREEZE PKWY
                    GULF BREEZE, FL 32563-3349


                    MICHAEL SNYDER
                    737 MAGNOLIA CIRCLE
                    LOMBARD, IL 60148


                    MICHAEL SPINCK
                    1655 WEST LINDER AVENUE
                    MESA, AZ 85202


                    MICHAEL STERLING
                    5200 32ND ST N
                    ARLINGTON, VA 22213


                    MICHAEL STRAIN
                    SPECTRUM DIGITAL INC
                    12502 EXCHANGE DR STE 440
                    STAFFORD, TX 77477-3608


                    MICHAEL TAKUSKI
                    19107 BURNSIDE BRIDGE RD
                    KEEDYSVILLE, MD 21756-1601


                    MICHAEL TARASENKO
                    420 YAKIMA BLVD
                    PACIFIC, WA 98047


                    MICHAEL TRAUGOTT
                    9330 HWY 87 E
                    SAN ANTONIO, TX 78263



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 215 of 326
                    MICHAEL TRAVERS
                    117 ALISSA DR
                    TOMS RIVER, NJ 08753-8115


                    MICHAEL TREANOR
                    49 MEADOWOOD LANE
                    CROSSVILLE, TN 38558


                    MICHAEL WALLNER
                    1501 DOUGLAS AVE
                    RACINE, WI 53404


                    MICHAEL WALTERS
                    6113 JACKS AVE
                    OKLAHOMA CITY, OK 73149


                    MICHAEL WILLIS
                    1415 84TH ST SE UNIT 7
                    EVERETT, WA 98208


                    MICHAEL WOLF
                    1851 SAVANNAH CT
                    WILMINGTON, NC 28403-5381


                    MICHAEL YAUDE
                    2041 MCCLELLAND AVE
                    TAMPA, FL 33621-1603


                    MICHAEL YOURTZ
                    9256 VIAGGIO WAY
                    HGHLNDS RANCH, CO 80126-3614


                    MICHEAEL STONE
                    29321 S PLUM CREEK DRIVE
                    SPRING, TX 77386


                    MICHEAL L.R. MEADE SR.
                    8723 W WESTBROOK DRIVE
                    BOISE, ID 83704-3359


                    MICHELE ARMET
                    PO BOX 40948
                    SANTA BARBARA, CA 93140




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 216 of 326
                    MICHELLE KRUMNOW
                    3225 S 97TH STREET
                    MILWAUKEE, WI 53227


                    MICHELLE SCHIAU
                    580 ANGLERS DR UNIT 203
                    STEAMBOAT SPR, CO 80487-8868


                    MICHELLE WHITTLESEY
                    816 LAKE TAHOE DR
                    PAPILLION, NE 68046


                    MIKE & SUE BATEMAN
                    75 NORTH HWY 24
                    RUPERT, ID 83350


                    MIKE BRITTON
                    32 SUGAR BEET ROW
                    WHITEHALL, MT 59759


                    MIKE CAMERON
                    297 HOWE RD
                    PORT ANGELES, WA 98362


                    MIKE DAVIS
                    BEACHWEAR ETC
                    172 CHANCE ALA MER
                    OCEAN SHORES, WA 98569


                    MIKE DUCIC
                    6410 SMOKE HOUSE DR.
                    KATY, TX 77449


                    MIKE EARL
                    629 COUNTY RD 470
                    SCOTTSBORO, AL 35768


                    MIKE GALLEN
                    312 HENDEL STREET
                    SHILLINGTON, PA 19607


                    MIKE KENNEDY
                    405 SNYDER ST
                    RICHLAND, WA 99354-1945




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 217 of 326
                    MIKE KOUZA
                    573 MAIN ST
                    BELLEVILLE, MI 48111-2649


                    MIKE LANDHERR
                    1900B OAK TREE LN
                    AUSTIN, MN 55912-1662


                    MIKE MARCHAND
                    5191 BARNETT LOOP ROAD
                    SHINGLE SPRINGS, CA 95682


                    MIKE MEDEIROS
                    13 GROVE ST
                    FALL RIVER, MA 02720


                    MIKE NICHOLAS
                    79 FORDHAM CIRCLE
                    PUEBLO, CO 81005


                    MIKE PHILLIPS
                    2556 WOODSON AVE
                    NEVADA, WA 89052


                    MIKE RAY HOWARD
                    1415 293RD AVE NE
                    CARNATION, WA 98014


                    MIKE SIMPSON
                    445C E CHEYENNE MTN BLVD #119
                    COLORADO SPGS, CO 80906-4560


                    MIKE STUMP
                    36015 HUFF RD
                    EUSTIS, FL 32736-8852


                    MIKE SULLIVAN
                    TAX ASSESSOR-COLLECTOR
                    PO BOX 4622
                    HOUSTON, TX 77210-4622


                    MIKE TAYLOR
                    210 CEDAR HOLLOW COURT
                    WEST LAFAYETTE, IN 47906




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 218 of 326
                    MIKE THORNOCK
                    505 RIVERFRONT ROAD
                    MABTON, WA 98935


                    MIKE TROUT
                    CALL FOR PICKUP


                    MIKE VAESSEN
                    3157 EMORY STREET
                    GREEN BAY, WI 54311


                    MIKE VELKE
                    11116 301ST STREET E
                    GRAHAM, WA 98338


                    MILAN MATULICH
                    12505 STEINER ROAD
                    PLYMOUTH, CA 95669


                    MILDRED HEIDT
                    1413 S. 13TH AVE.
                    YAKIMA, WASHINGTON 98902-0000


                    MILISSA BAUER
                    338 CORBETT LN
                    CLARION, PA 16214-7008


                    MILLARD WIRE COMPANY
                    449 WARWICK INDUSTRIAL DRIVE
                    WARWICK, RI 02886-2416


                    MILLARD WIRE COMPANY
                    PO BOX 418819
                    BOSTON, MA 02241-8819


                    MILTON HARRIS
                    51 KEPLER RD
                    GLENMORA, LA 71433


                    MITCH ROBISON
                    3960 E BELLEFNTAIN RD APT 1
                    HAMILTON, IN 46742




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 219 of 326
                    MITCH WARNIKE
                    4448 EAST CLIFF ROAD
                    PORT CLINTON, OH 43452


                    MITCHELL HALFEN
                    19 WINOKA DR
                    HUNTINGTN STA, NY 11746-2050


                    MOHAMED ELNADI
                    13180 STAPELTON DR.
                    FRISCO, TX 75033


                    MONARCH METAL FINISHING CO, INC.
                    189 GEORGIA AVENUE
                    PROVIDENCE, RI 02905


                    MONICA KOSS
                    CALL FOR PICKUP


                    MONTE LEVAQUE
                    PO BOX 2517
                    MOUNT VERNON, WA 98273-7517


                    MONTES COINS INC
                    445 N. 3RD AVE
                    STAYTON, OR 97383


                    MONTY ARCHER
                    PO BOX 802
                    OKANOGAN, WA 98840


                    MORDY DUKE
                    11008 QUO VADIS DR
                    ARCADIA, OK 73007-7822


                    MORGAN DUNN
                    19032 NUTMEG STREET SW
                    ROCHESTER, WA 98579


                    MORRIS BROWN
                    1121 TOBY ST
                    ALVARADO, TX 76009




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 220 of 326
                    MORRIS GROSS
                    304 MADOLE STREET
                    ATHENS, TX 75751


                    MOSES K KALOUSTIAN
                    484 HIGH CLIFFE LN
                    TARRYTOWN, NY 10591-5201


                    MR JB
                    3611 NORTH PRICE WAY
                    MERIDIAN, ID 83646


                    MRIDUL GOGOI
                    OR SANGHAMITRA 'MITRA' BORGOHAIN
                    ***CALL FOR PICKUP***


                    MSC INDUSTRIAL SUPPLY
                    2300 EAST NEWLANDS DRIVE
                    FERNLEY, NV 89408


                    NABIL ROWHANI
                    2661 N HUMBOLDT BLVD
                    MILWAUKEE, WI 53212-3022


                    NACOBRE USA LLC
                    JP MORGAN CHASE
                    LOCKBOX 301268
                    DALLAS, TX 75303-1268


                    NANCY & JAMES ZIMMERMAN
                    5643 DEVONSHIRE STREET SE
                    OLYMPIA, WA 98501


                    NANCY HARRIS
                    2004 RED BANKS RD
                    MOUNT JACKSON, VA 22842-3012


                    NANCY HOVSEPIAN
                    8525 NE 176TH ST
                    BOTHELL, WA 98011-1896


                    NANCY J. SMITH
                    PO BOX 6127
                    GREAT FALLS, MT 59406




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 221 of 326
                    NANCY POLLITT
                    9529 LICKING PIKE
                    ALEXANDRIA, KY 41001


                    NANCY STEIN
                    2223 SHERWOOD LANE
                    SALINA, KS 67401


                    NANETTE VAN LOON
                    8450 BLVD EAST
                    APT 1F
                    NORTH BERGEN, NJ 07047


                    NATHAN BROWN
                    16374 E. 590 RD.
                    HENNESSEY, OK 73742


                    NATHAN FORKNER
                    10409 S 900 RD
                    RICHARDS, MO 64778-2643


                    NATHAN MORRIS
                    7313 TALL ROAD
                    ALVARADO, TX 76009


                    NATHAN NEMNICH
                    479 JOSEPH DRIVE
                    POCAHONTAS, IL 62275


                    NATHAN RICHARDSON
                    3202 17TH AVE W
                    APT 208
                    WILLISTON, ND 58801


                    NATHAN SPEAR
                    6 GARDEN LANE
                    BRUNSWICK, ME 04011


                    NATHAN SPELLERBERG
                    9507 W DODGE RD
                    OMAHA, NE 68114


                    NATHAN WINN
                    2033 GARZONI PL
                    SANTA CLARA, CA 95054-1667



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 222 of 326
                    NEAL CHOQUETTE
                    C/O AMERICAN LAND CORP.
                    21031 CATAWBA AVE STE 105
                    CORNELIUS, NC 28031


                    NEAL WEIL
                    1031 EL CAMINO CIR
                    BOULDER CITY, NV 89005-2228


                    NEIL MARTIN
                    990 NORTHFIELD DR
                    ELIZABETHTOWN, PA 17022-1456


                    NEIL MAYHEW
                    16104 SOUTH COUNTY RD 325
                    HAWTHORNE, FL 32640


                    NEIL SAWYER
                    4616 145TH STREET COURT EAST
                    TACOMA, WA 98446


                    NEIL WESTERLUND
                    25330 ST HWY 47
                    AITKIN, MN 56431


                    NELLY BLACKER-HANSON
                    2628 DON PEDRO NWE
                    ALBUQUERQUE, NM 87104


                    NETXPOSURE, INC.
                    735 SW 1ST AVENUE, SUITE 300
                    PORTLAND, OR 97204


                    NEVADA HEAT TREAT
                    12 INDUSTRIAL PK WAY
                    MOUND HOUSE, NV 89706


                    NEVADA OCCUPATIONAL HEALTH CENTER
                    10580 N.MCCARRAN BLVD 115-34
                    RENO, NV 89503


                    NFUSION SOLUTIONS
                    716 COUNTRY ROAD 10 NE
                    SUITE 181
                    BLAINE, MN 55434



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 223 of 326
                    NICHOLAS THORNE
                    529 W WHITCOMB AVE
                    GLENDORA, CA 91741-0212


                    NICHOLAS WILLIAMS
                    C/O CASSUBHAI LAW PLLC
                    701 FIFTH AVE STE 4200
                    SEATTLE, WA 98104-5119


                    NICHOLAS WOWK
                    PO BOX 4873
                    CHINO VALLEY, AZ 86323


                    NICK BERSAGLIERI
                    5370 CAVES HWY
                    CAVE JUNCTION, OR 97523-9853


                    NICK FEBBRARO
                    13512 COUNTY ROAD 6
                    FORT LUPTON, CO 80621


                    NICK GOSNEY
                    1557 SW BERMEL AVE
                    PORT ST LUCIE, FL 34953-5202


                    NICK LOMBARDI
                    1187 HODGSON RD
                    COLUMBIA FLS, MT 59912-9028


                    NICK POPE
                    809 HIGH STREET
                    PARIS, KY 40361


                    NICK SEYBERT
                    2617 W MEYERS RD
                    SAN BERNARDINO, CA 92407


                    NICOLE (NIKKI) BABIE
                    4389 WILDFLOWER LANE
                    VICTORIA, BC V8X5H1


                    NIDIA SANTOS
                    1569 TERRY LYNN LANE
                    CONCHORD, CA 94521




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 224 of 326
                    NIKKOLAS ST DJAEZ
                    5751 - A CARPINTERIA AVE
                    CARPINTERIA, CA 93013


                    NIKOLAOS ANTONOPOULOS
                    4113 NE 77TH ST
                    SEATTLE, WA 98115-5125


                    NOEL LAVIGNE
                    25506 PALMER PLACE
                    BLACK DIAMOND, WA 98010


                    NOEL MANN
                    215 SHADOW WOOD DRIVE
                    HATTIESBURG, MS 39402


                    NOEL RAMIREZ
                    P.O. BOX 14877
                    TUMWATER, WA 98511


                    NOLEN HARTER
                    11990 EARTHSTAR PLACE
                    SANTA MARGERITA, CA 93453


                    NONNA TARASENKO
                    420 YAKIMA BLVD
                    PACIFIC, WA 98047


                    NORM FREYTAG
                    2301 BROOKDALE DRIVE
                    BROOKLYN PARK, MN 55444


                    NORMA BUCK
                    4226 EASY K ROAD
                    FRANKLIN, AR 72536


                    NORMA WIBRIGHT
                    2557 HAWK WAY NE
                    MARIETTA, GA 30066-1507


                    NORMAN ABRAHAM
                    208 EAST BROADWAY APT 1804
                    NEW YORK, NY 10002




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 225 of 326
                    NORMAN KINCAIDE
                    31101 N 3950 ROAD
                    RAMONA, OK 74061


                    NORMAN WINTER
                    340 SE 582 TRAIL
                    LOCUST GROVE, OK 74352


                    NORTH CENTRAL TOOL & DIE, INC.
                    PO BOX 16688
                    HOUSTON, TX 77222


                    OLEN MILLER
                    1242 NORTH MAIN STREET
                    TIPTON, IN 46072


                    OLIVIA CROMER
                    1885 NEAL DRIVE
                    CLARKSTON, WA 99403


                    OMAR AHMED
                    2451 MIDTOWN AVE APT 1020
                    ALEXANDRIA, VA 22303-1432


                    ORA CONLON
                    1009 WILLIAMS STREET
                    FLATWOODS, KY 41139


                    OREN FAREN
                    844 US ROUTE 224
                    NOVA, OH 44859


                    ORSON AND BRUSINI, LTD
                    144 WAYLAND AVENUE
                    PROVIDENCE, RI 02906


                    OSCAR CROMER
                    6700 COX ROAD
                    FALLON, NV 89406


                    OSCAR MOORE
                    3860 SC HIGHWAY 391
                    PROSPERITY, SC 29127-8369




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 226 of 326
                    OTTO GUEVARA
                    15514 EAGLE VALLEY DR
                    CYPRESS, TX 77429-6064


                    OWEN B COTTLE
                    2406 BENNINGTON DRIVE
                    FISHKILL, NY 12524


                    PAMELA ZACHER
                    7835 NE PARK LANE
                    OTIS, OR 97368


                    PAN AMERICAN SILVER CORP
                    1500 - 625 HOWE ST
                    VANCOUVER, BC V6C 2T6
                    CANADA


                    PARIS TEMPLIN
                    PO BOX 666
                    MARYSVILLE, WA 98270


                    PARKE LARSON
                    710 HAMBLETON RD
                    TIETON, WA 98947


                    PASCAL SALESSES
                    PO BOX 393
                    MOUNT SHASTA, CA 96067


                    PAT GEARHISER
                    941 PEACHTREE DRIVE
                    MOSCOW, ID 83843


                    PAT GOINS
                    1213 FOSTERS MILL LANE
                    BOYNTON BEACH, FL 33436


                    PAT MCCAW
                    PO BOX 592
                    OCEAN PARK, WA 98640


                    PAT ODAY SR
                    16218 VILLAGE DR SE
                    RAINIER, WA 98576-9699




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 227 of 326
                    PAT SHEETZ
                    460 S 350 W
                    VALPARAISO, IN 46385-9632


                    PATRICIA FIFER
                    3441 NE 18TH AVE
                    PORTLAND, OR 97212-2331


                    PATRICIA HAYNIE
                    203 SOUTH STREET
                    SIMPSONVILLE, SC 29681


                    PATRICIA KEAN
                    1359 E BARRETT DRIVE
                    SAN TAN VALLEY, AZ 85143


                    PATRICIA MARVELL
                    2828 PATE ROAD
                    CALERA, OK 74730


                    PATRICIA MCAFOOS
                    544 LOWER TWOLICK DRIVE
                    INDIANA, PA 15701


                    PATRICIA MONTAG
                    317 SAND HILL RD
                    ASHEVILLE, NC 28806


                    PATRICK CRONIN
                    21435 N BRUELLA RD
                    PO BOX 158
                    ACAMPO, CA 95220-9417


                    PATRICK FLANAGAN
                    RR#1 BOX 17980
                    PATTERSON, MO 63956


                    PATRICK KARL
                    705 THICKET LANE
                    BILLINGS, MT 59101


                    PATRICK KELLY
                    PO BOX 53
                    HAMMOND, OR 97121




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 228 of 326
                    PATRICK KIRKWOOD
                    704 TWIN CREEKS DRIVE
                    ALLEN, TX 75013


                    PATRICK MCDERMOTT
                    42 VIRGINIA COURT
                    SAYVILLE, NY 11782


                    PATRICK MCELHINNEY
                    234 LARAWAY ST
                    OCEANSIDE, CA 92058-8622


                    PATRICK RILEY
                    100 AUTUMN PLACE
                    PONTE VEDRA BEACH, FL 32082


                    PATRICK WEINERT
                    1434 SWANN ST NW
                    WASHINGTON, DC 20009-3904


                    PAUL BERTOLI
                    345 PRATT AVE
                    SAINT HELENA, CA 94574-1069


                    PAUL BREZIK
                    2828 TERRACE DR
                    MCKINNEY, TX 75071-2701


                    PAUL BROWARD
                    2442 NW MARKET STREET #729
                    SEATTLE, WA 98107


                    PAUL BUZZA
                    139 S RIDGE AVE
                    GREENCASTLE, PA 17225-1153


                    PAUL COLLINS
                    16826 117TH PLACE NE
                    ARLINGTON, WA 98223


                    PAUL E RUPEL
                    775 WEST ROGER RD
                    #80
                    TUCSON, AZ 85705




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 229 of 326
                    PAUL FRONEK
                    605 PEBBLE BLVD
                    COVINGTON, GA 30016


                    PAUL HEINZELMANN
                    51 ANDERSON ST
                    BOSTON, MA 02114


                    PAUL JONES
                    516 GAY STREET
                    ROYERSFORD, PA 19468


                    PAUL KAHRHOFF
                    155 COVENTRY WAY
                    HIGHLAND, IL 62249


                    PAUL KOVACH
                    108 WESTCHESTER BLVD
                    BUFFALO, NY 14217-1461


                    PAUL KOWALCZYK
                    2119 WICKLOW RD
                    NAPERVILLE, IL 60564-3196


                    PAUL LATHAM
                    276 YUTE LANE
                    VENTURA, CA 93001


                    PAUL LIEBAU
                    W146N8313 SCHLAFER DRIVE
                    MENOMONEE FALLS, WI 53051


                    PAUL LIPP
                    1371 NORTH BELSAY RD
                    BURTON, MI 48509


                    PAUL MILKO
                    2125 FOUNTAIN VIEW DRIVE
                    LAS VEGAS, NV 89134


                    PAUL MONTON
                    340 CORONA PL
                    RIDGEWOOD, NJ 07450-2802




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 230 of 326
                    PAUL MUSTAIN
                    PO BOX 85
                    POTTER VALLEY, CA 95469


                    PAUL PACHECO
                    PO BOX 2233
                    CORRALES, NM 87048


                    PAUL QUILLEN
                    34981 DONNELLY ST
                    WESTLAND, MI 48185-3545


                    PAUL RATLIFF
                    PJR INVESTMENT GROUP, LLC
                    401 BRIGHTON KNOLLS DR
                    BRINKLOW, MD 20862-9709


                    PAUL RIES
                    7718 SPRINGFIELD DRIVE NW
                    GIG HARBOR, WA 98329


                    PAUL RODLAND
                    1128 REESE ROAD
                    WARRIORS MARK, PA 16877


                    PAUL SCHNEIDER
                    1435 22ND ST NW
                    AUBURN, WA 98001-3330


                    PAUL SCHROEDER
                    120 1ST ST NW
                    LE MARS, IA 51031-3508


                    PAUL SCHWIEGERAHT
                    3088 N DAVIS DR
                    CORNELIUS, OR 97113


                    PAUL SHEETS
                    PO BOX 454
                    SILVERTON, OR 97381


                    PAUL SLADE
                    142 N 3000 W
                    PROVO, UT 84601-5029




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 231 of 326
                    PAUL SMITH
                    106 W 219TH TERRACE
                    BELTON, MO 64012


                    PAUL STEVES
                    449 CORAL HARBOR DRIVE
                    MYRTLE BEACH, SC 29588


                    PAUL STRIEGEL
                    10751 WEST 143RD STREET
                    ORLAND PARK, IL 60462


                    PAUL STULIK
                    9639 E PASEO SAN ROSENDO
                    TUCSON, AZ 85747


                    PAUL TOWNSEND
                    ***CALL FOR PICKUP***


                    PAUL UHL
                    29172 200TH STREET
                    DALLAS CENTER, IA 50063


                    PAUL WILSON
                    62 BOARDWALK
                    SCOTTSBORO, AL 35769


                    PAYSON WILSON
                    24 COVE LANE
                    STANDISH, ME 04084


                    PEDRO CEPEDA
                    4297 WEST 190TH STREET
                    TORRANCE, CA 90504


                    PEG MORRIS
                    2 NORTH HAZEL STREET
                    TUNKHANNOCK, PA 18657


                    PENNWELL CORPORATION
                    21428 NETWORK PLACE
                    CHICAGO, IL 60673-1214




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 232 of 326
                    PENNY TESCH
                    402 25TH AVE PL
                    MILTON, WA 98354


                    PERRY LINVILLE
                    456 W. SANCHEZ TRL
                    GREENSBURG, IN 47240


                    PETE BERGER
                    227 DEERFIELD RD
                    ELMER, NJ 08318


                    PETE DOMINGUEZ
                    101 SHAWNEE AVE
                    SAN FRANCISCO, CA 94112


                    PETE ISOM
                    2359 18TH CIR WEST
                    WILLISTON, ND 58801


                    PETE SAVAGE
                    PO BOX 25907
                    MUNDS PARK, AZ 86017


                    PETE TAVAREZ
                    705 N DENSON DR
                    HOBBS, NM 88240-4904


                    PETER ADAMS
                    665 5TH STREET
                    GILROY, CA 95020


                    PETER DRAVILAS
                    22 WESCOTT LANE
                    SOUTH BARRINGTON, IL 60010


                    PETER GARN
                    541 MARLIN RD.
                    N. PALM BEACH, FL. 33408-0000


                    PETER GERMINARIO
                    40 BECKWITH AVE
                    PATERSON, NJ 07503




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 233 of 326
                    PETER HOFSAESS
                    1571 W AMARITA LANE
                    ANAHEIM, CA 92802


                    PETER HOYT
                    4755 SELLE ROAD
                    SAND POINT, ID 83864


                    PETER KARKOSKA
                    1530 EMPIRE AVE STE 100
                    PARK CITY, UT 84060-5207


                    PETER LEE
                    ***CALL FOR PICKUP***


                    PETER MANN
                    5201 SPRUCE AVE
                    WEST PALM BCH, FL 33407-2739


                    PETER MARTIN
                    5647 40TH AVE W
                    SEATTLE, WA 98199


                    PETER MULOCK
                    3446 N 94TH ST
                    MILWAUKEE, WI 53222-3554


                    PETER RONA
                    5257 NORTH FORK ROAD
                    EDEN, UT 84310


                    PETER SAEMISCH
                    11013 MT. CHARRON RD NW
                    HUNTSVILLE, AL 35810


                    PETER SOETAERT
                    262 HAPAKOLU PLACE
                    KIHEI, HI 96753


                    PETER SPARTAN
                    10622 PICTORIAL PARK DR
                    TAMPA, FL 33647-2548




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 234 of 326
                    PETER STERN
                    13 FOX RUN RD
                    BEDFORD, MA 01730


                    PETER THOMAS
                    5643 CAMINO CANADA
                    ALBUQUERQUE, NM 87114


                    PHIL BOLDMAN
                    18440 S.E. 280TH
                    KENT, WA 98042


                    PHIL HEYDENBURG
                    17594 72ND AVENUE
                    COOPERSVILLE, MI 49404


                    PHIL LAUVER
                    22107 COTTAGE HILL DR
                    GRASS VALLEY, CA 95949-8339


                    PHIL RUHNKE
                    PO BOX 66
                    GRANGEVILLE, ID 83530


                    PHILIP COFFER
                    697 N SHIRLEY AVE
                    CLOVIS, CA 93611


                    PHILIP KOENIG
                    W8634 STEVENSON DR
                    POYNETTE, WI 53955


                    PHILIP LATAPIE
                    26402 TURKEY RIDGE RD
                    BUSH, LA 70431-2345


                    PHILIP RINELLA
                    658 BELLEFONTE AVENUE
                    LOCK HAVEN, PA 17745


                    PHILIP STOLL
                    33377 VICS BEACH RD.
                    DENT, MN 56528




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 235 of 326
                    PHILLIP BLOCK
                    183 MUSSETT BAYOU CT
                    SANTA ROSA BEACH, FL 32459


                    PHILLIP BRAUN
                    10151 GILLILAND RD
                    VAN WERT, OH 45891


                    PHILLIP COX
                    10295 OLD COX ROAD
                    CHASE CITY, VA 23924


                    PHILLIP KUCHLER
                    PO BOX 908
                    QUEEN CREEK, AZ 85142


                    PHILLIP ROUSE
                    333 GRIDLINE RD
                    HONESDALE, PA 18431-6526


                    PHILLIP SCANLON
                    45 NORWICH DR
                    SEWELL, NJ 08080


                    PHILLIP SCHOEP
                    309 S 5TH STREET
                    MONTEVIDEO, MN 56265


                    PHYLLIS H LIEDTKE
                    671 LAKESIDE CIRCLE APT 902
                    POMPANO BEACH, FL 33060


                    PIET HUBLEIN
                    265 BASKINS RD
                    LAKELAND, GA 31635


                    PRASAD NUTAKKI
                    2858 EAST LOS ALTOS ROAD
                    GILBERT, AZ 85297


                    QUALITY BUSINESS SYSTEMS
                    PO BOX 398160
                    SAN FRANCISCO, CA 94139-8160




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 236 of 326
                    QUENTIN SAYERS SR
                    46 NORTH VALLEY VIEW LN
                    KEYSER, WV 26726


                    QUI DUC QUAN
                    1351 E 38TH ST
                    TACOMA, WA 98404


                    QUILL CORPORATION
                    P.O. BOX 37600
                    PHILADELPHIA, PA 19101-0600


                    QUINN GRONEMAN
                    1332 SAGE ST
                    EVANSTON, WY 82930-3354


                    QUINTON LONG
                    14003 CLUSTER OAK
                    SAN ANTONIO, TX 78231


                    R LEE GILLENWATER
                    6250 NE 198TH ST
                    KENMORE, WA 98028-8671


                    R&K HUDSON FAMILY LTD PARTNERS
                    2227 VINEMEAD COURT
                    KATY, TX 77450


                    R.G.FLAIR CO., INC.
                    199 SOUTH FEHR WAY
                    BAY SHORE, NY 11706


                    RA ALIM SHABAZZ
                    1008 MARCY AVENUE #203
                    OXON HILL, MD 20745


                    RACHEL ROSS-POSEY
                    ***CALL FOR PICKUP***


                    RALPH BOCHSLER
                    41210 KINGSTON LYONS DRIVE
                    STAYTON, OR 97383




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 237 of 326
                    RALPH DIXON
                    24 WESTERN AVE
                    HULL, MA 02045-1102


                    RALPH DUFRESNE
                    CALL FOR PICKUP
                    360-386-8180


                    RALPH GRANDMASON
                    66068 ESSEX RD N
                    PINELLAS PARK, FL 33782-2369


                    RALPH LANEY
                    1883 CAPRI DR
                    CHARLESTON, SC 29407


                    RALPH MILLS
                    585 WEST WILLIAMS
                    FALLON, NV 89406


                    RALPH OWEN
                    425 STONEHAVEN LANE
                    BLUE RIDGE, VA 24064


                    RALPH RAMSEY III
                    4522 109TH ST
                    LUBBOCK, TX 79424-5792


                    RALPH ROYER
                    18551 LYNN ROAD
                    NORT FORT MYERS, FLORIDA 33917-0000


                    RALPH S PISANO
                    820 W LINDA VISTA RD
                    ORACLE, AZ 85623-6078


                    RALPH SECOURA
                    100 CHESLEY AVENUE
                    BALTIMORE, MD 21206


                    RALPH SHAPLEY
                    2060 TATOM RD
                    PINELAND, TX 75968




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 238 of 326
                    RALPH STAIANO, MD
                    12740 CORTE CODILLERA
                    SALINAS, CA 93908


                    RALPH WILCOX
                    215 SASSAFRAS DR
                    DANVILLE, IN 46122


                    RAMDAS VAIDYANATHAN
                    CALL WHEN READY FOR PICKUP


                    RAMPART FOUNDATION
                    POB 787
                    COLUMBUS, IN 47202-0787


                    RANDAL HARLIN
                    2428 SW 91ST ST
                    OKLAHOMA CITY, OK 73159-6808


                    RANDAL M SMITH
                    4695 OBETZ REESE ROAD
                    COLUMBUS, OH 43207


                    RANDALL BOSTWICK
                    3536 WEISS ST APT 2
                    SAGINAW, MI 48602-3300


                    RANDALL FLOYD
                    709 7TH AVE SW
                    CONOVER, NC 28613-2823


                    RANDALL HUGHES
                    8202 E TULIP ROAD
                    SOLSBERRY, IN 47459


                    RANDALL KATUSKI
                    PO BOX 368
                    PRITCHARD, BC V0E 2P0


                    RANDALL LOVELACE
                    5021 W AR 58 HWY
                    MELBOURNE, AR 72556-8968




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 239 of 326
                    RANDALL MENDENHALL
                    4505 CAMELLIA LANE
                    WALKERTOWN, NC 27051


                    RANDALL POMAVILLE
                    8900 ABBEVILLE HWY
                    ANDERSON, SC 29621


                    RANDALL RICHARDS
                    2018 CLEARWATER AVE
                    PALMDALE, CA 93551-4114


                    RANDALL THOMPSON
                    706 A WEST ERVIN ROAD
                    VAN WERT, OH 45891


                    RANDAZZA LEGAL GROUP
                    3625 S. TOWN CENTER DRIVE, STE 150
                    LAS VEGAS, NV 89135


                    RANDELL HYLER
                    502 BRACKENBURY LANE
                    CHARLOTTE, NC 28270


                    RANDOLPH ECKLER
                    CALL FOR PICKUP


                    RANDY BOCK
                    2310 WEST MAIN STREET
                    NEWCASTLE, WY 82701


                    RANDY CHARLESWORTH
                    19207 G RD
                    DELTA, CO 81416


                    RANDY GIBBS
                    3000 S BIG TIMBER DR
                    COLUMBIA, MO 65201-7389


                    RANDY HICKS
                    1182 WYKAGYL RD
                    WESTCLIFFE, CO 81252-9148




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 240 of 326
                    RANDY LEIDING
                    P.O. BOX 332
                    480-300 BELFAST RD
                    LITCHFIELD, CA 96117-9715


                    RANDY LEWIS
                    130 PARK ST
                    CONCORD, CA 94520-1108


                    RANDY MENZER
                    10424 197TH STREET E
                    GRAHAM, WA 98338


                    RANDY MINNON
                    3821 MELODY LANE
                    PASCO, WA 99301


                    RANDY NELSON
                    DO NOT MAIL TO THIS ADDRESS
                    7615 190TH STREET CT E
                    PUYALLUP, WA 98375


                    RANDY RAPPUHN
                    4840 14TH ST NE
                    FESSENDEN, ND 58438


                    RANDY REISENBICHLER
                    223 FLORENCE ST
                    JACKSON, MO 63755


                    RANDY ROUHOFF
                    37088 COUNTY ROAD 3
                    LAKE CITY, MN 55041


                    RANDY STANGLER
                    823 INDUSTRIAL PARK DR SE
                    LONSDALE, MN 55046-4017


                    RANDY STUDDARD
                    5228 REED DRIVE
                    THE COLONY, TX 75506


                    RANDY SVITAK
                    2761 REMINGTON RD
                    MARION, KS 66861



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 241 of 326
                    RAY BRIANT
                    12102 PARK DRIVE
                    COOPER CITY, FL 33026


                    RAY DIPROFIO
                    PO BOX 1797
                    CLACKAMAS, OR 97015


                    RAY HOLLOWAY
                    8413 AMBROSSE LN.- UNIT 207
                    LOUISVILLE, KY 40299


                    RAY LAUBE
                    11761 ASHLAND WAY
                    YUCAIPA, CA 92399-3415


                    RAY PUGSLEY
                    2171 HANNIBAL STREET
                    SALT LAKE CITY, UT 84106


                    RAY VESSELS
                    337 TEHAMA ST, UNIT 1
                    ORLAND, CA 95963


                    RAY ZEMAN
                    357 MAGNOLIA STREET
                    DAVIDSON, NC 28036


                    RAYMOND ASHTON
                    6175 MOUNTAINWELL DRIVE
                    ROSWELL, GA 30075


                    RAYMOND BROWN
                    2426 RIGBY DR
                    COLOMBIA, SC 29204


                    RAYMOND CLEMENTZ
                    270 EMERSON AVE
                    BRONX, NY 10465-3115


                    RAYMOND ENGMAN
                    0S831 SKYLINE DR
                    BATAVIA, IL 60510-9779




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 242 of 326
                    RAYMOND FERRELL
                    312 BARATARIA BAY POINT
                    LAFAYETTE, LA 70508


                    RAYMOND GRIFFIN
                    146 HEIDI LN
                    LOGAN TWP, NJ 08085-1563


                    RAYMOND HINES
                    1001 S CHURCH ST UNIT 204
                    GREENVILLE, SC 29601


                    RAYMOND LESCHBER
                    420 CR 448
                    ROCKDALE, TX 76567


                    RAYMOND NEWSOM
                    37921 WORTHAM RD
                    OAKHURST, CA 93644-9331


                    RAYMOND POPE
                    1645 S MARION AVE
                    JANESVILLE, WI 53546


                    RAYMOND WILSON
                    5513 WOODBINE RD
                    NORFOLK, VA 23502


                    RAZAN SHARAF
                    214 VISION ST
                    MANOTICK, ON K4M0B5


                    REBECCA BURNS
                    306 N 4TH AVENUE
                    LAREDO, MO 64652


                    REBECCA S. STITH
                    EEOC SEATTLE DISTRICT OFFICE
                    909 FIRST AVE. STE 400
                    SEATTLE, WA 98104


                    RED WING SHOE STORE
                    444 E. WILLIAM STREET
                    SUITE 11
                    CARSON CITY, NV 89701



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 243 of 326
                    RED WING SHOE STORE
                    299 E PLUMB LANE, STE B
                    RENO, NV 89502


                    REGINA BOULWARE
                    OR STEPHEN BOULWARE
                    3039 SW DAFFODIL ST
                    PORT ORCHARD, WA 98367


                    RELJA LUKIC
                    4855 SILVER CREEK RD
                    HELENA, MT 59602


                    REMZI OZKUL
                    114 DEER LN
                    E STROUDSBURG, PA 18301-7977


                    RENE RUBIO
                    154 SCENIC LOOP DRIVE
                    GOLIAD, TEXAS 77963-0000


                    RENEE KRAKE
                    2202 GRANADA
                    IRVING, TX 75060


                    REX & BEVERLY CORBIN
                    347 MERRIBROOK TRAIL
                    DUNCANVILLE, TX 75116


                    REX DANYLUK
                    6511 YARMOUTH AVENUE
                    RESEDA, CA 91335


                    REX FLETCHER
                    20310 HUNTERS RUN
                    CANYON, TX 79015


                    REYNOLDS ADVANCE MATERIAL
                    10856 VANOWEN STREET
                    NORTH HOLLYWOOD, CA 91605


                    RICH BORLAND
                    2791 HASTINGS AVE
                    LOWER BURRELL, PA 15068




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 244 of 326
                    RICH JOOS
                    19530 HIGHWAY 314
                    BELEN, NM 87002-6378


                    RICH THOMPSON
                    395 WESTLAND RD
                    LIBBY, MT 59923-8362


                    RICHARD ATKINSON
                    2925 OLIE ANN PL
                    ENUMCLAW, WA 98022


                    RICHARD BOYD
                    13590 BETHEL BLACKTOP RD
                    FARMINGTON, AR 72730


                    RICHARD BRAIDICH
                    7920 RED FOX TRL
                    MORROW, OH 45152-7308


                    RICHARD BRAM
                    1016 RANCH RD N
                    ALTUS, OK 73521-1029


                    RICHARD CHURCH
                    1003 THORNTON RD
                    HOUSTON, TX 77018


                    RICHARD CIANO
                    600 FLEET ST.
                    2402
                    TORONTO, ONTARIO M5V1B7


                    RICHARD COFFEE
                    1662 GOVERNMENT STREET
                    MOBILE, AL 36604


                    RICHARD DAVISON
                    9510 180TH AVE E
                    BONNEY LAKE, WA 98391


                    RICHARD DELONG
                    1650 MEADOW WOOD LN
                    RENO, NV 89502-6510




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 245 of 326
                    RICHARD DITULLIO
                    1310 SCOTT ST APT A
                    SAN FRANCISCO, CA 94115-4009


                    RICHARD ELLIS
                    138 JAKES LANE
                    BAITING HOLLOW, NY 11933


                    RICHARD FINK
                    P O BOX 127
                    6385 N LAKE RD
                    BERGEN, NY 14416-9540


                    RICHARD FRANTZ
                    6303 JEFFREY LN
                    GOSHEN, OH 45122-9435


                    RICHARD GILLIS
                    #1
                    180 ALFRED ST
                    BIDDEFORD, ME 04005-3249


                    RICHARD HARGROVE
                    PO BOX 397
                    GALLATIN GATEWAY, MT 59730


                    RICHARD HOMER
                    1512 EAST WHITMORE AVENUE
                    #27
                    CERES, CA 95307


                    RICHARD ICE
                    42 ICE LINN LN
                    FAIRMONT, WV 26554-9592


                    RICHARD J KOLBASOWSKI JR
                    102 WATSON LANE
                    ROCKWELL, NC 28138


                    RICHARD K. WRIGHT
                    19461 CHARLESTON POINT
                    SHAWNEE, OK 74801




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 246 of 326
                    RICHARD KAWALEC
                    2556 RUGBY ROAD
                    MISSISSAUGA, ONTARIO L5B1T2


                    RICHARD KELM
                    PO BOX 38
                    107 1ST ST
                    MILAN, MI 48160


                    RICHARD KINNEAR
                    CALL WHEN READY FOR PICK UP


                    RICHARD KIZER
                    751 WEST ELM STREET
                    BISHOP, CA 93514


                    RICHARD LEWIS
                    132 OLD MILL RD
                    BROCTON, NY 14716-9788


                    RICHARD LYNX
                    836 EWING RD
                    BOARDMAN, OH 44512


                    RICHARD MANSOUR
                    8072 POULSON ST
                    CITRUS HEIGHTS, CA 95610


                    RICHARD MARSHESKI
                    4484 STATE HIGHWAY 41
                    GREENE, NY 13778-2502


                    RICHARD MATTESON
                    3228 FLORIDA DRIVE
                    HENDERSONVILLE, NC 28792


                    RICHARD MCCARTNEY
                    1740 SHAFF RD #313
                    STAYTON, OR 97383


                    RICHARD MCDONELL
                    PO BOX 275
                    CHENEY, WA 99004-0275




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 247 of 326
                    RICHARD MCKNIGHT
                    8750 N VIA SOCORRO
                    TUCSON, AZ 85743-7498


                    RICHARD MERCURE
                    2390, DE MONTSEGUR
                    LAVAL, QC H7T 2V5


                    RICHARD MERSCHEN
                    223 EMERALD AVENUE
                    WESTMONT, NJ 08108


                    RICHARD MICKELSON
                    1720 STAFFORD DRIVE
                    CLARKSTON, WA 99403


                    RICHARD MOHR
                    273 N COUNTY RD 1100 E
                    ARCOLA, IL 61910


                    RICHARD MORTON
                    12104 MCCORKLE AVE
                    CHARLESTON, WV 25315


                    RICHARD NEWSOM
                    7983 AUSTIN RIDGE DRIVE
                    CINCINNATI, OH 45247-1206


                    RICHARD NUDELMAN
                    132 GROVE ST
                    MAHWAH, NJ 07430-1247


                    RICHARD OR KELLY PETRO
                    9101 COBLENTZ AVE NW
                    UNIONTOWN, OH 44685


                    RICHARD PACKARD
                    8022 KANSAS RD
                    FORT MYERS, FL 33967-3195


                    RICHARD PEHL
                    813 BARNHART ST
                    RAYMOND, WA 98577-4501




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 248 of 326
                    RICHARD PICCO
                    182747 N 2900 RD
                    COMANCHE, OK 73529-8218


                    RICHARD ROBERTSON
                    1605 SUNNY WIND CT
                    CHESTERFIELD, MO 63017


                    RICHARD ROSSAVIK
                    51 NW ORCHARD PLACE
                    GRESHAM, OR 97030


                    RICHARD RUTHERFORD
                    2165 ESBENSHADE RD
                    YORK, PA 17408-4136


                    RICHARD SPELLMAN
                    7100 W ELIZABETH ST
                    COLUMBIA, MO 65202-8752


                    RICHARD TAVIS
                    941 PEACHTREE DRIVE
                    MOSCOW, ID 83843


                    RICHARD ULLIS
                    PO BOX 484
                    BOOTHBAY HARBOR, ME 04538


                    RICHARD VERELLEN
                    PO BOX 17062
                    FOUNTAIN HLS, AZ 85269-7062


                    RICHARD VICKERY
                    5867 KENAI FJORDS LOOP
                    ANCHORAGE, AK 99502-4051


                    RICHARD WALZ
                    3001 ARNOLD MILL COURT
                    WOODSTOCK, GA 30188


                    RICHARD WEGNER
                    102 EAST MAIN STREET
                    ALTONA, IL 61414




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 249 of 326
                    RICHARD WOECK
                    23913 W WOODWAY LN
                    WOODWAY, WA 98020-5229


                    RICHARD ZECH
                    9130 107TH ST N
                    STILLWATER, MN 55082


                    RICHARD ZIGNER
                    3520 14TH AVE
                    KENOSHA, WI 53140-5401


                    RICK BALE
                    6258 BALE KENYON RD
                    LEWIS CENTER, OH 43035-9304


                    RICK BOLLING
                    2976 HALE MOUNTAIN ROAD
                    CLINCHO, VA 24226


                    RICK HORTON
                    120 STATE AVE NE # 200
                    OLYMPIA, WA 98501-1131


                    RICK MCHAN
                    PO BOX 6163
                    SUN CITY CTR, FL 33571-6163


                    RICK OBERLENDER
                    10007 S 67TH EAST PLACE
                    TULSA, OK 74133


                    RICK PLESTER
                    595 PRINCESS STREET
                    WOODSTOCK, ON N4S 4H3


                    RICK STEVENS
                    130 MARSHALL RD.
                    BRISTOL, VA 24201


                    RICKEY MACARI
                    12435 E 4000N RD
                    MOMENCE, IL 60954




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 250 of 326
                    RICKY L. NELSON
                    4236 ROCK COURT
                    MANITOWOC, WI 54220


                    RICKY NELSON
                    428 BARNES BRIDGE RD
                    SUNNYVALE, TX 75182


                    RITA PELC
                    423 HOWARD ST
                    LITCHFIELD, NE 68852-1952


                    ROB JENKINS
                    11708 RED PINE ROAD
                    BRAINERD, MN 56401


                    ROB JONES
                    STE 113-254
                    2824 N POWER RD
                    MESA, AZ 85215-1719


                    ROB LAW
                    2636 BREWSTER DR
                    COQUITLAM, BC V3B6L4


                    ROB LENTZ
                    8200 S AKRON ST STE 117
                    CENTENNIAL, CO 80112-3505


                    ROBB HERMES
                    2924 LAMPMAN DR
                    STEVENS POINT, WI 54481-5693


                    ROBEN DAVID
                    19215 PADDOCK STREET
                    ORLANDO, FL 32833


                    ROBERT & COLLEEN NEWMAN
                    5700 BLACK FOX TRAIL
                    MISSOULA, MT 59802


                    ROBERT & FRAN GRAHAM
                    3605 21ST SE
                    PUYALLUP, WA 98374




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 251 of 326
                    ROBERT ALLENDER
                    19724 NORTH HIGH ROCK ROAD
                    MONROE, WA 98272


                    ROBERT ANDERSEN
                    1336 SOUTHRIDGE DR.
                    BREA, CA 92821


                    ROBERT ASHBURN
                    82 COVINGTON CIRCLE
                    CRAWFORDVILLE, FL 32327


                    ROBERT BACHLER
                    15049 225TH AVE NE
                    WOODINVILLE, WA 98077-5123


                    ROBERT BAILEY
                    18492 STAMPER DR
                    LEWES, DE 19958-3947


                    ROBERT BARNARD
                    1625 SOUTH MAIN STREET
                    SUITE 1
                    LAS CRUCES, NM 88005


                    ROBERT BEAN
                    21311 HOBSON ROAD
                    CENTRALIA, WA 98531


                    ROBERT BECK
                    4149 SE CONIFER PARK DR
                    PORT ORCHARD, WA 98366-2207


                    ROBERT BERG
                    950 BECKETT POINT
                    PORT TOWNSEND, WA 98368


                    ROBERT BERNARD
                    5840 COUNTRYWOOD DRIVE
                    SARASOTA, FL 34232


                    ROBERT BOBAY
                    1907 WADE DRIVE
                    CAPE CORAL, FL. 33991-0000




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 252 of 326
                    ROBERT BOWERS
                    PO BOX 43
                    ROCK RIVER, WY 82083


                    ROBERT BOWKER
                    83JAMES ST
                    HOMER, NY 13077


                    ROBERT BROWN
                    2411 MARIE PL
                    MONROE, LA 71201-3419


                    ROBERT CAMPBELL
                    PO BOX 6069
                    ROTTERDAM, NEW YORK 12306-0069


                    ROBERT CAPLIN
                    APT 412
                    4252 CENTRAL SARASOTA PKWY
                    SARASOTA, FL 34238-6648


                    ROBERT CAVIN III
                    718 E CEDAR AVE., APT H
                    BURBANK, CA 91501


                    ROBERT CHESNUT
                    106 S. MAIN, D-4
                    COUPEVILLE, WA 98239


                    ROBERT COMBS
                    6863 BUNNELL HILL RD
                    SPRINGBORO, OH 45066


                    ROBERT CURL
                    7054 VETERANS PKWY
                    PELL CITY, AL 35125


                    ROBERT DIFATTA
                    1107 HORNE STREET
                    ST. CHARLES, IL 60174


                    ROBERT DINWIDDIE
                    PO BOX 971
                    MONROE, GA 30655




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 253 of 326
                    ROBERT ELIZONDO
                    PO BOX 56685
                    HAYWARD, CA 94545-6685


                    ROBERT ELLIS
                    2213 WIMBLEDON CIR
                    FRANKLIN, TN 37069-1867


                    ROBERT ERVOLINA
                    106 WOODBRIDGE AVE
                    BUFFALO, NY 14214


                    ROBERT EVERS
                    12175 WOODVILLE RD
                    KEVIL, KY 42053-9437


                    ROBERT FARNHAM
                    1720 S PEA RIDGE RD.
                    TEMPLE, TX 76502


                    ROBERT FERGUSON
                    901 N. LEXINGTON
                    HOLLAND, TX 76534


                    ROBERT FIELDS
                    2811 TIMBER HILLS ROAD
                    LOUISVILLE, KY 40214


                    ROBERT FISCHER JR
                    1878 KING WILLIAM RD
                    HANOVER, VA 23069


                    ROBERT FRIZZELL
                    16726 CRYSTAL GLADE
                    SAN ANTONIO, TX 78247-2042


                    ROBERT GALLAGHER
                    4253 POSSUM HOLLOW ROAD
                    COSBY, TN 37722


                    ROBERT GLAVOTSKY
                    55 LIBERTY DRIVE
                    ROCK TAVERN, NY 12575




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 254 of 326
                    ROBERT GODDARD
                    PO BOX 345
                    OJAI, CA 93024


                    ROBERT GRAVES
                    2214 RAVINIA DR
                    ARLINGTON, TX 76012-2933


                    ROBERT GRIFFIN
                    3970 ROUTE 563
                    CHATSWORTH, NJ 08019-2212


                    ROBERT HAHN
                    2221 RANCH RD
                    SLATINGTON, PA 18080-3932


                    ROBERT HAROLD
                    5334 NEW HAVEN AVENUE
                    UNIT #1-A
                    FORT WAYNE, IN 46803


                    ROBERT HARRIGAN
                    17133 SW SOREN CT
                    BEAVERTON, OR 97007


                    ROBERT HARRIS
                    32950 BACKACRES RD
                    ACTON, CA 93510-1713


                    ROBERT HAYDEN
                    APT 211
                    14802 BOTHELL WAY NE
                    LK FOREST PK, WA 98155-7620


                    ROBERT HELLEVANG
                    1340 NATIONAL STREET
                    BELLE FOURCHE, SD 57717


                    ROBERT HILLING
                    10428 COUNTY LINE ROAD
                    EDGEWOOD, WA 98372


                    ROBERT HOFFER
                    24512 384TH STREET
                    ENUMCLAW, WA 98022



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 255 of 326
                    ROBERT HOYUM
                    41510 CABIN LANE
                    KELLIHER, MN 56650


                    ROBERT JOHNSON
                    1144 BUCKSTITCH RD
                    SULPHUR, OK 73086-6809


                    ROBERT KAUER
                    805 BABS AVE
                    BENTON CITY, WA 99320-7768


                    ROBERT KEHN
                    11022 HOLLIS RD
                    MEADVILLE, PA 16335-7230


                    ROBERT KERN
                    3302 EAST EDWIN ROAD
                    TUCSON, AZ 85739


                    ROBERT KIEFABER
                    4473 SOUTHERN BLVD
                    DAYTON, OH 45429


                    ROBERT KITCHELL
                    655 MATHIS CEMETERY ROAD
                    STEWART, TN 37175


                    ROBERT KLUK
                    4755 170TH STREET N
                    HUGO, MN 55038


                    ROBERT KOFFMAN
                    2809 JEROME
                    SEDALIA, MO 65301


                    ROBERT KROFCHICK
                    PO BOX 550
                    GRINESLAND, NC 27837


                    ROBERT KULBABA
                    77 SMITH ST
                    GLEN COVE, NY 11542-3941




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 256 of 326
                    ROBERT LATZO
                    14420 WEST SKY HAWK DR
                    SUN CITY WEST, AZ 85375


                    ROBERT LUJAN
                    101 CONET DR
                    ODESSA, TX 79763-2918


                    ROBERT LUND
                    540 QUARRY RD
                    HARLEYSVILLE, PA 19438


                    ROBERT MADSEN
                    5920 CHISOLM RD
                    JOHNS ISLAND, SC 29455-7631


                    ROBERT MANGOLD
                    601 CHERRY VALLEY RD
                    VERNON HILLS, IL 60061-2682


                    ROBERT MCCRARY
                    207 LINCOLN LANE
                    LAGRANGE, GA 30240


                    ROBERT MCGLOTHLIN
                    6 AGNES LANE
                    MILFORD, NJ 08848


                    ROBERT MENZEL
                    13314 W WATSON RD
                    SAINT LOUIS, MO 63127-1923


                    ROBERT MICHAEL



                    ROBERT MILLER
                    1010 STATE AVE UNIT 497
                    MARYSVILLE, WA 98270


                    ROBERT MILLS
                    UNIT B303
                    23420 SE BLACK NUGGET RD
                    ISSAQUAH, WA 98029-6913




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 257 of 326
                    ROBERT MITCHEL
                    2611 PLUM BROOK CREEK DR
                    SANDUSKY, OH 44870-7186


                    ROBERT N KUROSU
                    21233 100TH PL SE
                    KENT, WA 98031


                    ROBERT NEVIN
                    1511 HWY 287
                    VIRGINIA CITY, MT 59755


                    ROBERT NORTON
                    19371 DOUGHERTY AVE
                    MORGAN HILL, CA 95037-2538


                    ROBERT OR KAREN DESILVA
                    6907 150TH AVENUE NE
                    REDMOND, WA 98052


                    ROBERT OR MELL STEPHENS
                    605 TANNEHILL DR
                    JONESBORO, AR 72404-9033


                    ROBERT OR NANCY KELLER
                    17792 DOUGLAS RD NW
                    POULSBO, WA 98370-8245


                    ROBERT PARIS
                    201 DOVE DRIVE
                    CROSSVILLE, TN 38555


                    ROBERT PERRECA
                    29 RAINBOW DRIVE
                    SMITHTOWN, NY 11788


                    ROBERT PITTMAN
                    3468 BARNSTAPLE DR
                    TALLAHASSEE, FL 32317-9062


                    ROBERT PLACE
                    16515 SAND RIDGE RD
                    BOWLING GREEN, OH 43402-9707




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 258 of 326
                    ROBERT POOSER
                    PO BOX 6423
                    JACKSON, WY 83002


                    ROBERT POWER
                    809 SUL ROSS ST
                    HOUSTON, TX 77006-4932


                    ROBERT REEDY
                    5738 FLAMINGO DRIVE
                    HOUSTON, TX 77033


                    ROBERT REID
                    PO BOX 1152
                    KODIAK, AK 99615


                    ROBERT RUDGE JR
                    208 FRONTENAC ROAD
                    NEW KENSINGTON, PA 15068


                    ROBERT SCHECHTER
                    9575 EL CAMINO REAL
                    ATASCADERO, CA 93422


                    ROBERT SCOTT
                    2618 S. ONG STREET
                    AMARILLO, TX 79109


                    ROBERT SHERMAN
                    1 ANDOVER DRIVE
                    UNIT 2
                    LITTLE ROCK, AR 72227


                    ROBERT SPELTZ
                    604 ARNER AVE
                    SHOREVIEW, MN 55126


                    ROBERT SPENCER
                    136 ARMANDA RD
                    LEXINGTON, SC 29072-7587


                    ROBERT STADSTAD
                    1625 27TH AVE NE
                    MANVEL, ND 58256-9736




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 259 of 326
                    ROBERT STENNETT
                    3097 CHARLESTON RD
                    RIPLEY, WV 25271-5553


                    ROBERT STOCKTON
                    5303 POCKLINGTON RD
                    TECUMSEH, MI 49286-9533


                    ROBERT STOCKWELL
                    7006 FLEWELLEN FALLS LN
                    SPRING, TX 77379-1436


                    ROBERT STOLZ
                    1407 MIDDLE RD UNIT 96
                    CALVERTON, NY 11933-1442


                    ROBERT SUNDSTROM
                    29991 CANYON HILLS ROAD
                    SUITE 1709-450
                    LAKE ELSINORE, CA 92532


                    ROBERT SWAN
                    PO BOX 422
                    RED RIVER, NM 87558


                    ROBERT SZOSTKOWSKI
                    844 AVENUE C
                    TRAVERSE CITY, MI 49686-3530


                    ROBERT T CLANCY
                    P.O. BOX 3370
                    BALD HEAD ISLAND, NC 28461


                    ROBERT TAING
                    11807 SE 256TH PLACE
                    KENT, WA 98030


                    ROBERT TAYLOR
                    223 SPRING WATER LANE
                    KNOXVILLE, TN 37934


                    ROBERT THOMAS
                    4808 165TH PLACE SW
                    EDMONDS, WA 98026




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 260 of 326
                    ROBERT TOBIN
                    2359 MEADOWRIDGE COURT
                    CEDARBURG, WI 53012


                    ROBERT TRUMBLE
                    ***CALL FOR PICKUP***


                    ROBERT UNGERER
                    6250 NE 20TH TER
                    FT LAUDERDALE, FL 33308-1317


                    ROBERT VANDENBERG
                    1440 GENEVA ROAD
                    DEPERE, WI 54115


                    ROBERT VAUGHN
                    32 DOUGLAS ST
                    HOMOSASSA, FL 34446


                    ROBERT WALTER
                    20014 PINE RUN COURT
                    SPRING, TX 77388


                    ROBERT WEICHERT
                    39 TEE COURT
                    WILLIAMSVILLE, NY 14221


                    ROBERT WHITE
                    2229 NORTH AVE
                    SACRAMENTO, CA 95838


                    ROBERT WIELHOUWER
                    6920 RUSHING RD
                    PEACHLAND, NC 28133-9614


                    ROBERT WILLIAMS
                    9220 MERO ROAD
                    SNOHOMISH, WA 98290


                    ROBERT WILSON
                    1856 BJOIN DRIVE
                    STOUGHTON, WI 53589




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 261 of 326
                    ROBERT WITTER
                    CALL FOR PICKUP


                    ROBERT WOLLMAN
                    234 LARAWAY ST
                    OCEANSIDE, CA 92058-8622


                    ROBERT WRIGHT
                    2901 S FERRIS ROAD
                    SIDNEY, MI 48885


                    ROBERT ZAGRABA
                    2067 SHERWIN AVE
                    DES PLAINES, IL 60018-3130


                    ROBERT ZALUSKY
                    3900 DEER RUN LANE
                    BINGHAMTON, NY 13903


                    ROBERTO MATTIELLO
                    106 BURDICK DR
                    CRANSTON, RI 02920


                    ROBIN BOUCHER
                    51 WOODRIDGE RD
                    HAMPTON BAYS, NY 11946


                    ROBIN GOOD
                    4841 CUBA MILLS RD
                    MIFFLINTOWN, PA 17059-8613


                    ROBIN LEONARD
                    220 HAZEL AVE
                    FOLSOM, PA 19033


                    ROBIN MAXWELL
                    1560 EAST 750 NORTH
                    CAMDEN, IN 46917


                    ROBIN NORTON
                    2360 OLIVER AVE SW
                    COKATO, MN 55321




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 262 of 326
                    ROBIN WAY
                    PO BOX 1815
                    HILLSBORO, OR 97123


                    ROBYN SMITH
                    1797 SAPONI ST
                    S LAKE TAHOE, CA 96150-5874


                    RODGER OVERSON
                    2750 S.W. 312TH PL.
                    FEDERAL WAY, WA 98023


                    RODNEY BOGUSCH
                    323 6TH AVE
                    FAIRBANKS, AK 99701


                    RODOLFO VILLASENOR
                    PO BOX 1323
                    BRENTWOOD, CA 94513


                    ROGER BAILEY
                    8632 SOUTH 300 EAST
                    HAMLET, IN 46532


                    ROGER BEEKMAN
                    OR SARA BEEKMAN
                    ***CALL FOR PICKUP***


                    ROGER FLEMING
                    172 N GOLF HARBOR PATH
                    INVERNESS, FL 34450


                    ROGER FLOOD
                    STE B118
                    709 MIDDLE GROUND BLVD
                    NEWPORT NEWS, VA 23606-4556


                    ROGER FRENCH
                    4105 TAMI LANE
                    CENTRAL POINT, OR 97502


                    ROGER GRAY
                    10129 63RD PLACE W
                    MUKILTEO, WA 98275




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 263 of 326
                    ROGER HOLME
                    5830 OAK HOUSE COURT
                    ORANGEVALE, CA 95662


                    ROGER JENNINGS
                    13066 MANDERIN POINT LANE
                    JACKSONVILLE, FL 32223


                    ROGER MAKIN
                    360 ARROYO DR
                    GRANTS PASS, OR 97527-8773


                    ROGER NAY
                    6300 PINE HILLS LANE
                    DENTON, TX 76210


                    ROLAND ROSSI
                    5 BEATTY LANE
                    PINE BUSH, NY 12566


                    ROMEO DEKELAITA
                    16645 TRAIL DR
                    MORGAN HILL, CA 95037


                    RON APKE
                    21824 NORTH 375TH STREET
                    MONTROSE, IL 62445


                    RON BEATY
                    5800 ESCALANTE TRL
                    FARMINGTON, NM 87402-0908


                    RON BREKKE
                    3005 BAXTER LANE
                    BOZEMAN, MT 59718


                    RON CLEAVER
                    21478 SUGARPLUM DR NE
                    POULSBO, WA 98370-9182


                    RON COFFEY
                    440 S 9TH STREET
                    RICHMOND, IN 47374




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 264 of 326
                    RON GALLOWAY
                    217 GROSH AVE UNIT A
                    DAYTON, NV 89403-6323


                    RON KIRSCH
                    PO BOX 927
                    GAYLORD, MN 55334


                    RON LECKI
                    150 MOUNTAIN VIEW DRIVE
                    CROSSVILLE, TN 38558


                    RON LEV
                    40 E. CEDAR ST. APT. 11A
                    CHICAGO, IL 60611


                    RON LOVELL
                    W5549 YOUNG ROAD
                    EAGLE, WI 53119


                    RON PETERSON
                    28548 ORANGE AVE
                    ESCALON, CA 95320


                    RON RUBIN
                    2312 EASTLAKE AVE E
                    SEATTLE, WA 98102


                    RON SAHR
                    3838 SUNFLOWER COURT
                    MERRITT ISLAND, FL 32953


                    RON SHINKLE
                    OR SHARON SHINKLE
                    ***CALL FOR PICKUP***


                    RON SLEETER
                    1263 W SEMOR DRIVE
                    DECATUR, IL 62521


                    RON SMITH
                    999 BOVEE RD
                    BERGEN, NY 14416-9317




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 265 of 326
                    RON STEFFEN
                    621 S BRECKENRIDGE AVE
                    TALMYRA, MO 63461


                    RONALD BITTER
                    21111 EAST STIRRUP STREET
                    QUEEN CREEK, AZ 85142


                    RONALD BOOTH
                    14 WEST LANE
                    EAST MORICHES, NY 11940


                    RONALD COULSON
                    8041 188TH AVE SW
                    ROCHESTER, WA 98579


                    RONALD CULL
                    7095 HWY 316
                    CAMPBELLSBURG, KY 40011


                    RONALD FRANCIS
                    7710 SPRINGBORN
                    CASCO, MI 48064


                    RONALD HAMMER
                    9390 MEADE LANE
                    SNOWFLAKE, AR 85937


                    RONALD HAVRANEK
                    604 BURKHARDT AVE
                    BADEN, PA 15005


                    RONALD HAWKINSON
                    BOX 356
                    CHOKIO, MN 56221


                    RONALD HAZEN
                    17815 NE 152ND AVE
                    BRUSH PRAIRIE, WA 98606-7278


                    RONALD J. HAVRANEK
                    604 BURKHARDT AVE.
                    BADEN, PA 15005




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 266 of 326
                    RONALD L. CAINE
                    2440 S 18TH AVE
                    YUMA, AZ 85364-7045


                    RONALD LARD
                    PO BOX 555
                    CLOUDCROFT, NM 88317


                    RONALD LAW
                    1487 E DOBERMAN ST
                    MERIDIAN, ID 83642-7477


                    RONALD LINDBERG
                    5734 GARDEN LANE NW
                    OLYMPIA, WA 98502


                    RONALD MORTON
                    1070 HALO DRIVE
                    TROY, MT 59935


                    RONALD PARSONS
                    100 INDUSTRIAL BLVD
                    CLAYTON, DE 19938-8900


                    RONALD RUSSO
                    138 17TH ST
                    WEST BABYLON, NY 11704-2722


                    RONALD SMITH
                    2149 GROUNDWATER PLACE
                    RALEIGH, NC 27610


                    RONALD SPENCER
                    PO BOX 303
                    PAYSON, UT 84651


                    RONALD SUMNER
                    4905 WEST SWORDS CIR
                    PEORIA, IL 61604


                    RONALD W HUGHES
                    8144 NORTHPOINT DRIVE
                    BROWNSBURG, IN 46112




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 267 of 326
                    RONALD WHITE
                    2054 S ROGERS
                    MESA, AZ 85202-6525


                    RONALD WOJCIECHOWSKI
                    N3090 CANARY ROAD
                    LAKE GENEVA, WI 53147


                    RONALD ZITO
                    462 MULBERRY LN
                    WOOD DALE, IL 60191-2413


                    RONNIE BOSLEY
                    8774 OLD RELIANCE ROAD
                    BRYAN, TX 77808


                    RONNIE STEELE
                    1311 SMITHLAND ROAD
                    HARRISONBURG, VA 22802


                    RONNY RANDOLPH
                    PO BOX 60964
                    LAFAYETTE, LA 70596-0964


                    RORY HORTON
                    9167 CURREY RD
                    DIXON, CA 95620-9710


                    ROSS WARREN
                    2514 NW 4TH ST
                    BOYNTON BEACH, FL 33426-8749


                    ROWAN WILSON
                    92345 HWY 93
                    ARLEE, MT 59821


                    ROWENA CASE
                    2296 COUNTY ROAD 3432
                    BULLARD, TX 75757


                    ROXANNE MARRA
                    1130 S EDWARDSVILLE
                    STAUNTON, IL 62088




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 268 of 326
                    ROY BECKER
                    1175 N LAKESIDE DRIVE
                    PALATINE, IL 60067


                    ROY BENGE
                    10920 PARK PLACE COURT
                    PLYMOUTH, IN 46563


                    ROY BRYANT
                    PO BOX 1152
                    HAYFORK, CA 96041


                    ROY BUSLEY
                    228 BLAKE RD
                    TOLEDO, WA 98591


                    ROY FILEGER
                    OR BETTY FILEGER
                    6116 BLANK DRIVE WEST
                    JACKSONVILLE, FL 32244


                    ROY PREWITT
                    713 WOODLEIGH
                    BATON ROUGE, LA 70810


                    ROY WOODCOCK
                    121 HERMAN-LEWIS RD
                    ROCHESTER, WA 98579


                    ROYCE GRIMSRUD
                    121 E MAPLE ST
                    SISSETON, SD 57262-1412


                    RUAN WISMAR
                    9620 S HAWLEY PARK RD
                    WEST JORDAN, UT 84081-5689


                    RUBEN OCHOA
                    1702 JERRY ABBOTT
                    EL PASO, TX 79936


                    RUSLAN SHULYAK
                    3902 S 31ST ST # A
                    TACOMA, WA 98409-4821




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 269 of 326
                    RUSS ARMANNO
                    AEI
                    3 CAMPBELL CT
                    ABERDEEN, NJ 07747-2260


                    RUSS HARTZELL
                    15060 SW RUBY STREET
                    BEAVERTON, OR 97007


                    RUSSELL HANSEN
                    2945 MILES AVE
                    BILLINGS, MT 59102


                    RUSSELL MILLER
                    11061 EAST ROGER ROAD
                    TUCSON, AZ 85749


                    RUSSELL OTTO
                    4051 W. VIKING RD (APT. 258)
                    LAS VEGAS, NV 89103


                    RUSSELL RANKIN
                    12603 VELARDE CV.
                    AUSTIN, TX 78729


                    RUSSELL RAWSON
                    5026 RIVERVIEW DR SE
                    HUNTSVILLE, AL 35803-1966


                    RUSSELL W VANOUS
                    38722 236TH AVE SE
                    ENUMCLAW, WA 98022


                    RUSTIN CUNNINGHAM
                    500 A FAIRWAY CIRCLE
                    SPRINGDALE, AR 72764-1071


                    RYAN FAIRBANKS
                    911 W 3RD ST
                    EDGERTON, KS 66021-2505


                    RYAN HOFF
                    399 EAST DOREEN STREET
                    SALT LAKE CITY, UT 84107




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 270 of 326
                    RYAN IPPOLITO
                    9 TAYLOR CT
                    RINGOES, NJ 08551


                    RYAN OLRICK
                    2242 MOUNT TABOR RD
                    CABOT, AR 72023-9826


                    RYAN PINKERTON
                    19553 SW SALMONBERRY CT
                    BEND, OR 97702


                    RYAN WHITECOTTON
                    203 E 40TH STREET
                    SHAWNEE, OK 74804


                    RYAN WISMAR
                    9620 S HAWLEY PARK RD
                    WEST JORDAN, UT 84081-5689


                    S & J COLLECTIBLES LLC
                    1051 BRIDLERIDGE CROSSING SPUR
                    HIGH RIDGE, MO 63049


                    S STANLEY KUSAKA
                    5685 BROADWAY STREET
                    WEST LINN, OR 97068


                    SABRINA MENDOZA
                    **DO NOT MAIL**


                    SAL VULLO
                    4351 CHURTON ROAD
                    VERNON, NY 13476


                    SALLY DE LEON
                    CALL FOR PICKUP


                    SALLY DELEON
                    12643 14TH AVE. SOUTH
                    SEATTLE, WA 98168




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 271 of 326
                    SALVADOR MENDOZA
                    7081 N MARKS AVE STE 104 PMB 118
                    FRESNO, CA 93711-0232


                    SAM COLLERAN
                    379 BASSETT RD
                    BAY VILLAGE, OH 44140-1816


                    SAM HUMPHREY
                    1701 CANNON STREET
                    HELENA, MT 59601


                    SAM KELLY
                    2777 SR 162 WEST
                    WILLARD, OH 44890


                    SAM MAGID
                    9362 NIGHTINGALE DR
                    LOS ANGELES, CA 90069-1119


                    SAM NADER
                    4301 W PARK RD
                    HOLLYWOOD, FL 33021


                    SAMI PEDERSEN
                    2787 ROGUE RIVER HWY
                    GOLD HILL, OR 97525


                    SAMUEL AFLALO
                    6912 EDELWEISS CIRCLE
                    DALLAS, TX 75240


                    SAMUEL SANTOS
                    1569 TERRY LYNN LANE
                    CONCORD, CA 94521


                    SAMUEL SCHWEGLER
                    3313 E TOWER RD
                    BYRON, IL 61010-8824


                    SANDRA BRUCE
                    854 LCR 885
                    JEWETT, TX 75846




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 272 of 326
                    SANDRA GANGE SELL
                    8364 OAKWOOD HILLS CIR
                    CITRUS HTS, CA 95610-0850


                    SANDRA GERDES
                    9114 NE 145TH AVE
                    VANCOUVER, WA 98682


                    SANDY BORGMAN
                    624 MAPLE ST
                    HICKMAN, NE 68372-9637


                    SANFORD DARLINGTON
                    1634 ANNIE LOVE WAY
                    LOGANVILLE, GA 30052


                    SARAH CAULK
                    1413 25TH STREET SE
                    PUYALLUP, WA 98372


                    SARAH DALE
                    56 FOURTH AVENUE
                    BEREA, OH 44017


                    SARAH TURNER
                    16303 E AMHERST AVE
                    AURORA, CO 80013-1809


                    SARAVANAKUMAR KANNIAH
                    900 228TH AVE. NE
                    UNIT #1A
                    SAMMAMISH, WA 98074


                    SATHER MCALLISTER
                    12502 NW 20TH AVE
                    VANCOUVER, WA 98685


                    SCHAFFNER MANUFACTURING COMPANY
                    21 HERRON AVE
                    PITTSBURG, PA 15202


                    SCOT MCELRATH
                    22380 EAST HWY 20
                    BEND, OR 97701




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 273 of 326
                    SCOT WORDEN
                    4945 CRUM CANYON RD
                    ENTIAT, WA 98822


                    SCOTT AINSWORTH
                    1357 CHERRY ST
                    GREEN BAY, WI 54301-4333


                    SCOTT BACON
                    7825 EAST HIDDEN COVE LANE
                    ROCKVILLE, IN 47872


                    SCOTT BARNETT
                    27360 ELMWOOD DR
                    PO BOX 471
                    LK ARROWHEAD, CA 92352-0471


                    SCOTT BASELT
                    PO BOX 165
                    GUALALA, CA 95445-0165


                    SCOTT BERRY
                    7943 NINE MILE BRIDGE
                    FORT WORTH, TX 76135


                    SCOTT BOE
                    4220 177TH PL NE
                    ARLINGTON, WA 98223-8778


                    SCOTT BRINSTER
                    41 BIRCH AVE
                    WEST MILFORD, NJ 07480


                    SCOTT BROOKS
                    2181 SW WARBLER WAY
                    PORT ORCHARD, WA 98367


                    SCOTT BURROUGHS
                    1011 HALTON DR
                    GROVETOWN, GA 30813-3341


                    SCOTT COHEN
                    APT 3-5
                    1035 E BOSTON POST RD
                    MAMARONECK, NY 10543-4147



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 274 of 326
                    SCOTT CROSSMAN
                    35507 FREESTONE RD
                    GRAND RAPIDS, MN 55744-5426


                    SCOTT DICKINSON
                    141 BROOK HOLLOW LANE
                    WEATHERFORD, TX 76088


                    SCOTT ESPEDAL
                    7933 N. DENVER AVE
                    PORTLAND, OR 97217


                    SCOTT FINNEY
                    2601 OLD NEWPORT HWY
                    SEVIERVILLE, TN 37876


                    SCOTT GAGNON
                    2009 MARTHA ST NE
                    ALBUQUERQUE, NM 87112


                    SCOTT GRISSOM
                    1309 NE TIMBERLINE CR.
                    LEES SUMMIT, MO 64064


                    SCOTT HENDRYX
                    1420 ORCHARD HILL LN
                    ARRINGTON, TN 37014-9159


                    SCOTT HINSHAW
                    17476 WEST 77TH PLACE
                    ARVADA, CO 80007-7983


                    SCOTT KIMBELL
                    3990 KOCHSMEIER RD
                    VALE, OR 97918


                    SCOTT LANGEVINE
                    32513 WEBSTER RD E
                    EATONVILLE, WA 98328-8679


                    SCOTT LEE
                    3073 NINEBARK CIR
                    SAINT GEORGE, UT 84790-8226




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 275 of 326
                    SCOTT MOORE
                    80 W AHONEN RD
                    PAULDEN, AZ 86334


                    SCOTT MUELLER
                    63300 PALM CANYON DRIVE
                    MOUNTAIN CENTER, CA 92561


                    SCOTT NICHOLSON
                    82 KRAFT PL
                    RINGWOOD, NJ 07456-1847


                    SCOTT SCHAPANSKY
                    4911 N DEL MAR AVE
                    FRESNO, CA 93704-3327


                    SCOTT SCHEESLEY
                    37106 LISBON DUNGANNON ROAD
                    LISBON, OH 44432


                    SCOTT SCHOFFSTALL
                    5210 S. AUBURN
                    KENNEWICK, WA 99336


                    SCOTT SERLES
                    ***CALL FOR PICKUP***


                    SCOTT SMITH
                    5206 BLACK OAK ROAD
                    ALTON, IL 62002


                    SCOTT STEELE
                    6434 SKYWAY
                    PARADISE, CA 95969-4539


                    SCOTT STRINGHAM
                    1033 AMBERLY DR
                    N SALT LAKE, UT 84054-5001


                    SCOTT ULSH
                    7082 S 10TH ST
                    KALAMAZOO, MI 49009-9730




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 276 of 326
                    SCOTT WALLER
                    537 LOMOND DRIVE
                    MUNDELEIN, IL 60060


                    SCOTT WAMPLER
                    PO BOX 1058
                    EATONVILLE, WA 98328


                    SCOTT WEIDNER
                    1525 RIVER ROAD
                    MARIETTA, PA 17547


                    SCOTT YANT
                    904 W DELAWARE
                    NAMPA, ID 83651


                    SEABORN HUNT
                    150 SE 17TH ST STE 703
                    OCALA, FL 34471-5159


                    SEAN BALLENGER
                    2645 BARNDANCE LN
                    SANTA ROSA, CA 95407


                    SEAN BOON
                    17610 JERSEY AVE
                    ARTESIA, CA 90701-3816


                    SEAN CRABTREE
                    BOX 252
                    NEWCASTLE, WY 82701


                    SEAN FITZSIMMONS
                    5454 LITTLE WOAHINK DRIVE
                    FLORENCE, OR 97439


                    SEAN LAWSON
                    7628 COLONY CT. NE
                    BREMERTON, WA 98311


                    SEAN LEHMANN
                    777 E WILLIAM ST STE 204
                    CARSON CITY, NV 89701-4058




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 277 of 326
                    SEAN MURPHY
                    9139 SWEETWATER DR
                    DALLAS, TX 75228


                    SEAN POPPOFF
                    18731 12TH DR SE
                    BOTHELL, WA 98012-5238


                    SEAN ROTH
                    256 SARASOTA CIR S
                    MONTGOMERY, TX 77356-8417


                    SEAN THOMPSON
                    9744 KUGLER WAY
                    ELK GROVE, CA 95757


                    SEAN WEBBER
                    2610 DOGWOOD LANE
                    NORRISTOWN, PA 19401


                    SEAN WELLS
                    1723 GRANDVIEW DR
                    HEBRON, KY 41048-7957


                    SERGEY SHKARIN
                    12416 130TH AVENUE CT E
                    PUYALLUP, WA 98374-4403


                    SHAD MATTINGLY
                    4411 BLACKSTONE DR. SW
                    OLYMPIA, WA 98512


                    SHAFIQ SHABAZZ-BEY
                    1509 MORGAN DRIVE
                    THE HAMPTONS, VA 23663


                    SHANE HARTL
                    1522 WEST HOYE PLACE
                    DENVER, CO 80223


                    SHANNAN WINKLER
                    4700 MONTEREY DR
                    ANNANDALE, VA 22003-5927




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 278 of 326
                    SHANNON COOPER
                    63 EDGEWOOD AVE
                    CRANSTON, RI 02905-1343


                    SHANNON KNIGHT
                    2838 173RD CT NE
                    REDMOND, WA 98052-6240


                    SHANNON PRESTON
                    304 VAL VERDE
                    ALTUS, OK 73521


                    SHANNON STAPLETON
                    100 AIRPORT RD
                    SABETHA, KS 66534-0008


                    SHARI HARSHBARGER
                    14496 CABLE BRIDGE ROAD
                    GULFPORT, MS 39503


                    SHARON DAEMS
                    9104 163RD ST COURT E
                    PUYALLUP, WA 98375


                    SHARON MURTON
                    365 PROSPECT STREET
                    BEREA, OH 44017


                    SHARYL STOCKSTILL
                    PO BOX 371
                    MOUNTAINAIR, NM 87036


                    SHAUN GEORGE
                    14470 NE REX HILL CT
                    NEWBERG, OR 97132


                    SHAUN HUGGINS
                    552 DEERPATH ROAD
                    GLEN ELLYN, IL 60137-4102


                    SHAUN MARSH
                    9680 SILVER LAKE ROAD
                    MAPLE FALLS, WA 98266




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 279 of 326
                    SHAUN SHOLDER
                    6400 POPLAR AVE
                    MEMPHIS, TN 38197-0100


                    SHAWN CLARK
                    940 E 160 S
                    OREM, UT 84097-5704


                    SHAWN COX
                    14893 HOLLY LEAF DR
                    FRISCO, TX 75035-7451


                    SHAWN DIX
                    2323 15TH AVE NW
                    ROCHESTER, MN 55901


                    SHAWN F BOELENS
                    993 CEDAR FLAT CURTIS RD
                    EDMONTON, KY 42129-8007


                    SHAWN HENDRIX
                    9767 SUNLAND BLVD
                    SHADOW HILLS, CA 91040


                    SHAWN HILL
                    11014 HIRSCHFELD WAY
                    RNCHO CORDOVA, CA 95670-5251


                    SHAWN LUCAS
                    213 E COUNTY ROAD 1200 N
                    BRAZIL, IN 47834-6842


                    SHAWN SCHULLEK
                    301 THOMPSONVILLE ROAD
                    CANONSBURG, PA 15317


                    SHAWN TEDFORD
                    469 LAFAYETTE RD
                    NORTH KINGSTOWN, RI 02852


                    SHAY HIGLEY
                    2236 QUAIL RIDGE DR
                    AMMON, ID 83401-5950




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 280 of 326
                    SHEREE MAHAR
                    853 SOUTH ROCA CT
                    GILBERT, AZ 85296


                    SHERI SALVAGIO
                    4613 LOVELAND STREET
                    METAIRIE, LA 70006


                    SHERIL WARD
                    5 83RD DRIVE SE
                    LAKE STEVENS, WA 98258


                    SHERMAN LEE
                    8904 RIVERVIEW PARK DR
                    RALEIGH, NC 27613


                    SHERRI MOFFA
                    1514 AVE A1/2
                    DICKINSON, TX 77539


                    SHERRIE A DEAN
                    244 HUNTINGTON HOLW
                    BRANDON, MS 39047-5208


                    SHERYL MOSHER
                    3946 FAIRFIELD LANE
                    PUEBLO, CO 81005


                    SHIRLEY BRESTER
                    26405 99TH PL. S.
                    KENT, WA 98030


                    SHIRLEY COFFMAN
                    19490 GOODSON ROAD
                    CALDWELL, ID 83607


                    SHIRLEY J DOLGIN
                    652 LONGBOW LOOP
                    LOS LUNAS, NM 87031


                    SHIRLEY REUSS
                    321 CHARLOTTE COURT #3
                    SCHAUMBURG, IL 60193




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 281 of 326
                    SI TRUJILLO
                    10175 PARK MEADOWS DRIVE
                    APT 343
                    LONE TREE, CO 80124


                    SIDNEY MAIR
                    4111 CHULUOTA RD
                    ORLANDO, FL 32820-1116


                    SIDNEY STOROZUM
                    362 PETERS HOLLOW RD
                    MONROE, VA 24574


                    SIERRA CHEMICAL
                    62434 COLLECTIONS CENTER DRIVE
                    CHICAGO, IL 60693-0434


                    SIERRA OFFICE SOLUTIONS
                    4710 LONGLEY LANE
                    RENO, NV 89502


                    SILVER GONGOLA
                    24341 HWY 10 EAST
                    OLA, AR 72853


                    SILVER STATE ANALYTICAL
                    3626 EAST SUNSET ROAD, STE 100
                    LAS VEGAS, NV 89120


                    SIMEON WINROD
                    15807 130TH AVENUE KP N
                    GIG HARBOR, WA 98329-4138


                    SIMON GINSBERG
                    225 W 106TH ST. #16B
                    NEW YORK, NY 10025


                    SIMON GINSBERG TTE
                    225 W 106TH ST. #16B
                    NEW YORK, NY 10025


                    SIMON YEUNG
                    16183 ORNELAS ST
                    IRWINDALE, CA 91706-2037




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 282 of 326
                    SKELTON BUSINESS EQUIPMENT
                    901 W MAIN
                    TOMBALL, TX 77375


                    SPARKLETS & SIERRA SPRINGS
                    PO BOX 660579
                    DALLAS, TX 75266-0579


                    SPENCER WILLARDSEN
                    1526 S JACKSON AVE
                    TACOMA, WA 98465-1319


                    SRIRAM GOVINDARAJAN
                    16744 NE 42ND CT
                    REDMOND, WA 98052-5475


                    STAN EILERS
                    14020 CHAMBERLAIN BLVD
                    PT CHARLOTTE, FL 33953-2406


                    STAN KITTOCK
                    1112 S NEWER RD
                    SPOKANE VALLEY, WA 99037


                    STAN LEHMAN
                    ***CALL FOR PICKUP***
                    PO BOX 45187
                    TACOMA, WA 98448


                    STANISLAV BEREZOVSKIY
                    2602 S LYLE STREET
                    KENNEWICK, WA 99337


                    STANLEY CONVERGENT SECURITY
                    SOLUTIONS
                    DEPT. CH 10651
                    PALATINE, IL 60055-0651


                    STANLEY NEWTON
                    7 CHARLYN DRIVE
                    CHARLESTON, SC 29407


                    STANLEY WEISS
                    8532 BUENA VISTA AVENUE
                    LOS MOLINOS, CA 96055



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 283 of 326
                    STANSBERRY INVESTMENT RESEARCH
                    1217 ST PAUL STREET
                    BALTIMORE, MD 21202


                    STAPLES BUSINESS ADVANTAGE
                    DEPT LA
                    PO BOX 83689
                    CHICAGO, IL 60696-3689


                    STAS FINELT
                    586 MAZUR AVE
                    PARAMUS, NJ 07652-1723


                    STEPHAN E CAMPBELL
                    9301 BRILLIANT ORE DR
                    LAS VEGAS, NV 89143-2305


                    STEPHAN TIPTON
                    560 WYE TRACK
                    GUTHRIE, OK 73044


                    STEPHAN VALENT
                    129 LENAPE TRL
                    LONG POND, PA 18334-7799


                    STEPHANIE BALLARD
                    382 MUSIC MOUNTAIN ROAD
                    HOT SPRINGS, AR 71913


                    STEPHEN ABEL
                    311 NORTH BROADWAY #402
                    ABERDEEN, WA 98520


                    STEPHEN ALLISON
                    2660 SW IMMANUEL DR
                    PALM CITY, FL 34990-2738


                    STEPHEN ASBURY
                    85 OAKLAND AVE
                    PONTIAC, MI 48342


                    STEPHEN B MILLER III
                    1055 ROYAL OAKS
                    APOPKA, FL 32703




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 284 of 326
                    STEPHEN BUMBALO
                    2179 RANCHWOOD PL
                    RIVERSIDE, CA 92506-4617


                    STEPHEN CHAUVIN
                    6178 MONROE ST
                    GROVES, TX 77619-4722


                    STEPHEN COAD
                    1632 DENTON CT
                    FOLSOM, CA 95630


                    STEPHEN CULBERTSON
                    20821 HWY 157
                    SPRINGHILL, LA 71075


                    STEPHEN E. EHL
                    21007 MOOR LILY CT
                    SPRING, TX 77388-2878


                    STEPHEN HENRIKSON
                    57 BROOKSIDE PLACE
                    SPRINGFIELD, IL 62704


                    STEPHEN HOMOTOFF
                    136 SHADY LN
                    ROLAND, OK 74954-5216


                    STEPHEN ISHOM
                    3809 FORSYTHE CT
                    CHESAPEAKE, VA 23321-5714


                    STEPHEN LINDHOLM
                    CALL FOR PICKUP


                    STEPHEN LOWDERMILK
                    102 ALDRICH PLACE
                    GOOSE CREEK, SC 29445


                    STEPHEN MANN
                    13224 BANNER ROAD
                    OLALLA, WA 98359




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 285 of 326
                    STEPHEN MCKECHNIE
                    2657 SOLAR CORONA LANE
                    HENDERSON, NV 89044


                    STEPHEN PEIRCE
                    15850 SW BELL ROAD
                    SHERWOOD, OR 97140


                    STEPHEN POLLITT
                    37 GALLEON DR.
                    EAST FALMOUTH, MA 02536-3947


                    STEPHEN SAMUELSON
                    1250 BRIARWOOD COURT
                    MINNESOTA CITY, MN 55959


                    STEPHEN SCHANDEL
                    PO BOX 838
                    OXFORD, NC 27565-0838


                    STEPHEN STRAUB
                    9300 EAGLE COURT
                    MANASSAS, VA 20111


                    STEPHEN WENHOLD
                    7437 YORKSHIRE DR
                    CORPUS CHRISTI, TX 78413


                    STEVE BACKES
                    1094 SNELLING AVENUE NORTH
                    SAINT PAUL, MN 55108


                    STEVE BAHLING
                    4029 PASAJE PL NW
                    ALBUQUERQUE, NM 87114-6518


                    STEVE BISHOP
                    321 8TH AVE NW
                    FORREST LAKE, MN 55025


                    STEVE BUELL
                    CALL FOR PICKUP




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 286 of 326
                    STEVE BURKHARDT
                    2837 KINGSWOOD DRIVE
                    GARLAND, TX 75040


                    STEVE CAMP
                    126 DEER DRIVE
                    LA VERGNE, TN 37086


                    STEVE CHERKAS
                    6100 NW 106TH ST APT 9
                    JOHNSTON, IA 50131-2483


                    STEVE CLAUCHERTY
                    1642 W TURTLE CREEK DR
                    SOUTH BEND, IN 46637-5659


                    STEVE CROSS
                    9000 DUNBAR KNOLL COURT
                    BROOKLYN PARK, MN 55443


                    STEVE GILCHRIST
                    541 PINNELL RD
                    SEQUIM, WA 98382-7584


                    STEVE GRITTMAN
                    204 W. 3RD STREET
                    PO BOX 146
                    LAFAYETTE, OR 97127


                    STEVE HOFSAESS
                    1571 WEST AMARITA LANE
                    ANAHEIM, CA 92802


                    STEVE KLUESNER
                    886 W 5TH ST
                    DUBUQUE, IA 52001-6528


                    STEVE LEMAY
                    14625 SE 185TH PLACE
                    RENTON, WA 98058


                    STEVE LESLEY
                    28945 US HIGHWAY 67
                    STEPHENVILLE, TX 76401-1547




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 287 of 326
                    STEVE LUTON
                    5508 W ORLANDO CIR
                    BROKEN ARROW, OK 74011-1132


                    STEVE MANGIAFICO
                    453 MALVERN RD
                    AKRON, OH 44303


                    STEVE MARSHALL
                    14839 FEATHER COVE LANE
                    CLEARWATER, FL 33762


                    STEVE MCALLISTER
                    1314 E LAS OLAS BLVD #555
                    FORT LAUDERDALE, FL 33301-2334


                    STEVE MELTON
                    1612 SANDCROFT STREET
                    THOUSAND OAKS, CA 91361


                    STEVE NORRIS
                    7917 E. CAVE CREEK RD
                    PO BOX 3771
                    CAREFREE, AZ 85377-3771


                    STEVE PACKER
                    16417 156TH STREET KPN
                    GIG HARBOR, WA 98329


                    STEVE RAGSDALE
                    1116 GRACELAND DR
                    AZTEC, NM 87410-1606


                    STEVE REW
                    12611 NE 35TH CT
                    VANCOUVER, WA 98686-3325


                    STEVE RUGGLES
                    8875 ARAGON DR
                    COLORADO SPGS, CO 80920-7539


                    STEVE SMITH
                    1105 WESTWOOD AVE
                    KINGSFORD, MI 49802




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 288 of 326
                    STEVE SPEAR
                    1004 SCOTCH HEATHER AVE
                    MOUNT AIRY, MD 21771-5554


                    STEVE THOMAS
                    601 BENTLEY CT
                    TYLER, TX 75703


                    STEVEN ANTONUCCI
                    300 E. DOWLING RD, UNIT#2
                    ANCHORAGE, AK 99518


                    STEVEN AUST
                    APT H8
                    848 N MOLLISON AVE
                    EL CAJON, CA 92021-5541


                    STEVEN BACHMAN
                    8579 RESERVOIR RD
                    GERMANSVILLE, PA 18053-2722


                    STEVEN BARTHOLOMEW
                    1000 N 25TH ST
                    OZARK, MO 65721


                    STEVEN COLLUPY
                    2784 DEVONSHIRE AVE
                    REDWOOD CITY, CA 94063


                    STEVEN DAWSON
                    4198 WHEELER RD
                    BAY CITY, MI 48706


                    STEVEN ELSESSER
                    1012 WATKINS CREEK DR
                    FRANKLIN, TN 37067-7829


                    STEVEN FOERST
                    143 S GRAND AVE
                    POUGHKEEPSIE, NY 12603-3021


                    STEVEN FOX
                    25 CUSHING DR
                    MILL VALLEY, CA 94941




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 289 of 326
                    STEVEN HAMMOND
                    ***CALL FOR PICKUP***


                    STEVEN HOENIG
                    200 INTERNATIONAL DRIVE
                    STE 105
                    PORTSMOUTH, NH 03801


                    STEVEN HOFFMAN
                    115 MARTINEK LN
                    PALMER, TX 75152


                    STEVEN LAVALLE
                    12 VALLEY STREET
                    WEBSTER, MA 01570


                    STEVEN M HOOVER
                    8680 SHILLINGTON DR
                    POWELL, OH 43065


                    STEVEN MANUEL
                    P.O. BOX 8062
                    TEMPE, AZ 85281


                    STEVEN P WEST
                    CALL FOR PICKUP


                    STEVEN POLSON
                    PO BOX 486
                    KALAMA, WA 98625


                    STEVEN RACHAL
                    1163 EFFIE HWY
                    DEVILLE, LA 71328


                    STEVEN ROKUSEK
                    7051 HWY 70 SOUTH #304
                    NASHVILLE, TN 37221


                    STEVEN SIMMONS
                    1301 WEST SUMMIT STREET
                    MARSHALLTOWN, IA 50158




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 290 of 326
                    STEVEN STANOVICH
                    3206 HILLTOP AVE
                    HALETHORPE, MD 21227


                    STEVEN TRAULSEN
                    44 SLEEPY HOLLOW TRAIL
                    PALM COAST, FL 32164


                    STEVEN VANDESANDE
                    11385 LAKE SHORE DRIVE
                    COOPER CITY, FL 33026


                    STEVEN WAY
                    650 DENNERY RD #102-531950
                    SAN DIEGO, CA 92154


                    STEVWE KLEN
                    697 DENVER AVE
                    SUITE 128
                    LOVELAND, CO 80537


                    STEWART HARTLEY
                    152 S. 1ST STREET
                    ST. HELENS, OREGON 97051-0000


                    STOYTCHO STOEV
                    3315 14TH STREET
                    3RD FLOOR
                    ASTORIA, NY 11106


                    STUART GOODFRIEND
                    19 RUNNING DEER TRAIL NW
                    CARTERSVILLE, GA 30121


                    STUART NEAL
                    7135 S HARL AVE
                    TEMPE, AZ 85283-4317


                    SUE THOMPSON
                    2097 COUNTY RD E
                    MOUNT HOREB, WI 53572


                    SUN LEE
                    6710 135TH PL SW
                    EDMONDS, WA 09802-6333



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 291 of 326
                    SUSAN COOKE
                    419 FOUNTAIN AVENUE
                    PADUCAH, KY 42001


                    SUSAN FUN
                    PO BOX 428
                    BELLEVUE, WA 98009


                    SUSAN OLENCHAK
                    1528 WYOMING AVE
                    SCRANTON, PA 18509-2354


                    SUSAN SROUR
                    10539 QUEEN AVENUE
                    LA MESA, CA 91941


                    SUSAN WALKER
                    7023 CINNAMON TEAL ST
                    CARLSBAD, CA 92011


                    SUTTON HAGUE LAW CORP.
                    6715 N PALM AVE., SUITE 216
                    FRESNO, CA 93704


                    SUZANNE LUCENTA
                    1420 W 35TH ST
                    TULSA, OK 74107-3814


                    SYLE JAYNE
                    10467 WATERFORD DRIVE
                    WESTCHESTER, IL 60154-3538


                    TAHER ROUHANI
                    16817 LARCH WAY UNIT E106
                    LYNNWOOD, WA 98037-3367


                    TAI LAM
                    1218 MONTEREY AVE NE
                    RENTON, WA 98056-3194


                    TAMARAH DAY
                    15175 AMARAL ROAD
                    CASTROVILLE, CA 95012




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 292 of 326
                    TAMMY HUNT
                    P.O. BOX 2018
                    CEDAR PARK, TX 78630


                    TAMMY SMITH
                    3005 SIMPSON ROAD
                    OWOSSO, MI 48867


                    TANVIR HAFIZ
                    2432 SANTA CRUZ LN
                    ODESSA, TX 79763-2285


                    TARUN WADHWA
                    28925 122ND AVE SE
                    AUBURN, WA 98092


                    TAYLOR THOMPSON
                    611 NOLIA AVE
                    EL DORADO, AR 71730


                    TECH LIGHTING, INC.
                    115 AROVISTA CIRCLE
                    BREA, CA 92821-3933


                    TED DANCE
                    54203 FORTNER ROAD
                    DARRINGTON, WA 98241


                    TED FORD
                    BOX 188
                    JARVIE, ALBERTA T0G 1H0


                    TED KING
                    CALL FOR PICK UP


                    TED OH
                    STE 102
                    2839 S DOUGLAS BLVD
                    MIDWEST CITY, OK 73130-7100


                    TEDDY PATTTERSON
                    PO BOX 841
                    LEWISBURG, WV 24901




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 293 of 326
                    TERENCE BRENNAN
                    1054 E ROBINHOOD DR
                    ARLINGTON, WA 98223-1416


                    TERI GRAHAM
                    PO BOX 2631
                    YELM, WA 98597


                    TERMINIX
                    TERMINIX PROCESSING CENTER
                    P.O. BOX 742592
                    CINCINNATI, OH 96701


                    TERRENCE MCCARTHY
                    443 NE DALLAS DRIVE
                    DALLAS, OR 97338


                    TERRENCE MEYER
                    7171 VERSAILLES RD
                    COVINGTON, OH 45318


                    TERRENCE STEWART
                    111 MALLARD DRIVE
                    MCKEES ROCKS, PA 15136


                    TERRI MARGOLIN
                    127 REBECCAS WAY
                    SANDPOINT, ID 83864-7588


                    TERRY FERGUSON
                    1128 HUNTER CT
                    LAKE SAINT LOUIS, MO 63367


                    TERRY GOFF
                    1116 WEST SUNSET STREET
                    NASHVILLE, AR 71852


                    TERRY JONES
                    PO BOX 353
                    CABOOL, MO 65689


                    TERRY MIYAUCHI
                    3408 SOUTHERN VISTA DR
                    KINGMAN, AZ 86401-0629




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 294 of 326
                    TERRY RODGERS
                    315 114TH AVE E
                    EDGEWOOD, WA 98372-1210


                    TERRY SHINE
                    62799 EAGLE ROAD
                    BEND, OR 97701


                    TERRY UPCHURCH
                    2513 LEROY RD
                    VIRGINIA BEACH, VA 23456


                    TERRY WHITE
                    8067 WHITE LANE
                    KINMUNDY, IL 62854


                    TERRY WUCH
                    9828 SOUTHWICK DR
                    SAINT LOUIS, MO 63128-1721


                    THE CRANDALL AGENCY
                    6012 156TH AVE N.E.
                    REDMOND, WA 98052


                    THEODORE FLOOD
                    33 KITTREDGE RD
                    FRAMINGHAM, MA 01702


                    THEODORE MC MANUS
                    395 SPRINGBROOK DRIVE
                    VALLEJO, CA 94591-4201


                    THEODORE R ALLEN
                    157 KACIE LN
                    INDIANA, PA 15701


                    THEODORE SEVASTOS
                    C/O AMERICAN BUMPER CO.
                    3888 PEARL RD
                    CLEAVELAND, OH 44109


                    THEODORE SWIATEK
                    5936 BROWNSVILLE ROAD
                    BROWNSVILLE, KY 42210




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 295 of 326
                    THET ZAW
                    105 BASS PLANTATION DR. APT. 1008
                    MACON, GA 31210-5758


                    THOMAS A JONES
                    911 BEAVER RUN
                    TAVARES, FL 32778


                    THOMAS BAEHR
                    20461 PANARAMA LANE
                    COLFAX, CA 95713


                    THOMAS BALDINO
                    5 WOEWASSA LN
                    FARMINGTON, CT 06032


                    THOMAS BALL
                    3203 PIN OAK DR
                    TUSCALOOSA, AL 35405-5467


                    THOMAS BALLARD
                    3095 POST OAK TRITT ROAD
                    MARIETTA, GA 30062


                    THOMAS BEER
                    4798 S SALEM RD
                    GOSPORT, IN 47433-8934


                    THOMAS BOOKWALTER
                    7490 N 1075 W
                    THORNTOWN, IN 46071-8947


                    THOMAS BROWN
                    6578 POWNER FARM DR
                    CINCINNATI, OH 45248-2991


                    THOMAS BURNS
                    PO BOX 113
                    LAKE HAVASU CITY, AZ 86405


                    THOMAS CAPRIO
                    1 MARYLAND ROAD
                    TUCKERTON, NJ 08087




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 296 of 326
                    THOMAS COMIS
                    .
                    3114 S 25TH RD
                    HUMANSVILLE, MO 65674-8685


                    THOMAS COOK
                    11563 CRYSTAL DR.
                    JBLM, WA 98433


                    THOMAS D. WESTLING
                    712 S GRANITE AVE
                    GRANITE FALLS, WA 98252-9703


                    THOMAS DUNCAN
                    3122 NORTH 126TH DRIVE
                    AVONDALE, AZ 85392


                    THOMAS FEJKA
                    3015 26TH AVE
                    BEAVER FALLS, PA 15010-2243


                    THOMAS FELLONA
                    10342 BOCA RATON DRIVE
                    ELLICOTT CITY, MD 21042


                    THOMAS FREMONT
                    6112 SE 57TH ST
                    OKLAHOMA CITY, OK 73135


                    THOMAS GROOME
                    576 CYPRESS ROAD
                    VERO BEACH, FL 32963


                    THOMAS HANSON
                    380 SWETZER RD
                    RIO OSO, CA 95674


                    THOMAS HAZLETT
                    1907 HACKBERRY RD
                    BLOOMINGTON, IL 61704-2779


                    THOMAS HILL
                    27 FERRY ST
                    GLOUCESTER, MA 01930-4834




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 297 of 326
                    THOMAS HOLSTON
                    PO BOX 553
                    WARD COVE, AK 99928


                    THOMAS J. BERGER
                    19 BLUFF POINT ROAD
                    NORTHPORT, NY 11768


                    THOMAS JACOBIN
                    618 CORAL TRACE BLVD
                    EDGEWATER, FL 32132


                    THOMAS KING
                    2235 OLD POST RD
                    MAPLE PLAIN, MN 55359


                    THOMAS KRESS
                    510 WEST MAIN ST
                    SPARTA, WI 54656


                    THOMAS LANGONE
                    11618 ROSE TREE DR
                    NEW PRT RCHY, FL 34654-1717


                    THOMAS LAURIA
                    9813 ADLIE DR
                    WAKE FOREST, NC 27587-9230


                    THOMAS LINDNER
                    1124 LAKEHAVEN COURT
                    WEST BEND, WI 53090


                    THOMAS LOCKWOOD
                    301 SE THIRD STREET
                    HOXIE, AR 72433


                    THOMAS LUSCOMB
                    100 BRIGHT HILL PLACE
                    BRANDON, MS 39047


                    THOMAS MALICK
                    956 LEGENDS TERRACE
                    MT. PLEASANT, SC 29464




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 298 of 326
                    THOMAS MCGRATH
                    107 ROYAL NORTH DEVIN
                    WILLIAMSBURG, VA 23188


                    THOMAS MURPHY
                    2433 QUAIL RIDGE LANE
                    HUNTSVILLE, AL 35803


                    THOMAS O'DONNELL
                    PO BOX 6631
                    YORKTOWN, VA 23690


                    THOMAS OAKES
                    40 2ND ST NW
                    ORTONVILLE, MN 56278-1407


                    THOMAS ROCCHIO
                    PO BOX 125
                    CONCAN, TX 78838


                    THOMAS ROUSH
                    1967 S SPRINGBROOK LANE
                    BOISE, ID 83706


                    THOMAS RUST
                    1702 DUPWE DR
                    JONESBORO, AR 72401-4639


                    THOMAS SCIBETTA
                    7484 RIVER ROAD
                    BALDWINSVILLE, NY 13027


                    THOMAS SEIP
                    10843 E CONTESSA STREET
                    MESA, AZ 85207


                    THOMAS SEWTER
                    119 CHATHAM RD.
                    MOUNT LAUREL, NJ 08054


                    THOMAS SHERRON
                    PO BOX 679
                    WENDELL, NC 27591




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 299 of 326
                    THOMAS SIMPSON
                    8101 ANTIOCH CHURCH RD W
                    LENOIR CITY, TN 37772


                    THOMAS SMITH
                    10636 BRAVERMAN DR
                    SANTEE, CA 92071-2848


                    THOMAS WEICHT
                    228 YUKON PASS
                    AUBURN, IN 46706-1049


                    THOMAS YUSCAK
                    97 SOUTH ROAD
                    HOLMES, NY 12531


                    THOMAS ZIEGLER
                    2121 TRUMAN AVE
                    ALVA, FL 33920


                    TIM & SHERYL TIEKEN
                    916 406TH ST
                    BEAVER CROSSING, NE 68313


                    TIM ANDERSON
                    PO BOX 1823
                    AUBURN, WA 98071-1823


                    TIM BAXTER
                    7300 GLENN HILLS DR
                    SHERWOOD, AR 72120-4330


                    TIM BECKER
                    2495 ALMA AVENUE
                    SOUTH LAKE TAHOE, CA 96150


                    TIM BOSS
                    119 S 10TH ST
                    OOSTBURG, WI 53070-1359


                    TIM CHRISTIANS
                    14144 WEST GELDING DRIVE
                    SURPRISE, AZ 85379




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 300 of 326
                    TIM COLEMAN
                    23133 WHITBY AVE
                    FLAT ROCK, MI 48134-1477


                    TIM FLEMING
                    2941 GUMWOOD DRIVE
                    RICHLAND, TX 76118


                    TIM FORSBERG
                    424 MORNING GLORY LN N
                    SAINT JOHNS, FL 32259-3308


                    TIM GODDARD
                    412 DUNCAN STREET
                    ALVIN, TX 77511


                    TIM HARTFORD
                    1215 WASHINGTON ST
                    OREGON CITY, OR 97045-1644


                    TIM HILDEBRAND
                    165 VANTAGE DR
                    JEFFERSON, GA 30549-5566


                    TIM MCDONALD
                    5895 SIERRA DR
                    REDDING, CA 96003-1506


                    TIM MCMAHON
                    8450 EAST SNYDER RD
                    TUSCON, AZ 85750


                    TIM MERLIN
                    9760 CHERRY HILLS DR
                    CANFIELD, OH 44406


                    TIM PENNINGTON
                    321 HERNDON AVE
                    STANFORD, KY 40484-1148


                    TIM PRATT
                    14875 SW 141ST AVE
                    TIGARD, OR 97224




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 301 of 326
                    TIM TAIT
                    155 HILLCREST RD
                    MOHNTON, PA 19540-2103


                    TIMOTHY BABCOCK
                    1720 LAUREN LANE
                    REDWOOD CITY, CA 94061


                    TIMOTHY BEAM
                    3112 HOLLIDAY STREET
                    DELTONA, FL 32738


                    TIMOTHY BOURGET
                    793 MARY JORDAN LN
                    FAYETTEVILLE, NC 28311-7076


                    TIMOTHY COGHLAN
                    21420 SANTA MARIA DRIVE
                    TEHACHAPI, CA 93561


                    TIMOTHY CUMMINS
                    21322 BURNWOOD COURT
                    WOODBURN, IN 46797


                    TIMOTHY DARST
                    5920 S. 194TH ST.
                    KENT, WA 98032


                    TIMOTHY FOLEY
                    P. O. BOX 82
                    WATONGA, OK 73772-1421


                    TIMOTHY GANT
                    700 TORYTOWN RD
                    BUNKER HILL, WV 25413


                    TIMOTHY GARDNER
                    107 GALSWORTHY DR
                    GOOSE CREEK, SC 29445-7025


                    TIMOTHY HAPER
                    PO BOX 153
                    THOMASVILLE, PA 17364-0153




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 302 of 326
                    TIMOTHY HENDGES
                    1096 N BOSSETT
                    RAVENNA, MI 49451


                    TIMOTHY HUIZENGA
                    19826 13TH DR SE
                    BOTHELL, WA 98012-7101


                    TIMOTHY KEISTER
                    51 PRO CHEM TECH DR
                    BROCKWAY, PA 15824-7323


                    TIMOTHY KELLEY
                    43 PAFFENDORF DRIVE
                    NEWBURGH, NY 12550


                    TIMOTHY KISER
                    16511 NW REDDING LN
                    PORTLAND, OR 97229-1850


                    TIMOTHY KRYDER
                    10 PARK CT
                    NAPOLEON, OH 43545-1324


                    TIMOTHY KUHL
                    9135 23RD WAY SE
                    OLYMPIA, WA 98513-3499


                    TIMOTHY MOORE
                    55 MAYME DR
                    ST LOUIS, MO 63135-1854


                    TIMOTHY ROEBLING
                    374 ROCK STREET
                    WESTON, MO 64098


                    TINA BROWN
                    24525 NE 118TH PLACE
                    REDMOND, WA 98053


                    TOD TODD
                    STE 190
                    1098 SUNRISE AVE
                    ROSEVILLE, CA 95661-4470




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 303 of 326
                    TODD HELLAND
                    1125 N ROSE AVE
                    TEA, SD 57064-2472


                    TODD JAGIELSKI
                    12718 AIRPORT HWY
                    SWANTON, OH 43558-9614


                    TODD LANG
                    4601 N LEXINGTON STREET
                    TACOMA, WA 98407


                    TODD SLIGHT
                    270 ORCHARD LANE
                    NAPOLEON, OH 43545


                    TODD SUCKOW
                    1569 170TH STREET
                    CENTURIA, WI 54824


                    TODD VELER
                    1895 BERRY CT
                    DIXON, CA 95620-2506


                    TODD WIECHMAN
                    2441 S WEST ST
                    WICHITA, KS 67217-1023


                    TOM BEAMAN
                    5313 MCCORMACK DRIVE
                    BURLINGTON, ON L7L7E8


                    TOM BUZA
                    11681 SPEEDWAY BLVD
                    TUSCON, AZ 85748


                    TOM CARNEY
                    2020 W MCNAB RD # 102
                    FORT LAUDERDALE, FL 33309


                    TOM HAMSKI
                    24171 BEECH LN
                    NORTH OLMSTED, OH 44070-1007




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 304 of 326
                    TOM HIRAI
                    2567 RD K NW
                    QUINCY, WA 98848


                    TOM MONROE
                    122 GORDON LANE
                    TELLICO PLAINS, TN 37385


                    TOM RASMUSSEN
                    447 KEITH CRESCENT
                    OTTOWA, ON K1W 0A5


                    TOM SCHORN
                    PO BOX 96
                    615 S BARTLETT STREET
                    CANTON, SD 57013


                    TOM SHANAHAN
                    1385 S. MUSSELSHELL RD.
                    PO BOX 226
                    MUSSELSHELL, MT 59059-0226


                    TOM SIMENSON
                    7857 BLUE EAGLE WAY
                    LAS VEGAS, NV 89128


                    TOM SORTOMME
                    2854 RD 12.8 NW
                    EPHRATA, WA 98823


                    TOM TONNER
                    223 TAIT ST.
                    SELKIRK, MANITOBA R1A1J8


                    TOM WINSLOW
                    ***CALL FOR PICKUP***


                    TOM ZVIRZDYS
                    4227 TARAWA PL NE
                    LACEY, WA 98516


                    TOMBALL ISD
                    PO BOX 276
                    TOMBALL, TX 77377-0276




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 305 of 326
                    TONY CARROLL
                    EMAIL FOR PICKUP


                    TONY JAYNES
                    1829 NORTH 93RD COURT
                    OMAHA, NB 68114


                    TONY MCCARTY
                    10607 BROOKES RESERVE RD
                    UPPER MARLBORO, MD 20772


                    TONY ROSS
                    APT 303
                    2166 CHESTNUT AVE
                    LONG BEACH, CA 90806-4561


                    TONY TOMACCIO
                    23413 SE 217TH PL
                    MAPLE VALLEY, WA 98038


                    TONY YOUNG
                    74 PEONY
                    IRVINE, CA 92618


                    TOOTER SCHULZE
                    PO BOX 53
                    JUNCTION, TX 76849


                    TRACY & SUSAN COLLETT
                    1874 E KINGS PEAK CIR
                    HEBER CITY, UT 84032-4715


                    TRACY CARMAN
                    79 N 3880 W
                    HURRICANE, UT 84737-3000


                    TRACY IMMEKUS
                    4048 COONTIE CT
                    LAKE WORTH, FL 33462-3422


                    TRACY ROUTH
                    18535 148TH AVE NE
                    WOODINVILLE, WA 98072




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 306 of 326
                    TRAVION & KELLY SMITH
                    2104 SCOTT DR
                    COPPERAS COVE, TX 76522


                    TRAVIS CHERRY
                    5712 - 72ND ST
                    LUBBOCK, TX 79424


                    TRAVIS COOPER
                    120 POWELL BLVD. #6206
                    DAYTONA BEACH, FL 32114


                    TRAVIS DECKER
                    3014 LIKENS AVE
                    LOUISVILLE, KY 40211-2021


                    TRAVIS HILL
                    412 EAST 400 NORTH
                    BLACKFOOT, ID 83221


                    TRAVIS LAUBACH
                    3964 DILLINGERSVILLE RD
                    ZIONSVILLE, PA 18092


                    TRAVIS MITCHELL
                    830 HAMMONDS LANE
                    BALTIMORE, MD 21225


                    TRAVIS NOLL
                    18981 K192 HWY
                    WINCHESTER, KS 66097


                    TRAVIS PROBST
                    7415 408TH AVE SE
                    SNOQUALMIE, WA 98065-9197


                    TRAVIS PUNT
                    29099 GREAT-COVE ROAD
                    FORT LITTLETON, PA 17223


                    TRAVIS WORDEN
                    118 S RAMSEY ST
                    BLUE EARTH, MN 56013-2052




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 307 of 326
                    TREASA TRACY
                    3115 CANDLE POND LANE
                    SPRING, TX 77388


                    TREIA BUIS
                    CALL FOR PICKUP


                    TREIA GALLUCCI
                    1721 155TH STREET E
                    TACOMA, WA 98445


                    TRENT STEFFY
                    3825 JOPPA AVE S
                    ST LOUIS PARK, MN 55416-4941


                    TRENTON OWENS
                    110 ENDICOTT ST
                    SUMMERVILLE, SC 29485


                    TREVOR NIPGES
                    16733 BLODGETT RD
                    MOUNT VERNON, WA 98274-5091


                    TREVOR WILSON
                    425 BURGESS SMITH RD
                    SADIEVILLE, KY 40370


                    TRISTAN MARTY
                    109 BLACKTAIL LANE
                    CHEHALIS, WA 98532


                    TROY OBERG
                    53018 210TH ST.
                    GROVE CITY, MN 56243


                    TROY ROBERTS
                    1288 S WALKER RD
                    CLEVELAND, TX 77328-6322


                    TROY THOMPSON
                    361 MICTHELL ROAD
                    HUDSON, WI 54016




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 308 of 326
                    TROY TOGNONI
                    2056 FLYCATCHER CT
                    SPARKS, NV 89441


                    TY BOYD
                    103 S MILL ST
                    COLFAX, WA 99111


                    TYCE ELLERN
                    13606 N PENINSULA DR
                    NEWMAN LAKE, WA 99025


                    TYCO INTEGRATED SECURITY LLC
                    PO BOX 371967
                    PITTSBURGH, PA 15250-7967


                    TYEE LOHSE
                    6.5 MI COPPER RIVER HIGHWAY
                    PO BOX 1275
                    CORDOVA, AK 99574-1275


                    TYLER CURRENT
                    204 WATERSTONE WAY
                    LOUISVILLE, KY 40245


                    TYLER JARBOE
                    155 WASHINGTON ST
                    HAWESVILLE, KY 42348-2541


                    TYLER SPEARING
                    26 CARLYLE PLAZA
                    #128
                    BELLEVILLE, IL 62221


                    TYREL ROUSE
                    902 ARDEN LANE
                    MADISON, WI 53711


                    U. Z. SMALL
                    P.O. BOX 292
                    COLBERT, OK 74733


                    U.S. DEPT OF JUSTICE
                    950 PENNSYLVANIA AVE, NW
                    WASHINGTON, DC 20530-0001



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 309 of 326
                    ULINE
                    P.O. BOX 88741
                    CHICAGO, IL 60680-1741


                    ULMER PRYOR
                    62 OLD HWY 84 LOOP
                    LAUREL, MS 39443


                    ULTADVANTAGE CORP
                    696 VENTURE CT
                    WINTER SPGS, FL 32708-5178


                    UPS
                    PO BOX 894820
                    LOS ANGELES, CA 90189-4820


                    UPS
                    P.O. BOX 894820
                    LOS ANGELES, CA 90189-4820


                    UPS
                    PO BOX 894820
                    LOS ANGELES, CA 19170-0001


                    UPS FREIGHT
                    PO BOX 730900
                    DALLAS, TX 75373-0900


                    UPS SUPPLY CHAIN SOLUTIONS
                    28013 NETWORK PLACE
                    CHICAGO, IL 60673-1280


                    US ATTORNEY
                    ATTN BANKRUPTCY ASST
                    700 STEWART ST RM 5220
                    SEATTLE, WA 98101


                    US EQUAL OPPORTUNITY COMMISSIO
                    909 1ST AVE STE 400
                    SEATTLE, WA 98104


                    US SUBMARINE VETERANS BREMERTON
                    RALPH HARRIS
                    PO BOX 465
                    SILVERDALE, WA 98383



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 310 of 326
                    VADIM P POLISHCHUK
                    11701 SE 310TH ST
                    AUBURN, WA 98092-3374


                    VAL ANDERSON
                    1311 E 2500 NORTH
                    NORTH OGDEN, UT 84414


                    VANDEBERG JOHNSON & GANDARA
                    ONE UNION SQUARE, SUITE 2424
                    600 UNIVERSITY STREET
                    SEATTLE, WA 98101-1192


                    VARTAN JIZMEJIAN
                    34515 GOLDEN LANTERN ST
                    DANA POINT, CA 92629-2907


                    VASUDEVA RAJU
                    APT 4R
                    9801 67TH AVE
                    REGO PARK, NY 11374-4908


                    VAUGHN RANGE
                    PO BOX 346
                    TONASKET, WA 98855


                    VERIZON
                    PO BOX 660720
                    DALLAS, TX 75266-0720


                    VERLYN DURENE
                    SPIRAL MFG
                    11419 YELLOW PINE ST NW
                    COON RAPIDS, MN 55448-3158


                    VERN ROBINSON
                    5338 EAST 125TH AVE
                    EDGEWOOD, IL 62426


                    VERN VANDERBUR
                    942 HEAVENLY VIEW CT
                    GARDNERVILLE, NV 89460-9759




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 311 of 326
                    VERNON MITZEN
                    15148 N HOOTENNANNY RD
                    PRESCOTT, AZ 86305


                    VERONICA WELLING
                    11012 CANYON RD EAST SUITE 8-816
                    PUYALLUP, WA 98373


                    VESELIN V GASAN
                    1025 25TH ST SE
                    AUBURN, WA 98002


                    VICKIE PHILIPPS
                    403 AMBER LANE
                    HOLEMAN, WI 54636


                    VICTOR BARONI
                    6912 PECK AVE
                    CLEVELAND, OH 44103-1740


                    VICTOR DALLARI
                    11363 FOLSOM BLVD
                    RANCHO CORDOVA, CALIFORNIA 95742-0000


                    VICTOR LAYTON
                    PO BOX 903
                    SPRINGVILLE, UT 84663


                    VICTOR LOMBARDI
                    3227 BELVIDERE AVE SW
                    SEATTLE, WA 98126-2224


                    VICTORIA VORONKO
                    2520 SUFFOLK LN NE
                    SALEM, OR 97303-9768


                    VINCE MULHAUSE
                    11411 ROTHERFIELD PLACE
                    BAKERSFIELD, CA 93311


                    VINCENT BONAVENTURA
                    34 VILLAGE RD #B598
                    NEW VERNON, NJ 07976-9719




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 312 of 326
                    VINCENT ISHOM
                    3809 FORSYTHE CT
                    CHESAPEAKE, VA 23321-5714


                    VINCENT MATRANGA
                    4644 NIPOMO AVE
                    LAKEWOOD, CA 90713


                    VINCENT POLIS
                    311 BRACKEN AVE
                    PITTSBURGH, PA 15227


                    VINCENT SLEPACK
                    39252 WINCHESTER ROAD
                    SUITE 107-154
                    MURRIETA, CA 92563


                    VIOLA E. WILLIAMS
                    3007 BORST AVENUE
                    APT A-4
                    CENTRALIA, WA 98531


                    VIRGIL BRUCE
                    286 EAST CORONODO DRIVE
                    CORONA, CA 92879


                    VIRGIL MILLER
                    3099 PALMDESERT WAY
                    LAS VEGAS, NV 89120


                    VIRGIL POOLE
                    2021 EDGAR STREET
                    AUGUSTA, GA 30904


                    VIRGINIA MEISETSCHLAEGER
                    3007 LONGWOOD LANE
                    DICKINSON, TX 77539


                    VIRTUAL SPRINT, INC.
                    2001 PARKES DRIVE
                    BROADVIEW, IL 60155


                    VITALIY KOVALCHUK
                    3111 59TH AVE NE
                    TACOMA, WA 98422



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 313 of 326
                    W KEITH CONNER
                    11708 OAK BRANCH DRIVE
                    AUSTIN, TX 78737


                    WADE HOLTHOUSE
                    SHIP TO:
                    MARSHA WARNIKE
                    6865 IL REGALO CIRCLE
                    NAPLES, FL 34109


                    WALKER LAKE DISPOSAL INC.
                    8383 RENO HWY
                    FALLON, NV 89406


                    WALLACE LAWSON
                    8323 SUFFOLK WAY
                    GAINESVILLE, VA 20155


                    WALLY J. GOMEZ
                    13517 86TH AVENUE COURT EAST
                    PUYALLUP, WA 98373


                    WALTER E GIBSON
                    5909 GREENRIVER RD
                    ZIRCONIA, NC 28790


                    WALTER JACKSON
                    10453 TIMBERCREEK CIR
                    EDMOND, OK 73034-1005


                    WALTER LANE
                    7 PARTRIDGE LANE
                    NORTH BERWICK, ME 03906


                    WANITA READER
                    5322 89TH STREET NE
                    MARYSVILLE, WA 98270


                    WARREN BARNES
                    6317 HAYWOOD DR
                    MIDLAND, TX 79707


                    WAYNE BRIDGEMAN
                    52348 ELERY CLEMENT ROAD
                    LORANGER, LA 70446



Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 314 of 326
                    WAYNE CARPENTER
                    32455 SUNSET RIDGE RD EAST
                    COARSEGOLD, CA 93614


                    WAYNE FORBES
                    750 E STATE HIGHWAY 60
                    LOVELAND, CO 80537-8217


                    WAYNE FRANZ
                    APT B2
                    8718 BLAIRWOOD RD
                    NOTTINGHAM, MD 21236-2447


                    WAYNE GERALD
                    1987 STONERIDGE DR.
                    EAST WENATCHEE, WA 98802


                    WAYNE KITZMAN
                    14520 WALDEN CT, UNIT G4
                    OAK FOREST, IL 60452-1072


                    WAYNE LEYMASTER
                    36880 HWY 19
                    KIMBERLY, OR 97848


                    WAYNE LIENAU
                    128 SHAFFER BLVD
                    BRYAN, OH 43506-9121


                    WAYNE MATHEWS
                    8318 DUSTY CANYON LN
                    RICHMOND, TX 77407-5762


                    WAYNE PERRY
                    611 EVERGREEN POINT RD
                    MEDINA, WA 98039-4702


                    WAYNE WILLIAMS
                    26 FANNIN POST
                    SAN ANTONIO, TX 78240


                    WCP SOLUTIONS
                    23200 64TH AVENUE SOUTH
                    KENT, WA 98032-1845




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 315 of 326
                    WENDAL KUECKER
                    ***CALL FOR PICKUP***


                    WENZHONG TANG
                    505 N MOUNTAIN AVE
                    UPLAND, CA 91786-5016


                    WESLEY CASON
                    207 LANHAM CT.
                    FT. WORTH, TX 76108


                    WESLEY FERRIN
                    932 SANFORD ST
                    COOS BAY, OR 97420-3052


                    WESLEY HAMMONDS
                    170 HIGHLAND HILL DR
                    GRAY, TN 37615


                    WESLEY TABAKA
                    ***CALL FOR PICKUP***
                    9714 218TH ST CT E
                    GRAHAM, WA 98338


                    WESLEY VARNEY
                    PO BOX 106
                    PIKEVILLE, KY 41502


                    WILLARD THOMPSON
                    11891 SCHAVEY ROAD
                    DEWITT, MI 48820


                    WILLIAM ARCHAMBO
                    N/A
                    30 W RIVERPOINT DR
                    HAMPTON, VA 23669-1072


                    WILLIAM ARNOLD
                    812 S 2ND ST
                    HEATH, OH 43056-1624


                    WILLIAM BAILEY
                    834 REST CHURCH RD.
                    CLEAR BROOK, VA 22624




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 316 of 326
                    WILLIAM BAKKER
                    1917 NE CADY ST
                    BREMERTON, WA 98310


                    WILLIAM BARNETT
                    14402 CYPRESS RIDGE DR
                    CYPRESS, TX 77429-6307


                    WILLIAM BARRETT
                    CALL FOR PICKUP


                    WILLIAM BATSON
                    1660 LENA FLATWOODS ROAD
                    LENA, LA 71447


                    WILLIAM BERTELS
                    3321 NE 8TH STREET
                    WILLMAR, MN 56201


                    WILLIAM BRINKS
                    9706 ROUND LAKE RD
                    LAINGSBURG, MI 48848-9404


                    WILLIAM BURKE
                    155 PEARSON LANE
                    RICHMOND, KY 40475


                    WILLIAM BUTT
                    23 STERLING COURT
                    CARTERSVILLE, GA 30120


                    WILLIAM CHANEY
                    721 7TH AVE
                    FORKS, WA 98331


                    WILLIAM COBB
                    5858 MONASSAS RUN ROAD
                    MILFORD, OH 45150


                    WILLIAM CONNOR
                    7036 OCONNELL PL
                    UNION, KY 41091-7544




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 317 of 326
                    WILLIAM CRICHTON
                    219 NORTH WOODLAWN RD
                    SPOKANE VALLEY, WA 99216


                    WILLIAM CUSWORTH
                    570 WEDDERSPOON HOLLOW RD
                    COOPERSTOWN, NY 13326-2917


                    WILLIAM DAVIES
                    5502 EMERALD PARK BLVD
                    ARLINGTON, TX 76017


                    WILLIAM DAVIS
                    P.O. BOX 1436
                    BUCKLEY, WA 98321


                    WILLIAM E FULTON
                    2100 KICKAPOO DRIVE
                    DANVILLE, IL 61832


                    WILLIAM E RAMER
                    355 SELDOM SEEN ROAD
                    KITTANNING, PA 16201


                    WILLIAM EBERHART
                    2300 WEST 29TH AVE
                    KENNEWICK, WA 99337


                    WILLIAM ECKLER
                    PO BOX 73
                    FOX ISLAND, WA 98333


                    WILLIAM ENTRESS, JR.
                    734 GILLETT ROAD
                    ROCHESTER, NY 14624-1035


                    WILLIAM EWING
                    16360 FIR STREET
                    HESPERIA, CA 92345


                    WILLIAM F BELL
                    2200 HAZELHURST CT
                    DAYTON, OH 45440




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 318 of 326
                    WILLIAM FAUCETT
                    8470 WILKERSON ROAD
                    STOCKBRIDGE, GA 30281


                    WILLIAM FINNEY
                    50856 DOE LOOP
                    LA PINE, OR 97739


                    WILLIAM FRIED
                    1031 MONTEREY AVENUE
                    FOSTER CITY, CA 94404-3717


                    WILLIAM GENNARO
                    190 SW 74TH AVE
                    MARGATE, FL 33068


                    WILLIAM HANSON
                    PO BOX 64655
                    UNIVERSITY PLACE, WA 98464


                    WILLIAM HASLEM
                    103 N DONLEE DR APT 10
                    ST GEORGE, UT 84770-5743


                    WILLIAM HAYS
                    2556 MONROE ST
                    EUGENE, OR 97405-2548


                    WILLIAM HERZOG
                    4207 RIDGECREST DR
                    LAS VEGAS, NV 89121-4949


                    WILLIAM HIXSON
                    9305 ELM AVE
                    ORANGEVALE, CA 95662


                    WILLIAM HOLIK
                    1500 MANCIL AVE
                    CISCO, TX 76437


                    WILLIAM HORNSTEIN
                    PO BOX 4601
                    FORT SMITH, AR 72914




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 319 of 326
                    WILLIAM HUMPHREYS
                    861 JULIUS KELLER ROAD
                    STRASBURG, VA 22657


                    WILLIAM HUTCHINS
                    1250 N. DAKOTA ST
                    CHANDLER, AZ 85225


                    WILLIAM I MUIR
                    5009 WILL-O-DEAN RD
                    RALEIGH, NC 27616


                    WILLIAM KRANZ
                    1105 LAKESIDE RD
                    MADISONVILLE, TN 37354


                    WILLIAM L HANSON
                    POB 64655
                    TACOMA, WA 98464-0655


                    WILLIAM LADNER
                    24400 MCHENRY RD
                    SAUCIER, MS 39574-8267


                    WILLIAM LAWSON
                    8323 SUFFOLK WAY
                    GAINESVILLE, VA 20155


                    WILLIAM LEMMON
                    494 SANDY LAKE RD
                    KENT, OH 44240-6759


                    WILLIAM LOWE
                    629 HELENA AVENUE
                    HELENA, MT 59601


                    WILLIAM MARTIN
                    96 MARGIE DRIVE
                    CENTERVILLE, GA 31028


                    WILLIAM MONROE
                    1055 N COUNTY ROAD 100 EAST
                    CENTERPOINT, IN 47840




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 320 of 326
                    WILLIAM MOREFIELD
                    2969 CATTLE BARON DRIVE
                    LITTLE ELM, TX 75068


                    WILLIAM MORONG
                    LAWSON LABS
                    3217 PHOENIXVILLE PIKE
                    MALVERN, PA 19355-9600


                    WILLIAM MURPHY
                    27829 LENTISCAL
                    MISSION VEIJO, CA 92692


                    WILLIAM NELSON
                    12212 COUNTY RD
                    EXCELSIOR SPG, MO 64024-8306


                    WILLIAM NICHOLSON
                    2985 GADY RD LOT 2
                    ADRIAN, MI 49221-9359


                    WILLIAM O'NEAL
                    2385 STATE ROUTE 307 NORTH
                    CLINTON, KY 42031


                    WILLIAM ODELL MOORE, JR.
                    PO BOX 375
                    GREENSBURG, KY 42743


                    WILLIAM P BRUNDIGE
                    87 BRIDLE RD
                    BILLERICA, MA 01821


                    WILLIAM PAYNE
                    6850 CRESTED QUAIL
                    SAN ANTONIO, TX 78250


                    WILLIAM PETERSEN
                    1218 MAIN ST
                    GOODLAND, KS 67735


                    WILLIAM PURDY
                    594 ISABEL LN
                    GOLD BAR, WA 98251




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 321 of 326
                    WILLIAM RANKIN
                    1605 E WILLOW AVE
                    WHEATON, IL 60187


                    WILLIAM REAMS
                    9621 MORLEY RD
                    MIDLOTHIAN, VA 23112-1328


                    WILLIAM REQUA
                    7162 COBI PL NW
                    BREMERTON, WA 98312


                    WILLIAM RIOUX
                    130 TOWER RD
                    BRISTOL, CT 06010


                    WILLIAM RUBY
                    2000 POWDER MILL ROAD
                    SILVER SPRING, MD 20903-1520


                    WILLIAM SENIOR
                    15 JOHNNY CAKE RD
                    NIANTIC, CT 06357-1334


                    WILLIAM STEWART
                    4757 N FOSTERBURG RD
                    BRIGHTON, IL 62012-2627


                    WILLIAM VANBUSKIRK
                    401 JEFFERSON STREET
                    MARINE CITY, MI 48039


                    WILLIAM VOGEL
                    6401 STOCKBRIDGE OVERLOOK COURT
                    ELLICOTT CITY, MD 21043


                    WILLIAM WEBB
                    C/O JAN HOOTEN
                    716 GRAYHAWK DRIVE
                    DAYTON, NV 89403


                    WILLIAMS PONTEL
                    1859 HELDSBERG DRIVE
                    CHARLESTON, SC 29414-8122




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 322 of 326
                    WILLIAMS, KASTNER & GIBBS PLLC
                    PO BOX 21926
                    SEATTLE, WA 98111-3926


                    WILLIS NORDLUND
                    201 FORINASH LN
                    GLEN MORGAN, WV 25813-7564


                    WINSTON JENKINS
                    413 LONGVIEW RD
                    HENAGAR, AL 35978-5764


                    WYLIE NOLEN
                    PO BOX 177
                    GATEWAY, AR 72733


                    X-ETERNALGIFTS CO., LTD
                    ATTN: ERIC YAN
                    NO. 58, YUANHE SOUTH ROAD
                    DONGSHEN TOWN, ZHONGSHAN CITY
                    CHINA


                    XIAOWEI XU
                    22 BARTLE CT APT B
                    HIGHLAND PARK, NJ 08904-6022


                    YANCEY SHAVER
                    726 SMITH AVENUE
                    PRATTVILLE, AL 36067


                    YONG TUO EMBLEM CO. LTD.
                    NO. 16 SHENGYU ROAD, SHENGFENG DISTRICT
                    XIAO LAN TOWN, ZHONG SHAN CITY
                    GUANG DONG 528414
                    CHINA


                    YONGFANG ZHANG
                    2815 143RD PL SE
                    MILL CREEK, WA 98012-5799


                    YOSSRI KAIRLIS
                    8 PINE EDGE WAY
                    HATFIELD, MA 01038




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 323 of 326
                    YOUNG DENORMANDIE PC
                    SECOND & SENECA BUILDING
                    1191 SECOND AVE., SUITE 1901
                    SEATTLE, WA 98101-2993


                    YOUNG LEE
                    ***CALL FOR PICKUP***
                    4425 S 220TH PL
                    KENT, WA 98032-1808


                    YURIY MYACHIN
                    6 BALTUSROL ROAD
                    SUMMIT, NJ 07093-8423


                    YVONNE CLAUCHERTY
                    1723 N ALEXANDER AVE
                    ROYAL OAK, MI 48067-3661


                    YVONNE MARIA VANDERLEEST
                    1312 N. WOODLAWN ST
                    TACOMA, WA 98406


                    ZACH THOMPSON
                    ***CALL FOR PICKUP***
                    20308 8TH AVE NW
                    SHORELINE, WA 98177-2108


                    ZACHARY ATWELL
                    7307 OLIVER CIRCLE
                    KANSAS CITY, KS 66106


                    ZACHARY HORTON
                    APT 10203
                    15859 E JAMISON DR
                    ENGLEWOOD, CO 80112-4677


                    ZACHARY MYERS
                    11219 N 900 E
                    ODON, IN 47562


                    ZACK BARRETT
                    12012 ACACIA AVE
                    GARDEN GROVE, CA 92840




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 324 of 326
                    ZDENDY SINDELAR
                    307 GRISSOM RD
                    MANCHESTER, CT 06042


                    ZELJKO TOIC
                    1209-1160 BERNARD AVE
                    KELOWNA, BRITISH COLUMBIA V1Y6R2


                    ZENON SOBON
                    866 WAGMYR LN
                    LOGANTON, PA 17747-9618


                    ZOLTAN RAJNAY
                    313 BRADFORD COURT
                    DUBLIN, GA 31021




Case 16-11767-CMA   Doc 1   Filed 04/01/16   Ent. 04/01/16 00:07:39   Pg. 325 of 326
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Northwest Territorial Mint LLC                                                                Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Northwest Territorial Mint LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 31, 2016                                                        /s/ J. Todd Tracy WSBA
 Date                                                                  J. Todd Tracy WSBA #17342
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Northwest Territorial Mint LLC
                                                                       The Tracy Law Group PLLC
                                                                       720 Olive Way #1000
                                                                       Seattle, WA 98101
                                                                       206-624-9894 Fax:206-624-8598




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy



           Case 16-11767-CMA                           Doc 1          Filed 04/01/16      Ent. 04/01/16 00:07:39     Pg. 326 of 326
